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                          IN‌‌THE‌‌UNITED‌‌STATES‌‌DISTRICT‌‌COURT‌ ‌
                       FOR‌‌THE‌‌WESTERN‌‌DISTRICT‌‌OF‌‌PENNSYLVANIA‌ ‌
 ‌
NATIONAL‌‌FUEL‌‌GAS‌‌DISTRIBUTION‌‌ )‌ ‌
CORPORATION‌‌                                   )‌ ‌
      Plaintiff‌,‌‌                             )‌       ‌
                                                )‌ ‌
      v.‌‌                                      )‌      No.‌ 1:21-cv-254                                     ‌
                                                )‌ ‌
THE‌‌CITY‌‌OF‌‌ERIE,‌                           )‌ ‌
      Defendant‌.‌‌                             )‌       ‌
 ‌
                                            COMPLAINT‌ ‌
 ‌
      Plaintiff‌ ‌National‌‌Fuel‌‌Gas‌‌Distribution‌‌Corporation,‌‌by‌‌its‌‌attorneys‌‌at‌‌the‌‌Mizner‌‌Law‌‌

Firm,‌‌files‌‌this‌‌Complaint‌‌and‌‌states‌‌as‌‌follows:‌‌

 ‌

     I.       INTRODUCTION.‌ ‌

          National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌(“‌National‌ ‌Fuel‌”)‌ ‌is‌ ‌charged‌ ‌with‌‌the‌‌safe‌‌

and‌ ‌efficient‌ ‌delivery‌ ‌of‌ ‌natural‌ ‌gas‌ ‌utility‌ ‌services‌ ‌to‌ ‌its‌ ‌customers,‌ ‌at‌ ‌rates‌ ‌which‌ ‌are‌‌

independently‌ ‌set‌ ‌by‌ ‌the‌ ‌Pennsylvania‌ ‌Public‌ ‌Utility‌ ‌Commission‌‌(“‌Commission‌”‌‌or‌‌“P
                                                                                                     ‌ UC‌”).‌‌

Pursuant‌ ‌to‌ ‌the‌ ‌Pennsylvania‌ ‌Public‌ ‌Utility‌ ‌Code‌ ‌(66‌ ‌Pa.C.S.‌ ‌§§‌ ‌101,‌ ‌et‌ ‌seq.‌,‌ ‌the‌ ‌“U
                                                                                                                ‌ tility‌‌

Code‌”),‌ ‌the‌ ‌PUC‌ ‌has‌ ‌the‌ ‌sole‌ ‌authority‌ ‌to‌ ‌set‌‌the‌‌rates‌‌National‌‌Fuel‌‌charges‌‌to‌‌its‌‌customers,‌‌

and‌‌it‌‌allows‌‌National‌‌Fuel‌‌to‌‌recover‌‌its‌‌costs‌‌through‌‌these‌‌rates.‌‌The‌‌PUC‌‌also‌‌is‌‌vested‌‌with‌‌

the‌ ‌exclusive‌ ‌authority‌ ‌to‌ ‌regulate‌ ‌the‌ ‌placement‌ ‌and‌ ‌safety‌ ‌of‌ ‌the‌ ‌facilities‌ ‌used‌ ‌by‌ ‌National‌‌

Fuel‌ ‌in‌ ‌delivering‌ ‌natural‌ ‌gas‌ ‌to‌ ‌its‌ ‌customers‌ ‌(i‌.e.‌,‌ ‌pipelines,‌ ‌regulator‌ ‌stations,‌ ‌meters,‌ ‌etc.)‌‌

(collectively,‌‌the‌‌“F
                      ‌ acilities‌”).‌‌ ‌




                                                              1‌ ‌
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          The‌‌City‌‌of‌‌Erie‌‌has‌‌repeatedly‌‌encroached‌‌on‌‌this‌‌statutory‌‌scheme‌‌and‌‌the‌‌authority‌‌of‌‌

the‌ ‌PUC,‌ ‌by‌‌attempting‌‌to‌‌regulate‌‌where‌‌National‌‌Fuel‌‌builds‌‌and‌‌maintains‌‌its‌‌Facilities,‌‌and‌‌

by‌ ‌charging‌‌unlawful‌‌and‌‌excessive‌‌fees.‌‌Despite‌‌repeated‌‌efforts‌‌by‌‌National‌‌Fuel‌‌to‌‌amicably‌‌

resolve‌‌these‌‌matters‌‌collaboratively,‌‌the‌‌City‌‌of‌‌Erie‌‌has‌‌continued‌‌to‌‌both‌‌charge‌‌unlawful‌‌and‌‌

excessive‌ ‌fees‌ ‌–‌ ‌approximately‌ ‌$1,300,000‌ ‌from‌ ‌2014‌ ‌through‌ ‌2020‌ ‌–‌ ‌and‌ ‌to‌ ‌restrict‌ ‌the‌‌

placement‌‌of‌‌National‌‌Fuel’s‌‌Facilities.‌‌ ‌

          Since‌‌the‌‌PUC‌‌approves‌‌rates‌‌which‌‌are‌‌applicable‌‌to‌‌National‌‌Fuel’s‌‌entire‌‌Pennsylvania‌‌

Service‌‌Territory,‌‌all‌‌of‌‌National‌‌Fuel’s‌‌Pennsylvania‌‌ratepayers‌‌(whether‌‌located‌‌in‌‌the‌‌City‌‌of‌‌

Erie‌‌or‌‌elsewhere)‌‌stand‌‌to‌‌bear‌‌the‌‌cost‌‌of‌‌these‌‌fees‌‌and‌‌municipal‌‌actions.‌ ‌Consequently,‌‌as‌‌a‌‌

last‌ ‌resort‌ ‌to‌ ‌protect‌ ‌all‌ ‌of‌ ‌its‌ ‌Pennsylvania‌ ‌ratepayers,‌ ‌National‌ ‌Fuel‌ ‌has‌ ‌filed‌ ‌this‌ ‌action‌ ‌to‌‌

compel‌‌the‌‌City‌‌of‌‌Erie‌‌to‌‌abide‌‌by‌‌clearly‌‌established‌‌Pennsylvania‌‌law.‌ ‌

            ‌

    II.         PARTIES‌ ‌

          1.       Plaintiff,‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌(“‌National‌ ‌Fuel‌”)‌ ‌is‌ ‌a‌‌

public‌ ‌utility‌ ‌corporation‌ ‌duly‌ ‌organized‌ ‌and‌ ‌existing‌‌under‌‌the‌‌laws‌‌of‌‌the‌‌State‌‌of‌‌New‌‌York‌‌

with‌‌its‌‌headquarters‌‌located‌‌at‌‌6363‌‌Main‌‌Street,‌‌Williamsville,‌‌New‌‌York‌‌14221.‌‌ ‌

          2.       In‌ ‌compliance‌ ‌with‌ ‌the‌ ‌requirements‌ ‌of‌ ‌the‌ ‌Pennsylvania‌ ‌Business‌ ‌Corporation‌‌

Law‌‌(15‌‌Pa.C.S.‌‌§§‌‌101‌‌‌et‌‌seq‌.,‌‌the‌‌“B
                                               ‌ CL‌”),‌‌National‌‌Fuel‌‌has‌‌secured‌‌from‌‌the‌‌Commonwealth‌‌

of‌‌Pennsylvania‌‌authority‌‌to‌‌do‌‌business‌‌within‌‌the‌‌Commonwealth‌‌of‌‌Pennsylvania‌‌as‌‌a‌‌foreign‌‌

corporation.‌‌

          3.       Defendant,‌ ‌City‌ ‌of‌ ‌Erie‌ ‌(“‌City‌”‌ ‌or‌ ‌“C
                                                                     ‌ ity‌ ‌of‌‌Erie‌”)‌‌is‌‌a‌‌Pennsylvania‌‌Municipal‌‌

Corporation,‌ ‌organized‌ ‌as‌ ‌a‌ ‌Third-Class‌ ‌City‌ ‌under‌ ‌Pennsylvania’s‌ ‌Third-Class‌ ‌City‌ ‌Code‌ ‌(11‌‌




                                                              2‌ ‌
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Pa.C.S.‌‌§§‌‌10101‌e‌ t‌‌seq‌.),‌‌and‌‌having‌‌an‌‌address‌‌at‌‌626‌‌State‌‌Street,‌‌Suite‌‌#400,‌‌Erie,‌‌PA‌‌16501.‌‌ ‌

 ‌

     III.         JURISDICTION‌‌AND‌‌VENUE‌ ‌

            4.      This‌ ‌action‌ ‌consists‌ ‌of‌ ‌both:‌ ‌(a)‌ ‌claims‌ ‌arising‌ ‌under‌ ‌the‌ ‌Constitution‌ ‌of‌ ‌the‌‌

United‌‌States;‌‌and‌‌(b)‌‌claims‌‌arising‌‌under‌‌Pennsylvania‌‌state‌‌law.‌ ‌

            5.      This‌ ‌action’s‌ ‌federal‌ ‌claims‌ ‌include‌ ‌both:‌ ‌(a)‌ ‌a‌ ‌claim‌ ‌arising‌ ‌under‌ ‌the‌ ‌Takings‌‌

Clause‌‌of‌‌the‌‌Fifth‌‌Amendment‌‌of‌‌the‌‌United‌‌States‌‌Constitution,‌‌as‌‌applied‌‌against‌‌the‌‌City‌‌of‌‌

Erie‌ ‌pursuant‌ ‌to‌ ‌the‌ ‌Fourteenth‌ ‌Amendment;‌ ‌and‌ ‌(b)‌ ‌a‌ ‌claim‌ ‌arising‌ ‌under‌ ‌the‌ ‌Due‌ ‌Process‌‌

Clause‌ ‌of‌ ‌the‌ ‌Fourteenth‌ ‌Amendment‌ ‌of‌ ‌the‌ ‌United‌ ‌States‌ ‌Constitution‌ ‌for‌ ‌deprivation‌ ‌of‌ ‌the‌‌

Plaintiff’s‌‌property‌‌interest‌‌without‌‌due‌‌process‌‌of‌‌law.‌‌ ‌

            6.      These‌‌Constitutional‌‌claims‌‌are‌‌cognizable‌‌under‌‌federal‌‌law‌‌pursuant‌‌to‌‌ ‌

42‌‌U.S.C.‌‌§‌‌1983.‌ ‌

            7.      This‌ ‌Court‌ ‌has‌ ‌jurisdiction‌ ‌over‌ ‌these‌ ‌federal‌ ‌claims‌ ‌pursuant‌ ‌to‌ ‌28‌ ‌U.S.C.‌ ‌§§‌‌

1331‌‌and‌‌1343.‌‌ ‌

            8.      As‌ ‌to‌ ‌the‌ ‌claims‌ ‌arising‌ ‌under‌ ‌state‌ ‌law,‌ ‌such‌ ‌claims‌ ‌are‌ ‌being‌ ‌filed‌ ‌in‌ ‌federal‌‌

court‌ ‌based‌ ‌on‌ ‌the‌ ‌diverse‌ ‌state‌ ‌citizenship‌ ‌of‌ ‌the‌ ‌parties,‌ ‌with‌ ‌an‌ ‌amount‌ ‌in‌ ‌controversy‌ ‌in‌‌

excess‌‌of‌‌$75,000.00.‌‌ ‌

            9.      As‌‌such,‌‌this‌‌Court‌‌has‌‌jurisdiction‌‌over‌‌these‌‌state‌‌law‌‌claims‌‌pursuant‌‌to‌‌ ‌

28‌‌U.S.C.‌‌§‌‌1332.‌‌ ‌

            10.     Venue‌ ‌is‌ ‌proper‌ ‌in‌ ‌the‌ ‌Western‌‌District‌‌of‌‌Pennsylvania‌‌pursuant‌‌to‌‌28‌‌U.S.C.‌‌§‌‌

1391‌ ‌because‌ ‌a‌ ‌substantial‌ ‌part‌ ‌of‌ ‌the‌ ‌events‌ ‌or‌ ‌omissions‌ ‌giving‌ ‌rise‌ ‌to‌ ‌this‌ ‌claim‌ ‌occurred‌‌




                                                               3‌ ‌
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within‌ ‌the‌ ‌territorial‌ ‌jurisdiction‌ ‌of‌ ‌this‌ ‌District‌ ‌and‌ ‌the‌ ‌Defendant‌ ‌is‌ ‌subject‌ ‌to‌ ‌personal‌‌

jurisdiction‌‌within‌‌this‌‌District.‌ ‌

 ‌

IV.      FACTS‌ ‌

         A.       National‌‌Fuel’s‌‌Business‌‌and‌‌Operations‌.‌ ‌

         11.      National‌‌Fuel‌‌is‌‌engaged‌‌in‌‌the‌‌business‌‌of‌‌selling‌‌and‌‌distributing‌‌natural‌‌gas‌‌to‌‌

retail‌ ‌customers‌ ‌within‌ ‌the‌ ‌Commonwealth‌ ‌of‌‌Pennsylvania‌‌and‌‌is,‌‌therefore,‌‌a‌‌“public‌‌utility”‌‌

within‌‌the‌‌meaning‌‌of‌‌both‌‌Section‌‌102‌‌of‌‌the‌‌Utility‌‌Code‌‌(66‌‌Pa.‌‌C.S.‌‌§‌‌102)‌‌and‌‌Section‌‌1511‌‌

of‌‌Pennsylvania’s‌‌Business‌‌Corporation‌‌Law‌‌(‌15‌‌Pa.C.S.‌‌§‌‌1511)‌‌(“‌Public‌‌Utility‌”).‌ ‌

         12.      As‌ ‌a‌ ‌Public‌ ‌Utility,‌ ‌National‌ ‌Fuel‌ ‌is‌ ‌subject‌ ‌to‌ ‌the‌‌regulatory‌‌jurisdiction‌‌of‌‌the‌‌

PUC.‌‌ ‌

         13.      National‌ ‌Fuel‌ ‌currently‌ ‌provides‌ ‌natural‌ ‌gas‌ ‌service‌ ‌to‌ ‌approximately‌ ‌200,000‌‌

retail‌ ‌customers‌ ‌in‌ ‌fourteen‌ ‌(14)‌ ‌counties‌ ‌in‌ ‌Northwest‌ ‌Pennsylvania‌ ‌(“‌Service‌ ‌Territory‌”),‌‌

pursuant‌‌to‌‌certificates‌‌of‌‌public‌‌convenience‌‌granted‌‌by‌‌the‌‌PUC‌‌and‌‌National‌‌Fuel’s‌‌tariff‌‌for‌‌

the‌ ‌furnishing‌ ‌of‌ ‌gas‌ ‌service‌ ‌to‌ ‌its‌‌Pennsylvania‌‌Service‌‌Territory‌‌(“‌Tariff‌”),‌‌which‌‌is,‌‌in‌‌turn,‌‌

filed‌‌with‌‌and‌‌approved‌‌by‌‌the‌‌PUC.‌‌ ‌

         14.      The‌‌City‌‌of‌‌Erie‌‌is‌‌within‌‌National‌‌Fuel’s‌‌Service‌‌Territory.‌‌

         15.      In‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie,‌ ‌as‌ ‌elsewhere‌ ‌throughout‌ ‌its‌ ‌Service‌‌Territory,‌‌National‌‌Fuel‌‌

delivers‌ ‌natural‌ ‌gas‌ ‌to‌ ‌its‌ ‌customers‌ ‌through‌ ‌a‌ ‌vast,‌ ‌company-owned‌ ‌infrastructure‌ ‌system‌‌

designed‌ ‌to‌ ‌move‌ ‌gas‌ ‌from‌ ‌high-pressure‌ ‌natural‌ ‌gas‌ ‌pipelines‌ ‌to‌ ‌the‌ ‌homes‌ ‌and‌‌offices‌‌of‌‌its‌‌

customers.‌ ‌Generally‌ ‌speaking,‌ ‌National‌ ‌Fuel’s‌ ‌infrastructure‌ ‌system‌ ‌consists‌ ‌of‌ ‌the‌ ‌following‌‌

(collectively,‌‌“F
                 ‌ acilities‌”):‌ ‌




                                                            4‌ ‌
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                    a. Natural‌ ‌gas‌ ‌pipelines‌ ‌(“‌Pipelines‌”),‌ ‌including‌ ‌high-pressure‌ ‌lines‌ ‌(“‌Supply‌‌

                          Lines‌”),‌ ‌medium-‌ ‌and‌ ‌low-pressure‌‌distribution‌‌main‌‌lines‌‌(“‌Main‌‌Lines‌”),‌‌and‌‌

                          smaller‌‌lines‌‌feeding‌‌homes‌‌and‌‌businesses‌‌(“‌Service‌‌Lines‌”);‌‌ ‌

                    b. Regulator‌ ‌Stations,‌ ‌which‌ ‌control‌ ‌and‌ ‌regulate‌ ‌the‌ ‌pressure‌ ‌of‌ ‌natural‌ ‌gas‌ ‌as‌ ‌it‌‌

                          travels‌ ‌across‌ ‌Pipelines‌ ‌and‌ ‌from‌ ‌higher-pressure‌ ‌Pipelines‌ ‌to‌ ‌lower-pressure‌‌

                          Pipelines;‌‌ ‌

                    c. Meters,‌‌which‌‌measure‌‌the‌‌amount‌‌of‌‌natural‌‌gas‌‌consumed‌‌by‌‌customers;‌‌and‌‌

                    d. Related‌‌infrastructure‌‌equipment.‌‌ ‌

              16.         National‌‌Fuel,‌‌like‌‌other‌‌Public‌‌Utilities,‌‌generally‌‌places‌‌its‌‌Facilities‌‌in:‌‌ ‌

(a)‌‌private‌‌rights-of-way‌‌(“‌Private‌‌ROWs”‌);‌‌and‌‌(b)‌‌in‌‌public‌‌rights-of-way‌‌(“‌Public‌‌ROWs‌”).‌ ‌

              17.         Generally‌ ‌speaking,‌ ‌Public‌ ‌ROWs‌ ‌consist‌ ‌of:‌ ‌(a)‌ ‌public‌ ‌streets‌ ‌and‌ ‌roadways‌‌

(“‌Cartways‌”);‌‌and‌‌(b)‌‌that‌‌portion‌‌of‌‌land‌‌between‌‌the‌‌edge‌‌of‌‌the‌‌Cartway‌‌and‌‌the‌‌landowner’s‌‌

side‌‌of‌‌the‌‌sidewalk‌‌(the‌‌“U
                                ‌ tility‌‌Strip‌”).‌ ‌

              18.         As‌‌a‌‌Public‌‌Utility,‌‌the‌‌placement‌‌of‌‌National‌‌Fuel’s‌‌Facilities‌‌is‌‌based‌‌solely‌‌on‌‌

the‌‌technical‌‌judgment‌‌of‌‌National‌‌Fuel,‌‌pursuant‌‌to‌‌and‌‌in‌‌compliance‌‌with‌‌the‌‌Utility‌‌Code‌‌and‌

applicable‌‌regulations‌‌of‌‌the‌‌PUC‌‌(inclusive,‌‌and‌‌the‌‌provisions‌‌of‌‌its‌‌Tariff,‌‌which‌‌is,‌‌in‌‌turn,‌‌a‌‌
                             1
utility‌‌regulation‌ ‌)‌‌(as‌‌codified‌‌at‌‌Title‌‌52‌‌of‌‌the‌‌Pennsylvania‌‌Code,‌‌the‌‌“P
                                                                                           ‌ UC‌‌Regulations‌”).‌ ‌

              19.         In‌ ‌this‌ ‌regard,‌‌the‌‌PUC’s‌‌authority‌‌extends‌‌to:‌‌(a)‌‌the‌‌location,‌‌construction,‌‌and‌‌

maintenance‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities;‌ ‌(b)‌ ‌provides‌ ‌for‌ ‌the‌ ‌only‌‌tariff‌‌that‌‌may‌‌be‌‌imposed‌‌

upon‌ ‌it;‌ ‌and‌ ‌(c)‌ ‌specifies‌ ‌the‌ ‌means‌ ‌of‌ ‌the‌ ‌PUC’s‌ ‌exclusive‌ ‌oversight‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code‌‌and‌‌




1
    ‌See‌,‌‌PPL‌‌Elec.‌‌Utils.‌‌Corp.‌‌v.‌‌City‌‌of‌‌Lancaster,‌2‌ 14‌‌A.3d‌‌639,‌‌642‌‌(Pa.‌‌2019).‌ ‌


                                                                                 5‌ ‌
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regulatory‌ ‌compliance.‌ ‌PPL‌ ‌Elec.‌ ‌Utils.‌ ‌Corp.‌ ‌v.‌ ‌City‌ ‌of‌ ‌Lancaster,‌ ‌214‌ ‌A.3d‌ ‌639,‌ ‌642‌ ‌(Pa.‌‌

2019).‌ ‌

         20.       When‌‌the‌‌determination‌‌is‌‌made‌‌to‌‌place‌‌its‌‌Facilities‌‌in‌‌Private‌‌ROWs,‌‌National‌‌

Fuel‌ ‌secures‌ ‌such‌ ‌rights‌ ‌pursuant‌ ‌to‌ ‌either:‌ ‌(a)‌ ‌contractual‌ ‌agreements‌ ‌(e‌ .g.‌,‌ ‌easements‌ ‌or‌‌

right-of-way‌‌agreements)‌‌with‌‌individual‌‌landowners;‌‌or‌‌(b)‌‌the‌‌exercise‌‌of‌‌its‌‌Eminent‌‌Domain‌‌

powers‌ ‌(as‌ ‌authorized‌ ‌under‌ ‌provisions‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌and‌ ‌Section‌ ‌1511‌ ‌of‌ ‌the‌ ‌BCL,‌ ‌15‌‌

Pa.C.S.‌‌§‌‌1511).‌ ‌ ‌

         21.       When‌‌the‌‌determination‌‌is‌‌made‌‌to‌‌place‌‌Facilities‌‌in‌‌the‌‌Public‌‌ROWs,‌‌however,‌‌

Pennsylvania‌‌law‌‌expressly‌‌authorizes‌‌National‌‌Fuel‌‌to‌‌place‌‌its‌‌Facilities‌‌there‌‌without‌‌the‌‌need‌‌

for‌‌any‌‌contractual‌‌arrangement.‌‌ ‌

         22.       In‌ ‌this‌ ‌regard,‌ ‌Section‌ ‌1511‌ ‌of‌ ‌the‌ ‌BCL‌ ‌confers‌ ‌on‌ ‌National‌ ‌Fuel‌ ‌the‌ ‌vested‌‌

property‌ ‌right‌ ‌to‌ ‌“e‌ nter‌ ‌upon‌ ‌and‌ ‌occupy‌ ‌streets,‌ ‌highways,‌ ‌waters‌ ‌and‌ ‌other‌ ‌public‌‌ways‌‌and‌‌

places‌ ‌.‌ ‌.‌ ‌.‌ ‌for‌ ‌.‌‌.‌‌.‌‌purposes‌‌reasonably‌‌necessary‌‌or‌‌appropriate‌‌for‌‌the‌‌accomplishment‌‌of‌‌the‌‌

principal‌ ‌purposes,‌ ‌including‌ ‌the‌ ‌placement,‌ ‌maintenance‌ ‌and‌ ‌removal‌ ‌of‌ ‌aerial,‌ ‌surface‌ ‌and‌‌

subsurface‌‌public‌‌utility‌‌facilities‌‌thereon‌‌or‌‌therein‌.”‌‌15‌‌Pa.C.S.‌‌§‌‌1511(e).‌‌ ‌

            ‌

         B.        National‌‌Fuel’s‌‌Status‌‌as‌‌a‌‌PUC-Jurisdictional‌‌Entity‌.‌‌ ‌

         23.       As‌‌described‌‌above,‌‌National‌‌Fuel‌‌operates‌‌as‌‌a‌‌Public‌‌Utility‌‌and‌‌has‌‌been‌‌issued‌‌

a‌ ‌Certificate‌ ‌of‌ ‌Public‌ ‌Convenience‌ ‌from‌ ‌the‌ ‌PUC‌ ‌which‌ ‌entitles‌ ‌it‌ ‌to‌ ‌transport‌ ‌and‌ ‌deliver‌‌

natural‌‌gas‌‌to‌‌customers‌‌within‌‌its‌‌Service‌‌Territory‌‌(which‌‌includes‌‌the‌‌City‌‌of‌‌Erie)‌‌under‌‌and‌‌

subject‌‌to‌‌the‌‌regulatory‌‌jurisdiction‌‌of‌‌the‌‌PUC‌‌and‌‌the‌‌provisions‌‌of‌‌the‌‌Utility‌‌Code.‌‌ ‌




                                                           6‌ ‌
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          24.       This‌ ‌is‌ ‌significant,‌ ‌because‌ ‌the‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌repeatedly‌‌

confirmed‌ ‌that‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌“occupies‌ ‌the‌ ‌entire‌ ‌field”‌‌with‌‌respect‌‌to‌‌regulation‌‌of‌‌Public‌‌

Utilities‌ ‌(‌i.e.‌,‌ ‌field‌ ‌preemption).‌‌As‌‌a‌‌consequence,‌‌municipal‌‌ordinances‌‌which‌‌have‌‌the‌‌effect‌‌

of‌‌regulating‌‌Public‌‌Utilities‌‌or‌‌otherwise‌‌frustrate/interfere‌‌with‌‌the‌‌Utility‌‌Code‌‌are‌‌preempted‌‌

as‌‌applied‌‌to‌‌Public‌‌Utilities.‌‌ ‌

          25.       Such‌ ‌“field‌ ‌preemption”‌ ‌is‌ ‌a‌ ‌consequence‌ ‌of‌ ‌the‌ ‌Pennsylvania‌ ‌General‌‌

Assembly’s‌ ‌intent‌ ‌that‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌prescribe‌ ‌a‌ ‌uniform‌ ‌regulatory‌ ‌landscape‌ ‌for‌ ‌Public‌‌

Utilities‌ ‌by‌ ‌entrusting‌ ‌their‌ ‌regulation‌ ‌and‌ ‌the‌ ‌furnishing‌ ‌of‌ ‌utility‌ ‌service‌ ‌to‌ ‌the‌ ‌exclusive‌‌

jurisdiction‌ ‌of‌ ‌the‌ ‌PUC.‌ ‌See‌ ‌Department‌ ‌of‌ ‌Licenses‌ ‌and‌ ‌Inspections,‌ ‌Board‌ ‌of‌ ‌License‌ ‌and‌‌

Inspection‌ ‌Review‌ ‌v.‌ ‌Weber,‌ ‌147‌ ‌A.2d‌ ‌326,‌ ‌327(Pa.‌ ‌1959)‌(“it‌ ‌is‌ ‌obvious‌ ‌that‌ ‌where‌ ‌a‌ ‌statute‌‌

specifically‌‌declares‌‌it‌‌has‌‌planted‌‌the‌‌flag‌‌of‌‌preemption‌‌in‌‌a‌‌field,‌‌all‌‌ordinances‌‌on‌‌the‌‌subject‌‌

die‌ ‌away‌ ‌as‌ ‌if‌ ‌they‌ ‌did‌ ‌not‌ ‌exist.”);‌ ‌County‌ ‌of‌ ‌Chester‌ ‌v.‌ ‌Philadelphia‌ ‌Electric‌ ‌Co.‌,‌‌218‌‌A.2d‌‌

331,‌ ‌333‌ ‌(Pa.‌ ‌1966)‌ ‌(holding‌ ‌that‌ ‌“the‌ ‌Legislature‌ ‌has‌‌vested‌‌in‌‌the‌‌[PUC]‌‌exclusive‌‌authority‌‌

over‌ ‌the‌ ‌complex‌ ‌and‌ ‌technical‌ ‌service‌ ‌and‌ ‌engineering‌ ‌questions‌ ‌arising‌ ‌in‌ ‌the‌ ‌location,‌‌

construction‌‌and‌‌maintenance‌‌of‌‌all‌‌public‌‌utilities‌‌facilities”);‌‌‌Duquesne‌‌Light‌‌Co.‌‌v.‌‌Upper‌‌St.‌‌

Clair‌‌Township‌,‌‌105‌‌A.2d‌‌287,‌‌292‌‌(Pa.‌‌1954)‌(“[T]he‌‌policy‌‌of‌‌the‌‌Commonwealth‌‌in‌‌entrusting‌‌

to‌ ‌the‌ ‌[PUC]‌‌the‌‌regulation‌‌and‌‌supervision‌‌of‌‌public‌‌utilities‌‌has‌‌excluded‌‌townships‌‌from‌‌the‌‌

same‌ ‌field‌ ‌.‌ ‌.‌ ‌.‌ ‌.‌ ‌Unless‌ ‌the‌ ‌legislature‌ ‌has‌ ‌given‌ ‌an‌ ‌express‌ ‌grant‌ ‌of‌ ‌power‌ ‌to‌ ‌townships,‌ ‌the‌‌

Commonwealth's‌‌own‌‌expressed‌‌policy‌‌on‌‌the‌‌subject‌‌is‌‌undiminished‌‌and‌‌supreme.”).‌ ‌

          26.       Most‌‌recently,‌‌in‌‌‌the‌‌2019‌‌case‌‌of‌‌‌PPL‌‌Electric‌‌v.‌‌City‌‌of‌‌Lancaster‌,‌‌a‌‌unanimous‌‌

Pennsylvania‌‌Supreme‌‌Court‌‌succinctly‌‌articulated‌‌the‌‌foregoing‌‌as‌‌follows:‌‌ ‌

          The‌ ‌State‌ ‌.‌ ‌.‌ ‌.‌ ‌has‌ ‌given‌ ‌the‌ ‌PUC‌ ‌all-embracive‌ ‌regulatory‌ ‌jurisdiction‌ ‌over‌‌
          [Public‌‌Utilities]‌‌.‌‌.‌‌.‌‌[J]urisdiction‌‌in‌‌matters‌‌concerning‌‌the‌‌relationship‌‌between‌‌
          public‌‌utilities‌‌and‌‌the‌‌public‌‌lies‌‌in‌‌the‌‌PUC,‌‌‌encompassing‌‌rates‌,‌‌‌service,‌‌rules‌‌


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        of‌ ‌service,‌ ‌extension‌ ‌and‌ ‌expansion,‌ ‌hazard‌ ‌to‌ ‌public‌ ‌safety‌ ‌due‌ ‌to‌ ‌use‌ ‌of‌‌
        utility‌ ‌facilities,‌ ‌installation‌ ‌of‌ ‌utility‌ ‌facilities,‌ ‌and,‌ ‌inter‌ ‌alia‌,‌ ‌location‌ ‌of‌‌
        utility‌ ‌facilities‌.‌ ‌To‌ ‌avoid‌ ‌the‌ ‌harm‌ ‌that‌ ‌would‌ ‌follow‌ ‌from‌ ‌the‌ ‌convolution‌ ‌of‌‌
        fragmentary‌ ‌local‌ ‌regulation‌ ‌of‌ ‌public‌ ‌utilities,‌ ‌the‌ ‌General‌ ‌Assembly‌ ‌vested‌ ‌in‌‌
        the‌ ‌PUC‌ ‌exclusive‌ ‌authority‌ ‌over‌ ‌the‌ ‌complex‌ ‌and‌ ‌technical‌ ‌service‌ ‌and‌‌
        engineering‌‌questions‌‌arising‌‌in‌‌the‌‌location,‌ ‌construction‌‌and‌‌maintenance‌‌of‌‌all‌‌
        public‌‌utility‌‌facilities.‌ ‌
         ‌
214‌‌A.3d‌‌639,‌‌659‌‌(Pa.‌‌2019)(internal‌‌citations‌‌omitted;‌‌emphasis‌‌added).‌ ‌
 ‌
        27.       While‌ ‌affirmed‌ ‌repeatedly‌ ‌throughout‌ ‌the‌ ‌years,‌‌the‌‌right‌‌of‌‌Public‌‌Utilities‌‌like‌‌

National‌ ‌Fuel‌ ‌to‌ ‌provide‌ ‌utility‌ ‌service‌ ‌free‌ ‌from‌ ‌municipal‌ ‌regulation‌ ‌and‌ ‌interference‌ ‌is‌ ‌not‌‌

new:‌ ‌decades‌ ‌ago,‌ ‌the‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌in‌ ‌Duquesne‌ ‌Light‌ ‌Co.‌ ‌v.‌ ‌Upper‌‌St.‌‌Clair‌‌

Twp.‌‌held‌‌that‌‌regulation‌‌of‌‌public‌‌utilities‌‌was‌‌intended‌‌by‌‌the‌‌General‌‌Assembly‌‌to‌‌be‌‌through‌‌

a‌ ‌single‌ ‌regulatory‌ ‌structure,‌ ‌namely,‌ ‌the‌ ‌PUC,‌ ‌and‌ ‌that‌ ‌allowing‌ ‌a‌ ‌municipal‌ ‌ordinance‌ ‌to‌‌

regulate‌ ‌public‌ ‌utilities‌ ‌would‌ ‌create‌ ‌an‌ ‌unlawful‌ ‌dual‌ ‌regulatory‌‌structure.‌‌105‌‌A.2d‌‌287,‌‌292‌‌

(Pa.‌‌1954).‌‌ ‌

         28.       Among‌ ‌other‌ ‌reasons,‌ ‌Pennsylvania‌ ‌courts‌ ‌have‌ ‌rooted‌ ‌the‌ ‌conclusion‌ ‌that‌ ‌the‌‌

Utility‌ ‌Code‌ ‌stands‌ ‌to‌ ‌occupy‌ ‌the‌ ‌“entire‌ ‌field”‌ ‌of‌ ‌regulating‌ ‌Public‌‌Utilities:‌‌(a)‌‌based‌‌on‌‌the‌‌

fact‌‌that‌‌municipalities‌‌generally‌‌lack‌‌the‌‌technical‌‌expertise‌‌to‌‌regulate‌‌Public‌‌Utilities;‌‌and‌‌(b)‌‌

mindful‌ ‌of‌ ‌the‌ ‌potential‌ ‌for‌ ‌municipalities‌ ‌to‌ ‌abuse‌ ‌such‌‌regulatory‌‌powers‌‌in‌‌a‌‌manner‌‌which‌‌

would‌‌harm‌‌the‌‌public‌‌at‌‌large.‌‌In‌‌this‌‌regard,‌‌the‌U
                                                             ‌ pper‌‌St.‌‌Clair‌c‌ ourt‌‌noted:‌ ‌

        Local‌‌authorities‌‌not‌‌only‌‌are‌‌ill-equipped‌‌to‌‌comprehend‌‌the‌‌needs‌‌of‌‌the‌‌public‌‌
        beyond‌‌their‌‌jurisdiction,‌‌but,‌‌and‌‌equally‌‌important,‌‌those‌‌authorities,‌‌if‌‌they‌‌had‌‌
        the‌ ‌power‌ ‌to‌‌regulate,‌‌necessarily‌‌would‌‌exercise‌‌that‌‌power‌‌with‌‌an‌‌eye‌‌toward‌‌
        the‌‌local‌‌situation‌‌and‌‌not‌‌with‌‌the‌‌best‌‌interests‌‌of‌‌the‌‌public‌‌at‌‌large‌‌as‌‌the‌‌point‌‌
        of‌‌reference.‌ ‌ ‌
         ‌
105‌‌A.2d‌‌at‌‌293.‌‌ ‌




                                                            8‌ ‌
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          29.     In‌ ‌addition‌ ‌to‌ ‌the‌ ‌preemptive‌ ‌effect‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌on‌ ‌municipal‌ ‌actions‌‌

which‌ ‌attempt‌ ‌to‌ ‌regulate‌ ‌or‌ ‌otherwise‌ ‌frustrate‌ ‌the‌ ‌purpose/goal‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code,‌ ‌Public‌‌

Utilities‌ ‌like‌ ‌National‌ ‌Fuel‌ ‌also‌ ‌possess‌ ‌certain‌‌statutory‌‌rights,‌‌powers,‌‌and‌‌property‌‌interests,‌‌

pursuant‌‌to‌‌several‌‌additional‌‌sources‌‌of‌‌Pennsylvania‌‌law,‌‌including‌‌the‌‌BCL.‌‌ ‌

          30.     In‌ ‌this‌ ‌regard,‌ ‌significant‌ ‌to‌ ‌the‌ ‌instant‌ ‌action‌ ‌is‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL,‌‌

which‌‌confers‌‌upon‌‌Public‌‌Utilities‌‌like‌‌National‌‌Fuel‌‌with‌‌the‌‌vested‌‌property‌‌interest‌‌and‌‌right‌‌

to:‌‌ ‌

        enter‌‌upon‌‌and‌‌occupy‌‌streets,‌‌highways,‌‌waters‌‌and‌‌other‌‌public‌‌ways‌‌and‌‌places‌‌
        for‌‌[the‌‌purposes‌‌of‌‌furnishing‌‌utility‌‌services]‌‌and‌‌ancillary‌‌purposes‌‌reasonably‌‌
        necessary‌ ‌or‌ ‌appropriate‌ ‌for‌ ‌the‌ ‌accomplishment‌ ‌of‌ ‌the‌ ‌principal‌ ‌purposes,‌‌
        including‌ ‌the‌ ‌placement,‌ ‌maintenance‌ ‌and‌ ‌removal‌ ‌of‌ ‌aerial,‌ ‌surface‌ ‌and‌‌
        subsurface‌‌Public‌‌Utility‌‌facilities‌‌thereon‌‌or‌‌therein…‌ ‌
         ‌
15‌‌Pa.C.S.‌‌§‌‌1511(e).‌‌ ‌

          31.     Public‌ ‌Utilities’‌ ‌rights‌ ‌under‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌are‌ ‌subject‌ ‌only‌ ‌to‌‌

municipalities’‌‌ability‌‌to‌‌dictate‌‌the‌‌“time”‌‌and‌‌“manner”‌‌during‌‌which‌‌their‌‌streets‌‌are‌‌opened.‌‌

Id.;‌‌see‌‌also‌‌Pa.‌‌Power‌‌Co.‌‌v.‌‌Twp.‌‌of‌‌Pine‌,‌‌926‌‌A.2d‌‌1241,‌‌1251‌‌(Pa.‌‌Commw.‌‌2007).‌‌ ‌

          32.     Thus,‌‌National‌‌Fuel:‌‌(a)‌‌is‌‌exempt‌‌from‌‌municipal‌‌regulation,‌‌because‌‌municipal‌‌

regulation‌‌is‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code,‌‌which‌‌vests‌‌exclusive‌‌regulatory‌‌power‌‌over‌‌Public‌‌

Utilities‌ ‌in‌ ‌the‌ ‌PUC;‌ ‌and‌ ‌(b)‌ ‌has‌ ‌a‌ ‌property‌ ‌right‌ ‌and‌ ‌interest‌ ‌arising‌ ‌under‌ ‌Pennsylvania‌‌

statutory‌‌law‌‌to‌‌occupy‌‌and‌‌enter‌‌the‌‌roadway‌‌for‌‌the‌‌purpose‌‌of‌‌furnishing‌‌utility‌‌service.‌ ‌ ‌

           ‌

           ‌

           ‌

           ‌




                                                            9‌ ‌
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         C. The‌‌City‌‌of‌‌Erie’s‌‌Limited‌‌Authority‌‌to‌‌Enact‌‌Ordinances/Take‌‌Municipal‌‌
             Action‌.‌‌ ‌
              ‌
                          1.‌    The‌‌Limited‌‌Powers‌‌of‌‌Pennsylvania‌‌Municipalities.‌‌ ‌
                                   ‌
         33.    Pennsylvania‌ ‌municipalities‌ ‌may‌ ‌exercise‌ ‌only‌ ‌those‌ ‌powers‌ ‌specifically‌‌

delegated‌ ‌to‌ ‌them‌ ‌by‌ ‌the‌ ‌Pennsylvania‌ ‌General‌ ‌Assembly.‌ ‌Huntley‌‌&‌‌Huntley,‌‌Inc.‌‌v.‌‌Borough‌‌

Council‌‌of‌‌Oakmont‌,‌‌964‌‌A.2d‌‌855,‌‌862‌‌(Pa.‌‌2009)(“Municipalities‌‌.‌‌.‌‌.‌‌have‌‌no‌‌inherent‌‌powers‌‌

of‌ ‌their‌ ‌own.‌ ‌Rather,‌ ‌they‌ ‌possess‌‌only‌‌such‌‌powers‌‌of‌‌government‌‌as‌‌are‌‌expressly‌‌granted‌‌to‌‌

them‌‌and‌‌as‌‌are‌‌necessary‌‌to‌‌carry‌‌the‌‌same‌‌into‌‌effect.”)‌‌ ‌

         34.      The‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌long‌ ‌held‌ ‌that‌ ‌municipal‌‌ordinances‌‌must‌‌

contain‌ ‌objective‌ ‌criteria‌ ‌to‌ ‌be‌ ‌valid.‌ ‌Appeal‌ ‌of‌ ‌O’Hara‌,‌ ‌131‌ ‌A.2d‌ ‌587,‌ ‌593‌ ‌(Pa.‌‌

1957)(fundamental‌ ‌rule‌ ‌that‌ ‌an‌ ‌ordinance‌ ‌must‌ ‌establish‌ ‌standards‌ ‌to‌ ‌operate‌ ‌uniformly‌ ‌and‌‌

ordinances‌ ‌are‌ ‌invalid‌ ‌when‌ ‌administration‌ ‌and‌ ‌enforcement‌ ‌are‌ ‌left‌ ‌to‌ ‌discretion,‌ ‌caprice‌ ‌or‌‌

arbitrary‌‌action).‌‌ ‌

         35.      Moreover,‌ ‌with‌ ‌respect‌ ‌to‌ ‌charging‌ ‌fees‌ ‌in‌ ‌connection‌ ‌with‌ ‌their‌ ‌enumerated‌‌

municipal‌ ‌powers,‌ ‌established‌ ‌Pennsylvania‌ ‌law‌ ‌makes‌ ‌clear‌ ‌that‌ ‌municipalities‌ ‌may‌ ‌only‌‌

impose‌‌fees‌‌which‌‌are‌‌reasonably‌‌related‌‌to‌‌their‌‌costs‌‌in‌‌providing‌‌the‌‌relevant‌‌services.‌‌‌Talley‌‌

v.‌ ‌Commonwealth‌,‌ ‌553‌ ‌A.2d‌ ‌518,‌ ‌519‌ ‌(Pa.‌ ‌Commw.‌ ‌1989);‌ ‌Golla‌ ‌v.‌ ‌Hopewell‌ ‌Twp.‌ ‌Bd.‌ ‌of‌‌

Supervisors‌,‌‌452‌‌A.2d‌‌273,‌‌274‌‌(Pa.‌‌Commw.‌‌1982).‌ ‌ ‌

         36.      Importantly,‌ ‌a‌ ‌municipality‌ ‌“cannot‌ ‌use‌ ‌its‌ ‌power‌ ‌to‌ ‌charge‌ ‌fees‌ ‌for‌ ‌issuing‌‌

licenses‌‌or‌‌permits‌‌for‌‌the‌‌purpose‌‌of‌‌raising‌‌revenue‌‌for‌‌general‌‌governmental‌‌purposes.”‌Raum‌‌

v.‌‌Board‌‌of‌‌Sup’rs‌‌of‌‌Treddyffrin‌‌Twp.‌,‌‌370‌‌A.2d‌‌777,‌‌797‌‌(Pa.‌‌Commw.‌‌1977).‌ ‌

         37.      As‌ ‌a‌ ‌final‌ ‌but‌ ‌important‌ ‌note,‌ ‌municipalities‌ ‌must‌ ‌also‌ ‌comport‌ ‌with‌ ‌the‌‌

individual‌‌rights‌‌afforded‌‌to‌‌those‌‌under‌‌the‌‌United‌‌States‌‌Constitution,‌‌including,‌‌among‌‌others:‌ ‌



                                                         10‌ ‌
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               a. The‌‌Takings‌‌Clause‌‌of‌‌the‌‌Fifth‌‌Amendment,‌‌which‌‌limits‌‌the‌‌fees‌‌municipalities‌‌

                    may‌‌charge‌‌to‌‌the‌‌“fair‌‌approximation‌‌of‌‌the‌‌cost‌‌of‌‌benefits”‌‌which‌‌they‌‌supply.‌‌

                    In‌ ‌re‌ ‌Exide‌ ‌Techs.‌,‌ ‌611‌ ‌B.R.‌ ‌21,‌ ‌32‌ ‌(Bankr.‌ ‌D.‌ ‌Del.‌ ‌2020)(“user‌ ‌fees‌ ‌are‌ ‌not‌‌

                    takings‌ ‌under‌ ‌the‌‌Fifth‌‌Amendment‌‌unless‌‌the‌‌fees‌‌are‌‌so‌‌excessive‌‌that‌‌they‌‌do‌‌

                    not‌ ‌reflect‌ ‌a‌ ‌‘fair‌ ‌approximation‌ ‌of‌ ‌the‌ ‌cost‌ ‌of‌ ‌benefits‌ ‌supplied’‌ ‌by‌ ‌the‌‌

                    government.”)‌ ‌quoting‌ ‌Massachusetts‌ ‌v.‌ ‌United‌ ‌States‌,‌ ‌435‌ ‌U.S.‌ ‌444,‌ ‌463‌ ‌n.19‌‌

                    (1978);‌‌and‌‌ ‌

               b. The‌‌Due‌‌Process‌‌Clause‌‌of‌‌the‌‌Fourteenth‌‌Amendment,‌‌which‌‌prohibits‌‌the‌‌City‌‌

                    of‌‌Erie‌‌from,‌‌‌inter‌‌alia‌,‌‌enacting‌‌ordinances,‌‌rendering‌‌decisions,‌‌or‌‌taking‌‌action‌‌

                    which‌ ‌would‌‌have‌‌the‌‌effect‌‌of‌‌depriving‌‌one’s‌‌“life,‌‌liberty,‌‌or‌‌property‌‌without‌‌

                    due‌‌process‌‌of‌‌laws.”‌S‌ ee‌‌‌U.S.‌‌Const.,‌‌Am.‌‌14.‌ ‌

                            2.‌        The‌ ‌Extremely‌ ‌Limited‌ ‌Powers‌ ‌of‌ ‌Pennsylvania‌ ‌Municipalities‌‌
                                       vis-à-vis‌‌Public‌‌Utilities‌.‌‌ ‌
                ‌
         36.        As‌‌noted‌‌above,‌‌as‌‌a‌‌consequence‌‌of‌‌the‌‌Utility‌‌Code‌‌which‌‌“occupies‌‌the‌‌entire‌‌

field”‌ ‌with‌ ‌respect‌ ‌to‌ ‌regulation‌ ‌of‌ ‌Public‌‌Utilities‌‌(‌i.e.‌,‌‌field‌‌preemption),‌‌as‌‌applied‌‌to‌‌Public‌‌

Utilities,‌‌otherwise‌‌valid‌‌municipal‌‌actions‌‌which‌‌have‌‌the‌‌effect‌‌of‌‌regulating‌‌Public‌‌Utilities‌‌or‌‌

otherwise‌‌frustrate/interfere‌‌with‌‌the‌‌Utility‌‌Code‌‌are‌‌preempted.‌‌ ‌

         37.        In‌ ‌this‌ ‌regard,‌ ‌while‌ ‌municipalities‌ ‌generally‌ ‌have‌ ‌the‌ ‌ability‌ ‌to‌ ‌regulate‌‌

roadways,‌ ‌(‌see‌,‌ ‌11‌ ‌Pa.C.S.‌ ‌§‌ ‌12445‌ ‌as‌ ‌to‌ ‌Third-Class‌ ‌Cities),‌ ‌this‌ ‌authority‌ ‌is‌ ‌greatly‌ ‌limited‌‌

when‌‌applied‌‌to‌‌Public‌‌Utilities,‌‌as‌‌it‌‌is:‌‌ ‌

               a. Reserved‌ ‌to‌ ‌the‌ ‌PUC‌ ‌under‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌(as‌ ‌recognized‌ ‌not‌ ‌just‌ ‌under‌‌case‌‌

                    law,‌ ‌but‌ ‌under‌ ‌the‌ ‌Third-Class‌ ‌City‌ ‌Code‌ ‌itself‌ ‌(11‌ ‌Pa.C.S.‌ ‌§‌ ‌12445(b)),‌ ‌and‌‌




                                                             11‌ ‌
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                   therefore‌ ‌conflicting‌ ‌ordinances‌ ‌which‌ ‌frustrate‌ ‌the‌ ‌purpose‌ ‌of‌ ‌the‌ ‌PUC‌ ‌are‌‌

                   preempted;‌‌and‌‌ ‌

               b. Further‌ ‌subjected‌ ‌to‌‌the‌‌express‌‌statutory‌‌limits‌‌articulated‌‌in‌‌Section‌‌1511(e)‌‌of‌‌

                   the‌‌BCL.‌ ‌

         38.       Indeed,‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌has‌ ‌been‌ ‌repeatedly‌ ‌construed‌ ‌by‌‌

Pennsylvania‌‌appellate‌‌courts‌‌to‌‌allow‌‌a‌‌municipality‌‌to‌‌regulate‌‌only‌‌the‌‌“time”‌‌and‌‌“manner”‌‌

of‌‌street‌‌excavations‌‌performed‌‌by‌‌a‌‌Public‌‌Utility‌‌corporations:‌ ‌

       [Under‌‌Section‌‌1511(e)‌‌of‌‌the‌‌BCL,‌‌municipalities‌‌may‌‌only‌‌regulate]‌‌the‌‌manner‌‌
       in‌‌which‌‌the‌‌street‌‌or‌‌highway‌‌is‌‌opened,‌‌back-filled,‌‌repaved,‌‌etc.,‌‌the‌‌length‌‌of‌‌
       time‌ ‌that‌ ‌the‌ ‌excavation‌ ‌is‌ ‌open,‌ ‌the‌ ‌length‌ ‌of‌ ‌trench‌ ‌opened‌ ‌at‌ ‌one‌ ‌time,‌ ‌the‌‌
       hours‌‌of‌‌excavation,‌‌etc.‌ ‌
         ‌
Pa.‌‌Power‌‌Co.‌‌v.‌‌Twp.‌‌of‌‌Pine‌,‌‌926‌‌A.2d‌‌1241,‌‌1251‌‌(Pa.‌‌Commw.‌‌2007).‌ ‌See‌‌also‌,‌‌‌PPL‌‌Elec.‌‌

Utils.‌‌Corp‌,‌‌214‌‌A.3d‌‌639,‌‌n.‌‌30‌‌(Pa.‌‌2019)(“[t]he‌‌reference‌‌[in‌‌Section‌‌1511(e)‌‌of‌‌the‌‌BCL]‌‌to‌‌

‘permits’‌ ‌is‌ ‌a‌ ‌codification‌ ‌of‌ ‌the‌ ‌prior‌ ‌law‌ ‌relating‌‌to‌‌the‌‌time‌‌and‌‌manner‌‌of‌‌opening‌‌a‌‌street,‌‌

etc.,‌ ‌and‌ ‌is‌ ‌not‌ ‌intended‌ ‌to‌ ‌imply‌ ‌a‌ ‌power‌ ‌to‌ ‌decide‌ ‌whether‌ ‌or‌ ‌not,‌ ‌and‌ ‌by‌ ‌whom,‌ ‌a‌ ‌type‌ ‌of‌‌

utility‌‌service‌‌may‌‌be‌‌offered‌‌by‌‌means‌‌of‌‌the‌‌contemplated‌‌facilities.”).‌ ‌

         39.       Additionally,‌ ‌the‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌held‌ ‌that‌ ‌neither‌ ‌general‌‌

municipal‌ ‌law‌ ‌nor‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌provides‌ ‌municipalities‌ ‌with‌ ‌the‌ ‌power‌ ‌or‌‌

authority‌ ‌to‌ ‌dictate‌ ‌the‌ ‌location‌ ‌or‌‌placement‌‌of‌‌utility‌‌facilities,‌‌as‌‌such‌‌power‌‌is‌‌preempted‌‌

by‌ ‌the‌ ‌provisions‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code,‌ ‌which‌ ‌vests‌ ‌such‌ ‌authority‌ ‌solely‌ ‌in‌ ‌the‌ ‌PUC.‌ ‌See‌‌‌PPL‌‌

Elec.‌‌Utils.‌‌Corp‌,‌‌214‌‌at‌‌656‌‌(Pa.‌‌2019).‌ ‌

         40.       Attempts‌ ‌by‌ ‌municipalities‌ ‌to‌ ‌dictate‌ ‌the‌ ‌type,‌ ‌nature,‌ ‌or‌ ‌placement‌ ‌of‌ ‌utility‌‌

facilities‌ ‌under‌ ‌other‌ ‌municipal‌ ‌law‌ ‌sources‌ ‌(most‌ ‌notably‌ ‌in‌ ‌this‌ ‌regard‌ ‌from‌ ‌powers‌ ‌arising‌‌

from‌ ‌the‌ ‌Pennsylvania‌ ‌Municipalities‌ ‌Planning‌ ‌Code)‌ ‌(codified‌ ‌at‌ ‌53‌ ‌P.S.‌ ‌§‌ ‌11202‌ ‌et‌‌seq‌.,‌‌the‌‌



                                                               12‌ ‌
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“‌MPC‌”),‌‌have‌‌been‌‌invalidated‌‌by‌‌Pennsylvania‌‌appellate‌‌courts,‌‌holding‌‌that‌‌municipal‌‌zoning‌‌

ordinances‌‌which‌‌limit,‌‌restrict,‌‌or‌‌have‌‌the‌‌effect‌‌of‌‌dictating‌‌the‌‌placement‌‌of‌‌a‌‌Public‌‌Utility’s‌‌

facilities‌‌are‌‌invalid‌‌and‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code.‌‌‌See‌‌South‌‌Coventry‌‌Twp.‌‌v.‌‌Phila.‌‌Elec.‌‌

Co.‌‌504‌‌A.2d‌‌368,‌‌371‌‌(Pa.‌‌Commw.‌‌Ct.‌‌1986)(“‌the‌‌MPC‌‌shall‌‌not‌‌repeal‌‌or‌‌modify‌‌any‌‌of‌‌the‌‌

provisions‌‌of‌‌the‌‌[Utility‌‌Code]”).‌‌ ‌

         41.          The‌ ‌foregoing‌ ‌makes‌ ‌clear:‌ ‌municipalities‌ ‌may‌ ‌not‌ ‌enact‌ ‌ordinances,‌ ‌pass‌‌

regulations,‌ ‌or‌ ‌otherwise‌ ‌implement‌ ‌policies‌ ‌which‌ ‌have‌ ‌the‌ ‌effect‌ ‌of‌ ‌dictating‌ ‌the‌‌placement,‌‌

location,‌‌or‌‌otherwise‌‌impose‌‌conditions‌‌upon‌‌the‌‌facilities‌‌of‌‌public‌‌utilities,‌‌since‌‌such‌‌power‌‌

is‌‌vested‌‌and‌‌reserved‌‌solely‌‌in‌‌the‌‌PUC.‌‌‌See‌‌Del.‌‌Riverkeeper‌‌Network‌‌v.‌‌Sunoco‌‌Pipeline‌‌L.P.‌,‌‌

179‌ ‌A.3d‌ ‌670,‌ ‌681-82‌‌(Pa.‌‌Commw.‌‌Ct.‌‌2018)(finding‌‌that‌‌the‌‌safety‌‌of‌‌pipeline‌‌transportation‌‌

services‌ ‌are‌ ‌expressly‌ ‌committed‌ ‌to‌ ‌the‌ ‌expertise‌ ‌of‌ ‌the‌ ‌PUC‌‌by‌‌statute);‌‌‌UGI‌‌Utilities,‌‌Inc.‌‌v.‌‌

City‌ ‌of‌ ‌Reading‌,‌ ‌179‌ ‌A.3d‌ ‌624,‌ ‌630‌ ‌(Pa.‌ ‌Commw.‌ ‌Ct.‌ ‌2017)‌ ‌(holding,‌ ‌“local‌ ‌ordinances‌ ‌that‌‌

regulate‌‌the‌‌location‌‌of‌‌utility‌‌lines‌‌are‌‌preempted‌‌by‌‌the‌‌Public‌‌Utility‌‌Code‌‌where‌‌the‌‌PUC‌‌has‌‌

regulated‌ ‌the‌ ‌location‌ ‌of‌ ‌those‌ ‌lines,‌ ‌even‌ ‌if‌ ‌the‌ ‌ordinances‌ ‌do‌ ‌not‌ ‌conflict‌ ‌with‌‌specific‌‌PUC‌‌

regulations‌‌or‌‌orders.”).‌‌ ‌

         42.          This‌ ‌principle‌ ‌has‌ ‌been‌ ‌applied‌ ‌specifically‌ ‌to‌ ‌situations‌ ‌where‌ ‌municipalities‌‌

attempt‌ ‌to‌ ‌regulate‌ ‌public‌ ‌utilities‌ ‌under‌ ‌the‌ ‌guise‌ ‌of‌ ‌“tree”‌ ‌or‌ ‌“vegetation”‌ ‌management‌ ‌or‌‌

preservation.‌ ‌See‌ ‌PECO‌ ‌Energy‌ ‌Co.‌ ‌v.‌ ‌Twp.‌ ‌of‌ ‌Upper‌ ‌Dublin‌,‌ ‌922‌ ‌A.2d‌ ‌996,‌ ‌1004-05‌ ‌(P
                                                                                                               ‌ a.‌‌

Commw.‌ ‌Ct.‌ ‌2007)‌(a‌ ‌township‌ ‌shade‌ ‌tree‌ ‌ordinance‌ ‌that‌ ‌limited‌ ‌tree‌ ‌pruning‌ ‌was‌ ‌preempted‌‌

where‌ ‌it‌ ‌conflicted‌ ‌with‌ ‌PUC‌ ‌requirements‌ ‌concerning‌ ‌vegetation‌ ‌management‌ ‌near‌ ‌power‌‌

lines).‌‌ ‌

              ‌




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                            3.‌       Preemptive‌ ‌Effect‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌on‌ ‌Fees‌ ‌Imposed‌ ‌by‌‌
                                      Municipalities‌‌in‌‌Connection‌‌with‌‌Furnishing‌‌Utility‌‌Service‌.‌ ‌
               ‌
         43.       Municipalities‌ ‌do‌ ‌not‌ ‌have‌ ‌general‌ ‌authority‌‌to‌‌charge‌‌fees‌‌in‌‌connection‌‌with‌‌a‌‌

Public‌ ‌Utility’s‌ ‌use‌ ‌of‌ ‌Public‌ ‌ROWs,‌ ‌as‌ ‌they‌ ‌are‌ ‌preempted‌ ‌because‌ ‌they‌ ‌frustrate‌ ‌the‌ ‌Utility‌‌

Code’s‌‌goal‌‌of‌‌ensuring‌‌reasonable‌‌utility‌‌rates‌‌for‌‌consumers‌‌across‌‌the‌‌Commonwealth‌‌through‌‌

the‌ ‌uniform‌ ‌statewide‌ ‌regulation‌ ‌of‌ ‌rates‌ ‌by‌ ‌the‌ ‌PUC.‌ ‌See‌ ‌PPL‌ ‌Elec.‌ ‌Utils.‌ ‌Corp.‌ ‌v.‌ ‌City‌ ‌of‌‌

Lancaster‌,‌‌214‌‌A.3d‌‌639,‌‌642‌‌(2019).‌‌ ‌

         44.       More‌‌specifically,‌‌the‌‌adverse‌‌impact‌‌of‌‌such‌‌fees‌‌on‌‌utility‌‌rates‌‌is‌‌a‌‌consequence‌‌

of‌‌the‌‌means‌‌by‌‌which‌‌the‌‌Utility‌‌Code‌‌specifies‌‌utility‌‌rates‌‌are‌‌set.‌‌In‌‌this‌‌regard,‌‌utility‌‌rates‌‌

are‌ ‌approved‌ ‌by‌ ‌the‌ ‌PUC‌ ‌pursuant‌ ‌to‌ ‌the‌ ‌Utility‌ ‌Code.‌ ‌Public‌ ‌Utilities‌ ‌recover‌ ‌the‌ ‌costs‌ ‌of‌‌

providing‌‌service‌‌via‌‌base‌‌rates‌‌established‌‌through‌‌Section‌‌1308‌‌of‌‌the‌‌Utility‌‌Code‌‌(66‌‌Pa.C.S.‌‌

§‌‌1308),‌‌and‌‌these‌‌base‌‌rates‌‌are‌‌designed‌‌to‌‌allow‌‌public‌‌utilities‌‌to‌‌recover‌‌“those‌‌expenses‌‌that‌‌

are‌ ‌reasonably‌ ‌necessary‌ ‌to‌ ‌provide‌ ‌service‌ ‌to‌ ‌its‌ ‌customers,”‌ ‌as‌ ‌well‌ ‌as‌ ‌a‌ ‌reasonable‌ ‌rate‌ ‌of‌‌

return‌‌on‌‌its‌‌investment.‌‌‌City‌‌of‌‌Lancaster‌‌v.‌‌Pa.‌‌Public‌‌Utility‌‌Commission‌,‌‌793‌‌A.2d‌‌978,‌‌982‌‌

(Pa.‌‌2002).‌‌ ‌

         45.       Municipal‌ ‌imposition‌ ‌of‌ ‌large‌ ‌general‌ ‌fees‌ ‌upon‌ ‌Public‌ ‌Utilities‌ ‌in‌ ‌connection‌‌

with‌‌the‌‌furnishing‌‌of‌‌utility‌‌service‌‌(‌e.g.‌,‌‌charging‌‌costs‌‌in‌‌connection‌‌with‌‌a‌‌Public‌‌Utility’s‌‌use‌‌

of‌ ‌the‌ ‌Public‌ ‌ROW),‌ ‌therefore,‌ ‌is‌ ‌ultimately‌ ‌recovered‌ ‌from‌ ‌the‌ ‌Public‌ ‌Utility’s‌ ‌ratepayers,‌‌

thereby‌‌increasing‌‌base‌‌rates.‌‌ ‌

         46.       The‌ ‌effect:‌‌the‌‌cost‌‌of‌‌such‌‌fees‌‌is‌‌ultimately‌‌borne‌‌by‌‌the‌‌Public‌‌Utility’s‌‌‌entire‌‌

customer‌ ‌base,‌ ‌not‌ ‌just‌ ‌those‌ ‌who‌ ‌reside‌ ‌in‌ ‌the‌ ‌municipality‌ ‌that‌ ‌imposed‌ ‌such‌ ‌fees.‌‌‌See‌‌‌PPL‌‌

Elec.‌,‌ ‌214‌ ‌A.3d‌ ‌at‌ ‌659‌ ‌(“subscribers‌ ‌in‌ ‌more‌ ‌frugal‌ ‌or‌‌less‌‌complex‌‌jurisdictions‌‌will‌‌bear‌‌not‌‌




                                                            14‌ ‌
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only‌ ‌the‌‌expense‌‌associated‌‌with‌‌their‌‌own‌‌service‌‌area,‌‌but‌‌also‌‌will‌‌subsidize‌‌the‌‌expenses‌‌of‌‌

other‌‌municipalities‌‌in‌‌which‌‌the‌‌maintenance‌‌costs‌‌are‌‌greater.”)‌‌ ‌

            47.         As‌ ‌the‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌recently‌ ‌observed,‌ ‌large‌ ‌municipal‌ ‌fees‌‌

imposed‌ ‌on‌ ‌Public‌ ‌Utilities‌ ‌are‌ ‌effectively‌ ‌general‌ ‌subsidies‌ ‌for‌ ‌the‌ ‌enacting‌ ‌municipality‌‌

(insofar‌ ‌as‌ ‌a‌ ‌Public‌ ‌Utility’s‌ ‌customers‌ ‌located‌ ‌outside‌ ‌of‌ ‌the‌ ‌enacting‌ ‌municipality‌ ‌would‌ ‌be‌‌

required‌ ‌to‌ ‌pay‌ ‌for‌ ‌it‌ ‌in‌ ‌the‌ ‌form‌ ‌of‌ ‌higher‌ ‌base‌ ‌rates),‌ ‌and‌ ‌could‌ ‌quickly‌ ‌cascade‌ ‌through‌ ‌a‌‌

domino-like‌ ‌phenomenon‌ ‌where‌ ‌other‌ ‌municipalities‌ ‌similarly‌ ‌would‌ ‌seek‌ ‌to‌ ‌implement‌ ‌such‌‌

fees,‌‌ultimately‌‌leading‌‌to‌‌higher‌‌utility‌‌rates,‌‌prompted‌‌by‌‌actions‌‌of‌‌local‌‌governments.‌I‌ d‌.‌ ‌

            48.         As‌ ‌a‌ ‌result,‌ ‌the‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌opined‌ ‌that‌ ‌the‌ ‌effect‌ ‌of‌ ‌such‌‌

municipal‌ ‌fees‌ ‌frustrates‌ ‌the‌ ‌Utility‌ ‌Code’s‌ ‌purpose‌ ‌of‌ ‌ensuring‌ ‌fair‌ ‌and‌ ‌reasonable‌ ‌rates‌‌(and‌‌

therefore‌‌are‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code):‌‌ ‌

       Assuming‌‌the‌‌PUC‌‌approves‌‌a‌‌utility's‌‌proposed‌‌rate‌‌that‌‌reflects‌‌local‌‌.‌‌.‌‌.‌ ‌fees,‌‌
       thereby‌ ‌passing‌ ‌the‌ ‌expense‌ ‌on‌ ‌to‌ ‌that‌ ‌utility's‌ ‌entire‌ ‌subscriber‌ ‌base,‌‌the‌‌effect‌‌
       will‌ ‌be‌‌that‌‌‌subscribers‌‌in‌‌more‌‌frugal‌‌or‌‌less‌‌complex‌‌jurisdictions‌‌will‌‌bear‌‌
       not‌ ‌only‌ ‌the‌ ‌expense‌ ‌associated‌ ‌with‌ ‌their‌ ‌own‌ ‌service‌ ‌area,‌ ‌but‌ ‌also‌ ‌will‌‌
       subsidize‌‌the‌‌expenses‌‌of‌‌other‌‌municipalities‌‌in‌‌which‌‌the‌‌maintenance‌‌costs‌‌
       are‌ ‌greater. T   ‌ his‌ ‌flies‌ ‌in‌ ‌the‌ ‌face‌ ‌of‌ ‌the‌ ‌preference‌ ‌for‌ ‌the‌ ‌fairness‌ ‌and‌‌
       relative‌‌simplicity‌‌of‌‌providing‌‌a‌‌uniform‌‌regulatory‌‌framework‌‌that‌‌ensures‌‌
                                                                                      2
       a‌‌level‌‌playing‌‌field‌‌for‌‌all‌‌utilities‌‌and‌‌utility‌‌subscribers‌.‌ ‌
        ‌
                                                                          3
PPL‌‌Elec.‌‌Utils.‌‌Corp‌,‌‌214‌‌A.3d‌‌at‌‌659‌‌(emphasis‌‌added).‌ ‌ ‌




2
  ‌Of‌‌note,‌‌in‌‌‌PPL‌‌Elec.‌‌Utils.‌‌Corp.‌,‌‌the‌‌Pennsylvania‌‌Supreme‌‌Court‌‌provided‌‌this‌‌commentary‌‌in‌‌the‌‌context‌‌of‌‌ruling‌‌that‌‌the‌‌
City‌ ‌of‌ ‌Lancaster’s‌ ‌“maintenance‌ ‌fee”‌ ‌(i‌.e.‌,‌ ‌fee‌‌a‌‌utility‌‌paid‌‌to‌‌“occupy”‌‌the‌‌Public‌‌ROW)‌‌was‌‌unlawful.‌‌The‌‌same‌‌analysis‌‌
applies‌‌to‌‌this‌‌case.‌ ‌
3
   ‌Removing‌ ‌any‌ ‌doubt‌ ‌that‌ ‌a‌ ‌municipality‌ ‌cannot‌ ‌impose‌ ‌fees‌ ‌on‌ ‌Public‌ ‌Utilities‌‌in‌‌connection‌‌with‌‌the‌‌furnishing‌‌of‌‌utility‌‌
service,‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌does‌ ‌not‌ ‌expressly‌ ‌authorize‌ ‌any‌ ‌fees‌ ‌to‌ ‌be‌ ‌paid‌ ‌to‌ ‌municipalities,‌ ‌but‌ ‌only‌‌authorizes‌‌
municipalities‌ ‌to‌ ‌require‌ ‌permits‌‌in‌‌connection‌‌with‌‌a‌‌Public‌‌Utility’s‌‌use‌‌of‌‌the‌‌Public‌‌ROWs,‌‌a‌‌fact‌‌which‌‌the‌‌Pennsylvania‌‌
Supreme‌‌Court‌‌has‌‌pointed‌‌out‌‌in‌‌dicta:‌‌“[n]otably,‌‌Section‌‌1511(e)‌‌does‌‌not‌‌expressly‌‌authorize‌‌any‌‌fees‌‌at‌‌all….”‌‌‌Id‌.‌‌at‌‌658,‌‌n.‌‌
34.‌ ‌


                                                                              15‌ ‌
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         49.      Restated,‌ ‌municipalities‌ ‌are‌ ‌preempted‌ ‌from‌ ‌imposing‌ ‌fees‌ ‌on‌ ‌Public‌ ‌Utilities,‌‌

because‌ ‌such‌ ‌fees‌ ‌undermine‌ ‌the‌ ‌General‌ ‌Assembly’s‌ ‌intent‌ ‌to‌ ‌create‌ ‌a‌ ‌uniform‌ ‌regulatory‌‌

framework‌‌for‌‌all‌‌utilities‌‌and‌‌their‌‌customers.‌I‌ d‌.‌‌ ‌

         D.‌ ‌    The‌‌City‌‌of‌‌Erie’s‌‌Street‌‌Excavation‌‌Ordinance‌.‌‌ ‌

                           1.‌        The‌‌Design‌‌of‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌.‌ ‌
                   ‌
         50.      In‌ ‌1994,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌enacted‌ ‌a‌‌Street‌‌Excavation‌‌Ordinance‌‌(Article‌‌901‌‌of‌‌

the‌‌City‌‌of‌‌Erie‌‌Code‌‌of‌‌Ordinances,‌‌“S
                                             ‌ treet‌‌Excavation‌‌Ordinance‌”)‌‌to‌‌govern‌‌construction‌‌in‌‌

Public‌‌ROWs.‌‌ ‌

         51.      The‌ ‌Street‌ ‌Excavation‌ ‌Ordinance‌ ‌imposes‌ ‌a‌ ‌permit‌ ‌scheme,‌ ‌which‌ ‌provides‌ ‌as‌‌

follows:‌ ‌

         No‌ ‌person,‌ ‌firm,‌ ‌or‌ ‌corporation‌ ‌shall‌ ‌enter‌ ‌upon‌ ‌or‌ ‌occupy‌ ‌any‌ ‌public‌‌
         right-of-way‌‌within‌‌the‌‌City‌‌for‌‌the‌‌purpose‌‌of‌‌making‌‌an‌‌excavation‌‌or‌‌opening‌‌
         in‌ ‌or‌ ‌under‌ ‌any‌ ‌[Public‌ ‌ROW]‌ ‌without‌ ‌having‌ ‌first‌ ‌obtained‌ ‌a‌ ‌permit‌ ‌from‌ ‌the‌‌
         City‌‌to‌‌do‌‌so.‌‌ ‌
                                                   *‌‌*‌‌*‌ ‌
         A‌ ‌City‌ ‌department‌ ‌or‌ ‌bureau‌ ‌making‌ ‌or‌ ‌causing‌ ‌an‌‌excavation‌‌or‌‌opening‌‌to‌‌be‌‌
         made‌ ‌in‌ ‌any‌‌public‌‌right-of-way‌‌will‌‌be‌‌required‌‌to‌‌obtain‌‌a‌‌feeless‌‌permit‌‌prior‌‌
         to‌‌such‌‌work.‌‌ ‌
          ‌
Street‌‌Excavation‌‌Ordinance,‌‌§‌‌901.02(a).‌‌ ‌

         52.      To‌ ‌obtain‌ ‌a‌ ‌permit‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance‌ ‌(the‌ ‌“P
                                                                                                     ‌ ermit‌”),‌ ‌an‌‌

entity‌‌must,‌‌‌inter‌‌alia‌,‌‌(a)‌‌submit‌‌an‌‌application;‌‌(b)‌‌post‌‌a‌‌bond;‌‌and‌‌(c)‌‌pay‌‌all‌‌fees‌‌required‌‌by‌‌

the‌‌City‌‌of‌‌Erie.‌‌Street‌‌Excavation‌‌Ordinance,‌‌Street‌‌Excavation‌‌Ordinance,‌‌§§‌‌901.04-901.06.‌ ‌

         53.      The‌ ‌City‌ ‌requires‌ ‌that‌ ‌three‌ ‌(3)‌ ‌types‌ ‌of‌ ‌fees‌ ‌be‌ ‌paid‌ ‌in‌ ‌connection‌ ‌with‌ ‌every‌‌

Permit,‌ ‌as‌ ‌follows:‌ ‌(i)‌ ‌a‌ ‌permit‌ ‌fee,‌ ‌(ii)‌ ‌an‌ ‌inspection‌ ‌fee,‌ ‌and‌ ‌(iii)‌ ‌a‌ ‌degradation‌ ‌fees‌‌

(collectively,‌‌the‌‌“F
                      ‌ ee‌‌Structure‌”).‌‌Street‌‌Excavation‌‌Ordinance,‌§‌ ‌‌901.06.‌‌ ‌

         54.      The‌‌Fee‌‌Structure‌‌and‌‌a‌‌calculation‌‌of‌‌each‌‌of‌‌the‌‌fees‌‌is‌‌as‌‌follows:‌‌ ‌



                                                            16‌ ‌
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                    a. “‌Permit‌‌Fee:‌”‌‌‌a‌‌flat‌‌fee,‌‌currently‌‌$100.00‌‌per‌‌Permit,‌‌which,‌‌as‌‌specified‌‌in‌‌

                        the‌‌Street‌‌Excavation‌‌Ordinance,‌‌“covers‌‌the‌‌cost‌‌of‌‌issuing,‌‌processing‌‌and‌‌

                        filing‌‌the‌‌street‌‌excavation‌‌permit.”‌ ‌

                    b. “‌Degradation‌ ‌Fee:‌”‌ ‌a‌ ‌fee‌ ‌which,‌ ‌as‌ ‌specified‌ ‌in‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

                        Ordinance,‌ ‌purportedly‌ ‌“defray[s]‌ ‌a‌ ‌percentage‌ ‌of‌ ‌the‌ ‌costs‌ ‌for‌ ‌resurfacing‌‌

                        and‌ ‌reconstruction‌ ‌of‌ ‌City‌ ‌streets‌ ‌resulting‌ ‌from‌ ‌the‌ ‌depreciation‌ ‌of‌ ‌streets‌‌

                        associated‌ ‌with‌ ‌street‌ ‌opening.”‌ ‌Degradation‌ ‌Fees‌ ‌are‌ ‌currently‌ ‌set‌ ‌on‌ ‌an‌‌

                        escalating‌ ‌scale,‌ ‌set‌ ‌by‌ ‌multiplying‌ ‌the‌ ‌square‌ ‌yardage‌ ‌of‌ ‌cuts‌ ‌made‌ ‌by‌‌

                        $28.00/square‌ ‌yard‌ ‌(for‌ ‌work‌ ‌in‌ ‌the‌ ‌Utility‌ ‌Strip)‌ ‌or‌ ‌by‌‌$50.00/square‌‌yard‌‌

                        (for‌‌work‌‌in‌‌the‌‌Cartway).‌ ‌

                    c. “‌Inspection‌ ‌Fee‌:”‌ ‌a‌ ‌fee‌ ‌which,‌ ‌as‌ ‌specified‌ ‌in‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

                        Ordinance,‌‌purportedly‌‌is‌‌applied‌‌to‌‌“defray‌‌street‌‌opening‌‌inspection‌‌costs.”‌‌

                        Inspection‌‌Fees‌‌are‌‌set‌‌on‌‌an‌‌escalating‌‌scale‌‌based‌‌on‌‌the‌‌number‌‌of‌‌square‌‌

                        yards,‌‌starting‌‌at‌‌$60.00.‌‌ ‌

Street‌‌Excavation‌‌Ordinance,‌‌§‌‌901.06(c).‌ ‌

                            2‌.‌   ‌Unlawful‌‌Nature‌‌of‌‌the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure‌.‌‌ ‌
               ‌
         55.       The‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure‌‌is‌‌unlawful‌‌for‌‌several‌‌reasons.‌‌ ‌

         56.       First,‌ ‌as‌ ‌applied‌ ‌to‌ ‌National‌ ‌Fuel‌ ‌and‌ ‌other‌ ‌Public‌‌Utilities,‌‌the‌‌Fee‌‌Structure‌‌is‌‌

unlawful‌‌because‌‌it‌‌is‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code.‌ ‌

         57.       Second,‌‌the‌‌Fee‌‌Structure‌‌is‌‌legally‌‌defective‌‌on‌‌its‌‌face,‌‌in‌‌that‌‌the‌‌fees‌‌are‌‌set‌‌at‌‌

an‌ ‌arbitrary,‌ ‌excessive‌ ‌and‌ ‌unreasonable‌ ‌amount,‌ ‌which‌ ‌bears‌ ‌no‌ ‌relation‌ ‌to‌ ‌either‌ ‌the‌ ‌stated‌‌

purpose‌‌for‌‌each‌‌fee‌‌component,‌‌or‌‌for‌‌the‌‌City’s‌‌actual‌‌costs.‌‌ ‌




                                                            17‌ ‌
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         58.       That‌‌the‌‌Fee‌‌Structure‌‌is‌‌arbitrary,‌‌excessive‌‌and‌‌unreasonable‌‌is‌‌demonstrated‌‌by‌‌

comparing‌ ‌it‌ ‌to‌ ‌the‌ ‌fees‌ ‌charged‌ ‌by‌ ‌the‌ ‌Pennsylvania‌ ‌Department‌ ‌of‌ ‌Transportation‌‌

(“‌PennDOT‌”)‌‌for‌‌the‌‌same‌‌type‌‌of‌‌utility‌‌excavation‌‌work‌‌performed‌‌on‌‌state-owned‌‌roadways.‌ ‌

         59.       Under‌ ‌regulations‌ ‌governing‌ ‌Public‌ ‌ROWs‌ ‌for‌ ‌roads‌ ‌maintained‌ ‌by‌ ‌PennDOT,‌‌

entities‌‌excavating‌‌state-owned‌‌streets‌‌only‌‌pay:‌‌(a)‌‌a‌‌$50.00‌‌application‌‌fee‌‌(i‌.e.‌,‌‌half‌‌of‌‌the‌‌City‌‌

of‌‌Erie’s‌‌Application‌‌Fee);‌‌and‌‌(b)‌‌an‌‌inspection‌‌fee‌‌of‌‌$40‌‌for‌‌opening‌‌one‌‌hundred‌‌(100)‌‌‌linear‌‌

feet‌‌of‌‌street.‌‌See‌,‌‌67‌‌Pa.‌‌Code‌‌§‌‌459.4.‌ ‌

         60.       The‌‌table‌‌below‌‌illustrates‌‌the‌‌large‌‌deviation‌‌between‌‌fees‌‌charged‌‌by‌‌the‌‌City‌‌of‌‌

Erie‌ ‌pursuant‌ ‌to‌ ‌the‌ ‌Fee‌ ‌Structure‌ ‌of‌ ‌the‌ ‌Street‌ ‌Excavation‌‌and‌‌those‌‌which‌‌would‌‌be‌‌charged‌

under‌‌PennDOT’s‌‌fee‌‌structure‌‌by‌‌comparing‌‌amounts‌‌National‌‌Fuel‌‌paid‌‌to‌‌the‌‌City‌‌of‌‌Erie‌‌for‌‌

recent‌‌utility‌‌work‌‌(each,‌‌a‌‌“P
                                   ‌ roject‌”)‌‌to‌‌the‌‌hypothetical‌‌costs‌‌each‌‌Project‌‌would‌‌have‌‌incurred‌‌

if‌‌it‌‌had‌‌been‌‌performed‌‌on‌‌a‌‌state-owned‌‌roadway:‌ ‌

                                                                        Projected‌‌Fee‌‌
                                                        Actual‌‌        Calculated‌‌
                  Project‌‌Location‌ ‌       Total‌‌    Project‌‌Fee‌‌ Using‌‌
                  Within‌‌the‌‌ ‌            Footage‌‌ Paid‌‌to‌‌City‌‌ PennDOT’s‌‌
                  City‌‌of‌‌Erie‌‌ ‌         Permitted‌ of‌‌Erie‌ ‌     Fee‌‌Structure‌ ‌
                  29th‌‌Street‌ ‌            2939‌ ‌    $1,710‌ ‌       $380‌ ‌
                  East‌‌Ave.‌‌/‌‌McBride‌‌ ‌ 591‌ ‌     $8,428‌ ‌       $100‌ ‌
                  State‌‌St.‌‌&‌‌41st‌ ‌     1516‌ ‌    $7,513‌ ‌       $150‌ ‌
                  30th‌‌&‌‌Elmwood‌ ‌        2511‌ ‌    $1,490‌ ‌       $260‌ ‌
                  Nancy‌‌Ave.‌‌&‌‌38th‌ ‌    524‌ ‌     $1,930‌ ‌       $100‌ ‌
                  42nd‌‌&‌‌Washington‌ ‌ 727‌ ‌         $3,513‌ ‌       $80‌ ‌
                  31st‌‌&‌‌Cherry‌ ‌         616‌ ‌     $1,388‌ ‌       $70‌ ‌
                  31st‌‌&‌‌Raspberry‌ ‌      131‌ ‌     $1,130‌ ‌       $20‌ ‌
                  Peach‌‌St.‌‌&‌‌W‌‌4th‌ ‌   197‌ ‌     $3,067‌ ‌       $70‌ ‌
                  E.24th‌‌&‌‌Parade‌ ‌       224‌ ‌     $4,238‌ ‌       $70‌ ‌
 ‌

         61.       The‌‌above‌‌table‌‌shows‌‌that‌‌in‌‌some‌‌cases,‌‌the‌‌City‌‌of‌‌Erie’s‌‌total‌‌fees‌‌for‌‌a‌‌single‌‌




                                                          18‌ ‌
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Project‌ ‌are‌‌over‌‌eight-four‌‌(84)‌‌times‌‌larger‌‌than‌‌the‌‌corresponding‌‌fee‌‌which‌‌PennDOT‌‌would‌‌

have‌‌charged‌‌for‌‌the‌‌same.‌‌ ‌

            62.         It‌‌is‌‌impossible‌‌to‌‌justify‌‌the‌‌thousands‌‌of‌‌dollars‌‌in‌‌“degradation”‌‌fees‌‌which‌‌the‌‌

City‌‌of‌‌Erie‌‌charges‌‌on‌‌a‌‌single‌‌project,‌‌when‌‌the‌‌same‌‌project‌‌on‌‌a‌‌state‌‌route‌‌is‌‌not‌‌subject‌‌to‌‌a‌‌

single‌‌dollar‌‌in‌‌“degradation”‌‌fees.‌ ‌

            63.         When‌‌comparing‌‌the‌‌City’s‌‌Fee‌‌Structure‌‌with‌‌PennDOT’s,‌‌the‌‌largest‌‌difference‌‌

between‌‌the‌‌two‌‌is‌‌the‌‌fact‌‌that‌‌PennDOT‌‌does‌‌not‌‌charge‌‌any‌‌“degradation”‌‌fees.‌‌This‌‌leads‌‌to‌‌

the‌ ‌logical‌ ‌conclusion‌ ‌that‌ ‌there‌ ‌is‌ ‌no‌ ‌“degradation”‌ ‌sustained‌ ‌by‌ ‌roadways‌‌when‌‌utilities‌‌like‌‌

National‌‌Fuel‌‌conduct‌‌their‌‌work.‌‌ ‌

            64.         Another‌ ‌large‌ ‌difference‌ ‌between‌ ‌the‌ ‌City’s‌ ‌Fee‌ ‌Structure‌ ‌and‌ ‌PennDOT’s‌‌

pertains‌ ‌to‌ ‌the‌‌nature‌‌in‌‌which‌‌inspection-type‌‌fees‌‌are‌‌calculated:‌‌the‌‌City‌‌of‌‌Erie’s‌‌Inspection‌‌

Fees‌‌are‌‌based‌‌on‌‌the‌‌‌square‌‌yardage‌‌of‌‌the‌‌area‌‌impacted‌‌by‌‌excavation,‌‌with‌‌a‌‌base‌‌inspection‌‌

fee‌ ‌of‌ ‌$115.00‌ ‌for‌ ‌101‌ ‌square‌ ‌yards,‌ ‌plus‌ ‌two‌ ‌dollars‌ ‌for‌ ‌each‌ ‌additional‌ ‌square‌ ‌yard,‌ ‌while‌‌

PennDOT‌‌charges‌‌only‌‌an‌‌inspection‌‌fee‌‌of‌‌$40.00‌‌to‌‌inspect‌‌opening‌‌one‌‌hundred‌‌(100)‌‌‌linear‌‌

feet‌‌of‌‌street.‌‌See‌‌‌67‌‌Pa.‌‌Code‌‌459.4(b)(1)(i)(A).‌ ‌

            65.         Beyond‌‌being‌‌set‌‌an‌‌unreasonable‌‌amount,‌‌the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌

Structure‌ ‌is‌ ‌unlawful‌ ‌because‌ ‌the‌ ‌Fees,‌ ‌insofar‌ ‌as‌ ‌they‌ ‌are‌ ‌not‌ ‌reasonably‌ ‌related‌ ‌to‌ ‌the‌ ‌cost‌‌

incurred‌‌by‌‌the‌‌City,‌‌is‌‌therefore‌‌being‌‌used‌‌for‌‌purposes‌‌other‌‌than‌‌those‌‌asserted‌‌by‌‌the‌‌City‌‌as‌‌

a‌ ‌revenue-generating‌ ‌tax,‌ ‌and‌ ‌therefore,‌ ‌it‌‌wrongfully‌‌generates‌‌revenue‌‌for‌‌the‌‌City‌‌of‌‌Erie‌‌to‌‌
                                                 4
use‌‌in‌‌any‌‌manner‌‌it‌‌deems‌‌fit.‌ ‌ ‌



4
   ‌See‌,‌ ‌Final‌ ‌Budget‌ ‌for‌ ‌Year‌ ‌2021‌ ‌approved‌ ‌pursuant‌ ‌to‌ ‌Erie‌ ‌City‌ ‌Council‌ ‌Ordinance‌ ‌No.‌ ‌45-2020‌ ‌on‌ ‌December‌ ‌17,‌ ‌2020‌‌
(“‌Budget‌”),‌‌line‌‌3217‌‌(as‌‌to‌‌treatment‌‌of‌‌Fees‌‌received‌‌per‌‌the‌‌Street‌‌Excavation‌‌Ordinance).‌‌The‌‌Budget‌‌also‌‌confirms‌‌that‌‌the‌‌
“General‌ ‌Fund”‌ ‌is‌ ‌“used‌ ‌to‌ ‌account‌ ‌for‌ ‌the‌ ‌ordinary‌ ‌operations‌ ‌of‌ ‌a‌ ‌government‌ ‌unit‌ ‌that‌‌are‌‌financed‌‌from‌‌taxes‌‌and‌‌other‌‌
general‌‌revenues‌‌and‌‌appropriates‌‌expenditures‌‌which‌‌are‌‌not‌‌accounted‌‌for‌‌in‌‌another‌‌fund”‌‌on‌‌p.‌‌14.”.‌‌ ‌


                                                                            19‌ ‌
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            66.         Confirming‌ ‌the‌ ‌foregoing:‌ ‌per‌ ‌the‌ ‌City’s‌ ‌2021‌ ‌Budget,‌ ‌Fees‌ ‌derived‌ ‌from‌ ‌the‌‌

Street‌ ‌Excavation‌ ‌Ordinance‌ ‌are‌ ‌deposited‌ ‌into‌ ‌the‌ ‌City’s‌ ‌“General‌ ‌Fund”‌ ‌–‌ ‌an‌ ‌unrestricted‌‌
                                                                                                         5
account‌‌from‌‌which‌‌almost‌‌any‌‌municipal‌‌activity‌‌can‌‌be‌‌funded.‌ ‌

            67.         Additionally,‌ ‌the‌ ‌Degradation‌ ‌Fee‌ ‌is,‌‌in‌‌a‌‌special‌‌way,‌‌egregious,‌‌excessive,‌‌and‌‌

unlawful‌ ‌in‌ ‌that:‌ ‌(a)‌ ‌per‌ ‌the‌ ‌terms‌ ‌of‌‌the‌‌Street‌‌Excavation‌‌Ordinance,‌‌entities‌‌excavating‌‌City‌‌

streets‌ ‌(like‌ ‌National‌ ‌Fuel)‌ ‌are‌ ‌already‌ ‌responsible‌ ‌for‌ ‌the‌ ‌repair‌ ‌of‌ ‌City‌ ‌streets‌ ‌following‌‌
                                 6
excavation‌ ‌activity;‌ ‌and‌ ‌(b)‌ ‌National‌ ‌Fuel’s‌ ‌repair‌ ‌of‌ ‌City‌ ‌streets‌ ‌after‌ ‌completing‌ ‌its‌‌
                                                                                                                  7
underground‌‌construction‌‌work,‌‌does‌‌not‌‌degrade‌‌the‌‌street’s‌‌structure.‌ ‌ ‌

            68.         Thus,‌ ‌National‌ ‌Fuel‌ ‌is‌‌unlawfully‌‌being‌‌forced‌‌to‌‌pay‌‌large‌‌Degradation‌‌Fees‌‌to‌‌

the‌‌City‌‌of‌‌Erie‌‌for‌‌the‌‌right‌‌to‌‌access‌‌and‌‌install‌‌its‌‌Facilities,‌‌despite‌‌the‌‌fact‌‌that‌‌the‌‌City‌‌has‌‌

no‌ ‌costs‌ ‌relegated‌ ‌to‌ ‌the‌ ‌“degradation”‌ ‌of‌ ‌its‌‌streets,‌‌and‌‌no‌‌degradation‌‌is‌‌caused‌‌by‌‌National‌‌

Fuel’s‌‌work.‌ ‌

            69.         Moreover,‌ ‌the‌ ‌unlawful‌ ‌nature‌ ‌of‌ ‌the‌ ‌Degradation‌ ‌Fee‌ ‌is‌ ‌confirmed‌ ‌by‌ ‌the‌ ‌fact‌‌

that‌ ‌Degradation‌ ‌Fees‌ ‌are‌ ‌assessed‌ ‌for‌ ‌excavation‌ ‌work‌ ‌done‌ ‌in‌ ‌the‌ ‌grassy‌ ‌Utility‌ ‌Strip‌ ‌and‌‌

sidewalks,‌‌despite‌‌the‌‌fact‌‌that‌‌the‌‌City‌‌–‌‌per‌‌the‌‌express‌‌language‌‌used‌‌in‌‌the‌‌Street‌‌Excavation‌‌

Ordinance‌ ‌–‌ ‌has‌ ‌stated‌ ‌the‌ ‌purpose‌ ‌of‌ ‌the‌ ‌Degradation‌ ‌Fee‌ ‌is‌ ‌purportedly‌ ‌to‌ ‌help‌ ‌“defray‌ ‌a‌‌

percentage‌‌of‌‌‌the‌‌costs‌‌for‌‌resurfacing‌‌and‌‌reconstruction‌‌of‌‌City‌‌streets‌‌resulting‌‌from‌‌the‌‌

depreciation‌ ‌of‌ ‌streets‌ ‌associated‌ ‌with‌ ‌street‌ ‌openings.”‌ ‌Street‌ ‌Excavation‌ ‌Ordinance,‌ ‌§‌‌

901.01‌(f)(emphasis‌‌added).‌‌ ‌




5
  ‌See‌,‌‌supra‌..‌‌ ‌
6
    ‌Street‌ ‌Excavation‌ ‌Ordinance,‌ ‌§‌ ‌901.10(a)‌ ‌“The‌ ‌permittee‌ ‌shall‌ ‌be‌ ‌responsible‌ ‌for‌ ‌backfilling‌ ‌and‌ ‌paving‌ ‌the‌ ‌opening‌ ‌and‌‌
restoring‌‌the‌‌street‌‌surface‌‌to‌‌its‌‌original‌‌condition‌‌prior‌‌to‌‌the‌‌street‌‌cut.”‌ ‌
7
   ‌The‌ ‌City‌‌of‌‌Erie’s‌‌then-Director‌‌of‌‌Public‌‌Works,‌‌David‌‌Mulvihill,‌‌admitted‌‌that‌‌National‌‌Fuel’s‌‌construction‌‌work‌‌does‌‌not‌‌
degrade‌‌the‌‌streets,‌‌during‌‌a‌‌meeting‌‌with‌‌National‌‌Fuel‌‌representatives‌‌on‌‌July‌‌29,‌‌2020.‌‌ ‌


                                                                            20‌ ‌
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             70.      Thus,‌ ‌by‌ ‌charging‌ ‌Degradation‌ ‌Fees‌ ‌for‌ ‌work‌ ‌outside‌ ‌the‌ ‌Cartway,‌ ‌the‌ ‌City‌‌

proves‌ ‌that‌ ‌the‌ ‌Degradation‌ ‌Fee‌ ‌neither:‌ ‌(a)‌ ‌is‌ ‌related‌ ‌to‌ ‌costs‌ ‌incurred‌ ‌by‌ ‌the‌ ‌City‌ ‌in‌‌

administering‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance‌ ‌–‌ ‌a‌ ‌clear‌ ‌violation‌ ‌of‌ ‌Pennsylvania‌ ‌law;‌ ‌(s‌ ee‌‌

Talley‌ ‌v.‌ ‌Commonwealth‌,‌ ‌553‌ ‌A.2d‌ ‌518,‌ ‌519‌ ‌(Pa.‌ ‌Commw.‌ ‌1989)(“a‌ ‌municipality‌ ‌may‌ ‌only‌‌

impose‌ ‌fees‌ ‌which‌ ‌are‌ ‌reasonably‌ ‌related‌ ‌to‌ ‌the‌ ‌municipality’s‌ ‌costs‌ ‌in‌ ‌providing‌ ‌the‌ ‌relevant‌‌

services”);‌ ‌Raum‌ ‌v.‌ ‌Board‌ ‌of‌ ‌Sup’rs‌ ‌of‌ ‌Treddyffrin‌ ‌Twp.‌,‌ ‌370‌ ‌A.2d‌ ‌777,‌ ‌797‌ ‌(Pa.‌ ‌Commw.‌‌

1977)(“a‌‌municipality‌‌“cannot‌‌use‌‌its‌‌power‌‌to‌‌charge‌‌fees‌‌for‌‌issuing‌‌licenses‌‌or‌‌permits‌‌for‌‌the‌‌

purpose‌ ‌of‌ ‌raising‌ ‌revenue‌ ‌for‌ ‌general‌ ‌governmental‌ ‌purposes.”));‌ ‌nor‌ ‌(b)‌ ‌is‌ ‌collected‌ ‌in‌‌

furtherance‌‌of‌‌the‌‌claimed‌‌City‌‌objective.‌‌ ‌

             71.      In‌‌a‌‌similar‌‌way,‌‌the‌‌City‌‌of‌‌Erie’s‌‌Inspection‌‌Fee‌‌is‌‌unlawful‌‌insofar‌‌as‌‌it‌‌is‌‌both:‌‌

(a)‌‌excessive,‌‌arbitrary,‌‌and‌‌unrelated‌‌to‌‌costs‌‌actually‌‌borne‌‌by‌‌the‌‌City;‌‌and‌‌(b)‌‌in‌‌many‌‌cases,‌‌

the‌‌City‌‌does‌‌not‌‌even‌‌perform‌‌the‌‌post-work‌‌inspection‌‌of‌‌either‌‌the‌‌Cartway‌‌or‌‌the‌‌Facilities.‌‌ ‌

                               3.‌‌ ‌Harm‌‌Caused‌‌City‌‌of‌‌Erie’s‌‌Fee‌‌Structure‌.‌‌ ‌
                                ‌
             72.      Since‌ ‌2014,‌ ‌National‌ ‌Fuel‌ ‌has‌ ‌paid‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌approximately‌ ‌$1,300,000‌‌

pursuant‌‌to‌‌the‌‌unlawful‌‌Fee‌‌Structure‌‌for‌‌work‌‌on‌‌its‌‌facilities‌‌located‌‌within‌‌City‌‌of‌‌Erie‌‌Public‌‌

ROWs,‌‌as‌‌shown‌‌below:‌ ‌

                    Fees‌‌Paid‌‌to‌‌the‌‌City‌‌of‌‌Erie‌‌from‌‌FY‌‌2014‌‌through‌‌FY‌‌28020*‌‌in‌‌Connection‌‌with‌‌the‌‌
                                                      Street‌‌Excavation‌‌Ordinance‌ ‌
                                                                          ‌
                                                (‌National‌‌Fuel’s‌‌Fiscal‌‌Year‌‌Begins‌‌Oct.‌‌1)‌ ‌ ‌

    ‌                                 2014‌ ‌       2015‌ ‌        2016‌ ‌      2017‌ ‌      2018‌ ‌       2019‌ ‌      2020‌ ‌ Total‌ ‌

Degradation/Inspection‌ ‌           61,086‌ ‌    379,613‌ ‌    179,297‌ ‌ 147,248‌ ‌ 101,097‌ ‌ 130,736‌ ‌ 135,814‌ ‌             1,134,891‌ ‌

Permits‌ ‌                          21,703‌ ‌     22,199‌ ‌     21,420‌ ‌     17,730‌ ‌    20,250‌ ‌     22,710‌ ‌    24,700‌ ‌     150,712‌ ‌

Total‌ ‌                            82,789‌ ‌    401,812‌ ‌    200,717‌ ‌ 164,978‌ ‌ 121,347‌ ‌ 153,446‌ ‌ 160,514‌ ‌             1,285,603‌ ‌



8
 ‌National‌‌Fuel‌‌is‌‌subject‌‌to‌‌additional‌‌permitting,‌‌inspection‌‌and‌‌degradation‌‌fees‌‌which‌‌have‌‌accrued‌‌in‌‌2021,‌‌which‌‌National‌‌
Fuel‌‌has‌‌withheld‌‌on‌‌the‌‌grounds‌‌that‌‌the‌‌fees‌‌are‌‌illegal.‌‌ ‌


                                                                      21‌ ‌
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 ‌

         73.        ‌National‌ ‌Fuel‌‌is‌‌particularly‌‌concerned‌‌about‌‌the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌

fees‌ ‌because‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌specifies‌ ‌they‌ ‌are‌ ‌a‌ ‌cost‌ ‌which‌ ‌is‌ ‌recoverable‌ ‌by‌ ‌ratepayers,‌‌

thereby‌‌increasing‌‌base‌‌rates.‌‌ ‌

         74.      Notably,‌ ‌as‌ ‌a‌ ‌function‌ ‌of‌ ‌how‌ ‌rates‌ ‌are‌ ‌set‌ ‌by‌ ‌the‌ ‌PUC‌ ‌(pursuant‌ ‌to‌ ‌the‌ ‌Utility‌‌

Code),‌ ‌such‌ ‌fees‌ ‌stand‌ ‌to‌ ‌unfairly‌ ‌increase‌ ‌the‌ ‌cost‌‌of‌‌providing‌‌natural‌‌gas‌‌to‌‌both‌‌ratepayers‌‌

located‌ ‌within‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌and‌ ‌in‌ ‌the‌ ‌other‌‌municipalities‌‌in‌‌National‌‌Fuel’s‌‌Pennsylvania‌‌

Service‌‌Territory.‌‌‌See‌‌‌PPL‌‌Elec.‌‌Utils.‌‌Corp.‌‌214‌‌A.3d‌‌at‌‌659‌‌(“subscribers‌‌in‌‌more‌‌frugal‌‌or‌‌less‌‌

complex‌‌jurisdictions‌‌will‌‌bear‌‌not‌‌only‌‌the‌‌expense‌‌associated‌‌with‌‌their‌‌own‌‌service‌‌area,‌‌but‌‌

also‌ ‌will‌ ‌subsidize‌ ‌the‌ ‌expenses‌ ‌of‌ ‌other‌ ‌municipalities‌ ‌in‌ ‌which‌ ‌the‌ ‌maintenance‌ ‌costs‌ ‌are‌‌

greater.”)‌‌ ‌

         75.      Simply‌‌put,‌‌the‌‌Fee‌‌Structure‌‌raises‌‌revenue‌‌which‌‌the‌‌City‌‌of‌‌Erie‌‌can‌‌use‌‌on‌‌‌any‌‌

expense‌ ‌paid‌ ‌for‌ ‌from‌ ‌the‌ ‌City’s‌ ‌General‌ ‌Fund,‌ ‌and‌ ‌it‌ ‌is‌ ‌not‌ ‌fair‌ ‌to‌ ‌force‌ ‌National‌ ‌Fuel’s‌‌

ratepayers‌‌outside‌‌of‌‌the‌‌City‌‌of‌‌Erie‌‌to‌‌contribute‌‌to‌‌the‌‌City’s‌‌General‌‌Fund.‌‌ ‌

         76.      National‌‌Fuel‌‌has‌‌repeatedly‌‌raised‌‌the‌‌issue‌‌of‌‌these‌‌excessive‌‌Fee‌‌Structure‌‌with‌‌

the‌‌City‌‌of‌‌Erie,‌‌without‌‌success.‌‌ ‌

         E.‌‌       ‌The‌‌City‌‌of‌‌Erie’s‌‌Tree‌‌Protection‌‌Plan‌‌(“TPP”)‌ ‌

                            1.‌      Overview‌.‌ ‌

         77.      On‌‌December‌‌28,‌‌2005,‌‌the‌‌City‌‌of‌‌Erie‌‌adopted‌‌the‌‌Urban‌‌Forest‌‌Ordinance‌‌(the‌‌

“‌Urban‌‌Forest‌‌Ordinance‌”)‌‌which‌‌established‌‌an‌‌Urban‌‌Forest‌‌Committee‌‌(the‌‌“C
                                                                                        ‌ ommittee‌”).‌‌

Urban‌‌Forest‌‌Ordinance,‌‌§‌‌165.05.‌‌ ‌




                                                             22‌ ‌
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         78.       The‌ ‌Committee‌ ‌was‌ ‌directed‌ ‌to‌ ‌create‌ ‌Rules‌ ‌and‌ ‌Regulations‌ ‌by‌‌§165.05(m)‌‌of‌‌

the‌‌Urban‌‌Forest‌‌Ordinance.‌‌ ‌

         79.       The‌‌Committee‌‌then‌‌adopted‌‌“Rules‌‌and‌‌Regulations”‌‌in‌‌2011‌‌pursuant‌‌to‌‌ ‌

§‌ ‌165.05‌ ‌of‌ ‌the‌ ‌Urban‌ ‌Forest‌ ‌Ordinance,‌ ‌without‌ ‌any‌ ‌notice‌ ‌or‌ ‌opportunity‌ ‌to‌ ‌be‌ ‌heard,‌ ‌or‌‌

anything‌‌that‌‌remotely‌‌resembles‌‌due‌‌process,‌‌as‌‌required‌‌to‌‌establish‌‌new‌‌municipal‌‌ordinances‌‌

with‌‌force‌‌of‌‌law‌‌(the‌‌“2‌ 011‌‌Rules‌”).‌‌ ‌

         80.       A‌ ‌document‌ ‌attached‌ ‌to‌ ‌the‌ ‌2011‌ ‌Rules‌ ‌was‌ ‌entitled‌ ‌“Tree‌ ‌Protection‌ ‌Best‌‌

Practices‌‌and‌‌Protocol”‌‌(the‌‌“T
                                  ‌ PP‌”).‌‌Among‌‌other‌‌things,‌‌the‌‌TPP‌‌specifies:‌‌ ‌

               a. No‌‌work‌‌can‌‌be‌‌conducted‌‌within‌‌twenty-five‌‌(25)‌‌feet‌‌of‌‌“street‌‌tree”‌‌planted‌‌in‌‌

                   a‌‌public‌‌right-of-way‌‌without‌‌prior‌‌approval‌‌form‌‌the‌‌City;‌ ‌

               b. No‌‌“boring,‌‌tunneling‌‌or‌‌jacking”‌‌may‌‌be‌‌initiated‌‌less‌‌than‌‌twenty‌‌(20)‌‌feet‌‌from‌‌

                   a‌‌tree‌‌twenty‌‌(20)‌‌inch‌‌in‌‌diameter;‌ ‌

               c. No‌‌“trenching”‌‌is‌‌allowed‌‌within‌‌twenty‌‌(20)‌‌feet‌‌from‌‌a‌‌tree‌‌twenty‌‌(20)‌‌inch‌‌in‌‌

                   diameter;‌‌ ‌

               d. All‌‌excavation‌‌for‌‌“utility”‌‌construction‌‌is‌‌prohibited‌‌within‌‌the‌‌tree’s‌‌“critical‌‌

                   root‌‌zone,”‌‌as‌‌defined‌‌by‌‌the‌‌City;‌‌ ‌

               e. Roots‌‌over‌‌one‌‌inch‌‌in‌‌diameter‌‌shall‌‌not‌‌be‌‌cut‌‌without‌‌written‌‌permission‌‌of‌‌the‌‌

                   City‌‌arborist;‌‌ ‌

               f. A‌‌permit‌‌is‌‌required‌‌prior‌‌to‌‌commencing‌‌any‌‌excavation‌‌work,‌‌to‌‌confirm‌‌that‌‌

                   the‌‌planned‌‌location‌‌of‌‌the‌‌construction‌‌will‌‌not‌‌impact‌‌any‌‌of‌‌the‌‌surrounding‌‌

                   trees;‌‌and‌‌

               g. All‌‌excavation‌‌permit‌‌applications‌‌must‌‌contain‌‌a‌‌ten-point‌‌“tree‌‌protection‌‌plan,”‌‌




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                  based‌‌on‌‌the‌‌specific‌‌layout‌‌of‌‌trees‌‌within‌‌the‌‌proposed‌‌construction‌‌zone.‌ ‌

         81.      Although‌ ‌presented‌ ‌as‌‌a‌‌“best‌‌practices”‌‌document‌‌(rather‌‌than‌‌as‌‌law),‌‌the‌‌City‌‌

of‌‌Erie‌‌now‌‌holds‌‌the‌‌TPP‌‌out‌‌as‌‌binding‌‌municipal‌‌law,‌‌despite‌‌the‌‌fact‌‌that‌‌it‌‌was‌‌never‌‌voted‌‌

on‌ ‌or‌ ‌otherwise‌‌adopted‌‌by‌‌the‌‌City‌‌Council‌‌pursuant‌‌to‌‌procedures‌‌described‌‌by‌‌Pennsylvania‌‌

municipal‌‌law,‌‌including‌‌those‌‌prescribed‌‌in‌‌the‌‌Third-Class‌‌City‌‌Code.‌ ‌ ‌

         82.      In‌‌this‌‌regard,‌‌for‌‌the‌‌first‌‌time‌‌in‌‌2020‌‌–‌‌‌some‌‌nine‌‌(9)‌‌years‌‌after‌‌its‌‌publication‌‌

–‌ ‌and‌ ‌with‌ ‌no‌ ‌authority‌ ‌to‌ ‌do‌ ‌so‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance‌ ‌or‌ ‌other‌ ‌sources‌ ‌of‌‌

municipal‌ ‌law,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌began‌ ‌requiring‌ ‌National‌ ‌Fuel‌ ‌to‌ ‌comply‌ ‌with‌ ‌the‌ ‌TPP‌ ‌by‌‌

imposing‌ ‌strict‌ ‌compliance‌ ‌with‌ ‌same‌ ‌as‌ ‌a‌ ‌condition/requirement‌ ‌of‌ ‌receiving‌ ‌a‌ ‌Permit‌ ‌for‌‌

excavation‌‌work‌‌done‌‌in‌‌the‌‌Public‌‌ROWs.‌‌ ‌

         83.      Neither‌ ‌the‌ ‌TPP‌ ‌nor‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance‌ ‌specify‌ ‌any‌ ‌sort‌ ‌of‌‌

procedure‌‌for‌‌petitioning‌‌for‌‌exemption‌‌from‌‌strict‌‌compliance.‌‌ ‌

         84.      Similarly,‌‌neither‌‌the‌‌TPP‌‌nor‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌authorize‌‌any‌‌City‌

official‌‌or‌‌office‌‌to‌‌exempt‌‌any‌‌person‌‌or‌‌entity‌‌from‌‌compliance‌‌with‌‌the‌‌TPP‌‌in‌‌this‌‌regard.‌‌ ‌

         85.      Put‌ ‌another‌ ‌way,‌ ‌there‌ ‌is‌ ‌no‌ ‌notice,‌ ‌opportunity‌ ‌to‌ ‌be‌ ‌heard,‌ ‌or‌ ‌other‌ ‌forum‌ ‌by‌‌

which‌‌National‌‌Fuel‌‌can‌‌challenge‌‌any‌‌grievances‌‌it‌‌may‌‌have‌‌with‌‌the‌‌TPP‌‌and‌‌its‌‌application‌‌

to‌‌Permits‌‌issued‌‌under‌‌the‌‌Street‌‌Excavation.‌ ‌

                            2.‌      Unlawful‌‌Nature‌‌of‌‌the‌‌TPP‌.‌‌ ‌

         86.      The‌‌TPP‌‌is‌‌unlawful‌‌for‌‌several‌‌reasons.‌‌ ‌

         87.      First,‌‌it‌‌is‌‌facially‌‌defective‌‌in‌‌that‌‌it‌‌is:‌‌(a)‌ ‌being‌‌held‌‌out‌‌as‌‌binding‌‌law,‌‌without‌‌

its‌‌due‌‌adoption‌‌per‌‌the‌‌procedures‌‌specified‌‌in‌‌the‌‌Third-Class‌‌City‌‌Code‌‌and‌‌in‌‌a‌‌manner‌‌that‌‌

comports‌‌with‌‌even‌‌the‌‌most‌‌basic‌‌level‌‌of‌‌Constitutionally-required‌‌due‌‌process;‌‌and‌‌(b)‌‌being‌‌




                                                            24‌ ‌
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applied‌ ‌in‌ ‌a‌ ‌manner‌ ‌not‌ ‌lawfully‌ ‌authorized‌ ‌by‌ ‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌or‌‌other‌‌valid‌‌

municipal‌ ‌enactment‌ ‌(insofar‌ ‌as‌ ‌it‌ ‌is‌ ‌superimposed‌ ‌as‌ ‌a‌ ‌condition‌ ‌for‌ ‌the‌‌issuance‌‌of‌‌a‌‌Permit‌‌

under‌‌the‌‌Street‌‌Excavation‌‌Ordinance).‌ ‌

         88.      Second,‌ ‌as‌ ‌applied‌ ‌to‌ ‌Public‌ ‌Utilities‌ ‌like‌ ‌National‌‌Fuel,‌‌the‌‌TPP‌‌is‌‌unlawful‌‌as‌‌

applied‌ ‌insofar‌‌as‌‌it‌‌has‌‌the‌‌effect‌‌of‌‌dictating‌‌the‌‌placement‌‌or‌‌location‌‌of‌‌utility‌‌facilities‌‌–‌‌in‌‌

violation‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code,‌ ‌which‌ ‌preempts‌‌any‌‌form‌‌of‌‌municipal‌‌regulation‌‌which‌‌impacts‌‌

the‌‌placement‌‌of‌‌utility‌‌facilities.‌‌ ‌

         89.      Additionally,‌ ‌as‌ ‌enforced‌ ‌by‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie,‌ ‌the‌ ‌TPP‌ ‌directly‌ ‌conflicts‌ ‌with‌‌

certain‌ ‌PUC‌ ‌Regulations,‌ ‌such‌ ‌as‌ ‌the‌ ‌explicit‌ ‌requirement‌ ‌in‌ ‌Section‌ ‌59.18‌ ‌of‌ ‌the‌ ‌PUC‌‌

Regulations‌‌which‌‌provides‌‌that‌‌“s‌ ervice‌‌line‌‌must‌‌be‌‌installed‌‌in‌‌a‌‌straight‌‌line‌‌perpendicular‌‌to‌‌

the‌‌[gas]‌‌main.”‌‌52‌‌Pa.‌‌Code‌§‌ ‌‌59.18(f)(3).‌‌ ‌

         90.      Pursuant‌ ‌to‌ ‌and‌ ‌in‌ ‌furtherance‌ ‌of‌ ‌the‌ ‌TPP,‌ ‌the‌ ‌City‌ ‌has‌ ‌repeatedly‌ ‌tried‌ ‌to‌‌

conscript‌‌National‌‌Fuel‌‌to‌‌ignore‌‌Section‌‌59.18‌‌of‌‌the‌‌PUC‌‌Regulations‌‌when‌‌installing‌‌new‌‌or‌‌

replacement‌ ‌service‌ ‌lines‌ ‌to‌ ‌customers‌ ‌by‌ ‌asking‌ ‌National‌ ‌Fuel‌ ‌to‌ ‌run‌ ‌service‌ ‌lines‌ ‌at‌ ‌an‌‌

“off-angle”‌ ‌from‌ ‌the‌ ‌gas‌ ‌main‌ ‌to‌‌the‌‌building‌‌being‌‌served‌‌(in‌‌an‌‌effort‌‌to‌‌avoid‌‌National‌‌Fuel‌‌

running‌ ‌a‌ ‌perpendicular‌ ‌service‌‌line‌‌(as‌‌the‌‌PUC‌‌Regulations‌‌require)‌‌which‌‌may‌‌be‌‌located‌‌in‌‌

the‌ ‌area‌ ‌the‌ ‌City‌‌has‌‌deemed‌‌“critical”‌‌for‌‌the‌‌protection‌‌of‌‌trees‌‌comply‌‌with‌‌the‌‌City’s‌‌TPP).‌‌

National‌ ‌Fuel,‌ ‌citing‌ ‌its‌ ‌obligations‌ ‌to‌ ‌comply‌ ‌with‌ ‌the‌ ‌PUC‌ ‌Regulations,‌ ‌has‌ ‌refused‌ ‌to‌ ‌run‌‌

“off-angle”‌‌service‌‌lines.‌‌ ‌

         91.      Third,‌ ‌the‌ ‌TPP’s‌ ‌stated‌ ‌goal‌ ‌to‌ ‌“promote‌ ‌the‌ ‌Urban‌ ‌Forest”‌ ‌and‌ ‌the‌ ‌means‌ ‌by‌‌

which‌ ‌it‌ ‌purports‌ ‌to‌ ‌do‌ ‌so‌‌are‌‌arbitrary‌‌and‌‌unreasonable,‌‌adopted‌‌without‌‌consideration‌‌of‌‌the‌‌

trees,‌‌environment,‌‌or‌‌ecosystem‌‌of‌‌the‌‌City‌‌of‌‌Erie.‌ ‌ ‌




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                                  3.‌        Harm‌‌Caused‌‌to‌‌National‌‌Fuel‌‌by‌‌the‌‌TPP‌.‌ ‌

           92.        The‌ ‌TPP‌ ‌gives‌ ‌the‌ ‌City‌ ‌control‌ ‌over‌ ‌where‌ ‌National‌ ‌Fuel‌ ‌places‌ ‌its‌ ‌Facilities‌‌

because‌‌it‌‌significantly‌‌restricts‌‌any‌‌excavation‌‌work‌‌in‌‌a‌‌broad‌‌area‌‌around‌‌trees‌‌planted‌‌in‌‌the‌‌

Public‌‌ROWs.‌ ‌

           93.        In‌‌effect,‌‌compliance‌‌with‌‌the‌‌TPP‌‌has‌‌the‌‌effect‌‌of‌‌making‌‌work‌‌in‌‌Public‌‌ROWs‌‌

practically‌‌impossible‌‌in‌‌certain‌‌neighborhoods.‌ ‌

           94.        By‌ ‌demanding‌ ‌that‌ ‌National‌ ‌Fuel‌ ‌comply‌ ‌with‌ ‌the‌ ‌TPP,‌ ‌the‌ ‌City‌ ‌has‌ ‌forced‌‌

National‌ ‌Fuel‌ ‌to‌ ‌place‌ ‌its‌ ‌Facilities‌ ‌in‌ ‌locations‌ ‌or‌ ‌in‌ ‌configurations‌ ‌other‌ ‌than‌ ‌the‌ ‌optimal‌‌

conditions‌‌it‌‌would‌‌have‌‌chosen‌‌relying‌‌solely‌‌on‌‌its‌‌technical‌‌expertise.‌ ‌

           95.        Consequently,‌ ‌the‌ ‌TPP‌ ‌causes‌ ‌actual‌ ‌harm‌ ‌to‌ ‌National‌ ‌by‌ ‌forcing‌ ‌it‌ ‌to‌ ‌expend‌‌

time‌‌and‌‌resources‌‌to‌‌modify‌‌plans‌‌for‌‌utility‌‌upgrades‌‌and‌‌repair‌‌to‌‌relocate‌‌them‌‌away‌‌from‌‌the‌‌

Utility‌‌Strip.‌‌ ‌

           96.        In‌‌this‌‌regard,‌‌the‌‌TPP‌‌has‌‌forced‌‌National‌‌Fuel‌‌to‌‌expend‌‌time‌‌and‌‌resources‌‌to‌‌

obtain‌‌easements‌‌from‌‌private‌‌landowners‌‌for‌‌such‌‌work‌‌rather‌‌than‌‌performing‌‌such‌‌work‌‌in‌‌the‌‌

area‌ ‌National‌ ‌Fuel‌ ‌deems‌ ‌optimal‌ ‌from‌ ‌a‌ ‌safety,‌ ‌efficiency,‌ ‌and‌ ‌reliability‌ ‌perspective‌ ‌and‌ ‌in‌‌
                                                                              9
violation‌ ‌of‌ ‌its‌ ‌right‌ ‌to‌ ‌occupy‌ ‌the‌ ‌Public‌ ‌ROWs.‌                 ‌Private‌‌ROW‌‌for‌‌projects‌‌which‌‌National‌‌

Fuel‌‌lawfully‌‌should‌‌have‌‌been‌‌able‌‌to‌‌perform‌‌in‌‌the‌‌Utility‌‌Strip;‌‌and‌‌(3)‌‌National‌‌Fuel‌‌had‌‌to‌‌

relocate‌ ‌work‌ ‌to‌ ‌the‌ ‌Cartway,‌ ‌therefore‌ ‌causing‌ ‌it‌ ‌to‌‌incur‌‌higher‌‌“degradation”‌‌fees‌‌under‌‌the‌‌

Street‌‌Excavation‌‌Ordinance.‌‌ ‌




9
 ‌Illustrating‌‌how‌‌the‌‌TPP‌‌impacts‌‌National‌‌Fuel’s‌‌operations,‌‌in‌‌June,‌‌2021,‌‌National‌‌Fuel‌‌was‌‌required‌‌to‌‌obtain‌‌easements‌‌for‌‌
work‌‌in‌‌Private‌‌ROWs‌‌to‌‌construct‌‌replacement‌‌Facilities‌‌in‌‌the‌‌Frontier-neighborhood‌‌of‌‌the‌‌City‌‌of‌‌Erie‌‌instead‌‌of‌‌using‌‌Public‌‌
ROWs,‌‌because‌‌the‌‌City‌‌refused‌‌to‌‌issue‌‌National‌‌Fuel‌‌a‌‌Permit‌‌due‌‌to‌‌concerns‌‌with‌‌the‌‌Project’s‌‌compliance‌‌with‌‌the‌‌TPP.‌‌In‌‌
other‌ ‌scenarios,‌ ‌National‌ ‌Fuel‌ ‌has‌‌proactively‌‌modified‌‌its‌‌utility‌‌upgrade/repair‌‌projects‌‌to‌‌avoid‌‌undue‌‌delays‌‌in‌‌completing‌‌
such‌‌work.‌‌ ‌


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         97.        This,‌ ‌in‌ ‌turn,‌ ‌directly:‌ ‌(a)‌ ‌impacts‌ ‌National‌ ‌Fuel’s‌ ‌operations,‌ ‌(b)‌ ‌frustrates‌‌

National‌ ‌Fuel’s‌ ‌ability‌ ‌to‌ ‌optimally‌ ‌provide‌ ‌safe,‌ ‌efficient,‌ ‌and‌ ‌reliable‌ ‌natural‌ ‌gas‌ ‌service‌‌

pursuant‌‌to‌‌the‌‌Utility‌‌Code;‌‌and‌‌(c)‌‌stands‌‌to‌‌unfairly‌‌increase‌‌the‌‌cost‌‌of‌‌providing‌‌natural‌‌gas‌‌

to‌‌ratepayers‌‌located‌‌both‌‌within‌‌and‌‌outside‌‌of‌‌the‌‌City‌‌of‌‌Erie.‌‌‌See‌‌‌PPL‌‌Elec.‌,‌‌214‌‌A.3d‌‌at‌‌659‌‌

(“subscribers‌ ‌in‌ ‌more‌ ‌frugal‌ ‌or‌ ‌less‌ ‌complex‌ ‌jurisdictions‌ ‌will‌ ‌bear‌ ‌not‌ ‌only‌ ‌the‌ ‌expense‌‌

associated‌ ‌with‌ ‌their‌ ‌own‌ ‌service‌ ‌area,‌ ‌but‌ ‌also‌ ‌will‌ ‌subsidize‌ ‌the‌ ‌expenses‌ ‌of‌ ‌other‌‌

municipalities‌‌in‌‌which‌‌the‌‌maintenance‌‌costs‌‌are‌‌greater.”)‌‌ ‌

         F.‌‌       A‌ ‌Chronology‌ ‌of‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie’s‌ ‌Efforts‌ ‌to‌ ‌Control‌ ‌the‌ ‌Location‌ ‌of‌‌
                    National‌ ‌Fuel’s‌‌Facilities‌‌and‌‌its‌‌Efforts‌‌to‌‌Strategically‌‌Receive‌‌the‌‌Highest‌‌
                    Per-Project‌‌Revenues‌‌for‌‌the‌‌City’s‌‌General‌‌Fund‌.‌‌ ‌
                          ‌
         98.        The‌‌following‌‌timeline‌‌of‌‌events‌‌demonstrates‌‌how‌‌the‌‌City‌‌of‌‌Erie‌‌has‌‌used‌‌the‌‌

Street‌ ‌Excavation‌ ‌Ordinance‌ ‌permitting‌ ‌process,‌ ‌together‌ ‌with‌ ‌the‌ ‌TPP,‌ ‌to‌ ‌maximize‌‌

“degradation”‌‌fees:‌ ‌

                a. On‌‌or‌‌about‌‌January‌‌15,‌‌2020,‌‌National‌‌Fuel‌‌representatives‌‌met‌‌with‌‌City‌‌of‌‌Erie‌‌

                    representatives‌ ‌to‌ ‌discuss‌ ‌ongoing‌ ‌issues‌ ‌over‌ ‌the‌ ‌placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌‌

                    Facilities‌‌(including‌‌issues‌‌arising‌‌under‌‌the‌‌TPP).‌‌ ‌

                b. During‌ ‌that‌ ‌meeting,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌indicated‌ ‌that‌ ‌it‌ ‌was‌ ‌concerned‌ ‌that‌ ‌the‌‌

                    placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities‌ ‌could‌ ‌impact‌ ‌trees,‌ ‌and‌ ‌advised‌ ‌that‌ ‌the‌‌

                    City‌ ‌of‌ ‌Erie‌ ‌felt‌ ‌it‌ ‌had‌ ‌the‌ ‌authority‌‌to‌‌require‌‌prior‌‌approval‌‌of‌‌National‌‌Fuel’s‌‌

                    Facility‌‌placement‌‌within‌‌the‌‌City‌‌limits.‌ ‌ ‌

                c. On‌‌or‌‌about‌‌February‌‌24,‌‌2020,‌‌National‌‌Fuel‌‌met‌‌with‌‌then-City‌‌of‌‌Erie‌‌Director‌‌

                    of‌‌Public‌‌Works‌‌David‌‌Mulvihill‌‌and‌‌offered‌‌to‌‌confer‌‌with‌‌the‌‌City‌‌regarding‌‌the‌‌

                    placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities,‌‌but‌‌reiterated‌‌that‌‌the‌‌City‌‌of‌‌Erie‌‌could‌‌




                                                             27‌ ‌
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         not‌ ‌take‌ ‌actions‌ ‌which‌ ‌had‌ ‌the‌‌effect‌‌of‌‌dictating‌‌where‌‌National‌‌Fuel‌‌places‌‌its‌‌

         facilities‌‌as‌‌a‌‌result‌‌of‌‌the‌‌preemptive‌‌effect‌‌of‌‌the‌‌Utility‌‌Code‌‌on‌‌same.‌ ‌ ‌

     d. In‌ ‌response,‌ ‌the‌ ‌City‌ ‌rejected‌ ‌National‌ ‌Fuel’s‌ ‌explanation‌ ‌of‌ ‌existing‌‌

         Pennsylvania‌ ‌law‌ ‌by‌ ‌contending‌ ‌that‌ ‌because‌ ‌National‌ ‌Fuel‌ ‌was‌ ‌required‌ ‌to‌‌

         obtain‌ ‌Permits‌ ‌in‌‌connection‌‌with‌‌excavation‌‌work‌‌in‌‌Public‌‌ROWs,‌‌the‌‌City,‌‌in‌‌

         fact,‌‌had‌‌final‌‌authority‌‌to‌‌determine‌‌where‌‌National‌‌Fuel’s‌‌Facilities‌‌were‌‌placed.‌‌ ‌

     e. On‌‌April‌‌29,‌‌2020,‌‌then-Director‌‌Mulvihill‌‌emailed‌‌National‌‌Fuel‌‌representatives,‌‌

         advising‌‌that‌‌the‌‌City‌‌would‌‌“like‌‌to‌‌revisit”‌‌the‌‌issue‌‌of‌‌how‌‌“working‌‌off-street‌‌

         can‌‌potentially‌‌have‌‌a‌‌negative‌‌effects‌‌[sic]‌‌on‌‌street‌‌trees.”‌‌ ‌

     f. In‌‌this‌‌regard,‌‌then-Director‌‌Mulvihill‌‌sent‌‌links‌‌to‌‌the‌‌2011‌‌Rules‌‌(per‌‌the‌‌Urban‌‌

         Forest‌ ‌Ordinance)‌ ‌and‌ ‌TPP,‌ ‌advising‌ ‌–‌ ‌for‌ ‌the‌ ‌first‌ ‌time‌ ‌–‌ ‌that‌ ‌the‌ ‌2011‌ ‌Rules‌‌

         “have‌ ‌not‌ ‌been‌ ‌followed”‌‌by‌‌National‌‌Fuel‌‌and‌‌were‌‌conditions‌‌for‌‌the‌‌issuance‌‌

         of‌‌Permits.‌ ‌

     g. After‌‌reviewing‌‌the‌‌matter,‌‌National‌‌Fuel‌‌politely‌‌responded‌‌by‌‌pointing‌‌out‌‌that,‌‌ ‌

                     the‌ ‌majority‌ ‌of‌ ‌the‌ ‌ordinances‌ ‌or‌ ‌best‌ ‌practices‌ ‌are‌ ‌[not]‌‌
                     applicable‌ ‌as‌ ‌they‌ ‌relate‌ ‌to‌ ‌National‌ ‌Fuel.‌ ‌The‌ ‌provided‌‌
                     requirements‌ ‌infringe‌ ‌upon‌ ‌the‌ ‌Pennsylvania‌ ‌Public‌ ‌Utility‌‌
                     Commission’s‌ ‌exclusive‌ ‌authority‌ ‌over‌ ‌the‌ ‌complex‌ ‌and‌‌
                     technical‌ ‌service‌ ‌and‌ ‌engineering‌ ‌questions‌ ‌arising‌ ‌in‌ ‌the‌‌
                     location,‌ ‌construction‌ ‌and‌ ‌maintenance‌ ‌of‌ ‌all‌ ‌public‌ ‌utilities‌‌
                     facilities.‌ ‌As‌ ‌previously‌ ‌discussed,‌ ‌National‌ ‌Fuel,‌ ‌as‌ ‌a‌ ‌Public‌‌
                     Utility,‌ ‌is‌ ‌authorized‌ ‌to‌ ‌conduct‌ ‌its‌ ‌work‌ ‌in‌ ‌public‌‌right‌‌of‌‌way‌‌
                     without‌‌unreasonable‌‌interference‌‌from‌‌the‌‌City.‌‌ ‌
‌
     h. National‌ ‌Fuel‌ ‌then‌ ‌explained‌ ‌that‌ ‌despite‌ ‌its‌ ‌exemption‌ ‌from‌ ‌the‌ ‌City’s‌‌

         ordinances,‌‌it‌‌had‌‌“procedures‌‌in‌‌place‌‌to‌‌ensure‌‌that‌‌all‌‌trees‌‌and‌‌vegetation‌‌are‌‌




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     protected,”‌ ‌and‌ ‌that‌ ‌National‌ ‌Fuel‌ ‌would‌ ‌follow‌ ‌the‌ ‌City’s‌ ‌“guidelines‌ ‌where‌‌

     applicable.”‌‌ ‌

 i. Calling‌ ‌National‌ ‌Fuel’s‌ ‌position‌ ‌“unfortunate,”‌ ‌on‌ ‌May‌ ‌11,‌ ‌2020,‌ ‌Director‌‌

     Mulvihill‌‌announced‌‌that‌‌starting‌‌immediately,‌‌the‌‌City‌‌was‌‌changing‌‌its‌‌position‌‌

     and‌‌would‌‌require‌‌National‌‌Fuel‌‌to‌‌obtain‌‌prior‌‌Permits‌‌(per‌‌the‌‌Street‌‌Excavation‌‌

     Ordinance)‌‌for‌‌all‌‌excavation‌‌work‌‌within‌‌the‌‌City:‌‌ ‌

               For‌‌many‌‌years‌‌the‌‌City‌‌has‌‌allowed‌‌National‌‌Fuel‌‌to‌‌work‌‌within‌‌
               the‌ ‌rights-of-way‌ ‌without‌ ‌first‌ ‌obtaining‌ ‌a‌ ‌permit.‌ ‌The‌ ‌permit‌‌
               would‌‌be‌‌obtained‌‌after‌‌the‌‌fact‌‌-‌‌an‌‌“honor‌‌system,”‌‌so‌‌to‌‌speak.‌‌
               The‌ ‌fact‌ ‌that‌ ‌National‌ ‌Fuel‌ ‌does‌ ‌not‌ ‌believe‌‌that‌‌the‌‌majority‌‌of‌‌
               the‌ ‌ordinances‌ ‌or‌ ‌best‌ ‌practices‌ ‌are‌ ‌applicable‌ ‌to‌ ‌National‌ ‌Fuel,‌‌
               leaves‌ ‌the‌ ‌City‌ ‌with‌ ‌no‌ ‌choice‌ ‌but‌ ‌to‌ ‌discontinue‌ ‌the‌ ‌long‌‌
               standing‌ ‌practice‌ ‌of‌ ‌allowing‌ ‌National‌ ‌Fuel‌ ‌to‌‌operator‌‌excavate‌‌
               [‌sic‌]‌ ‌within‌ ‌the‌ ‌rights-of-ways‌ ‌without‌ ‌a‌ ‌permit…‌ ‌No‌‌work‌‌will‌‌
               be‌ ‌allowed‌ ‌to‌ ‌be‌ ‌performed‌ ‌within‌ ‌the‌ ‌rights-of-way‌ ‌without‌ ‌a‌‌
               permit.‌ ‌
     ‌
 j. Attempting‌ ‌to‌ ‌cooperate‌ ‌with‌ ‌the‌ ‌City‌ ‌as‌ ‌much‌ ‌as‌ ‌possible,‌ ‌National‌ ‌Fuel‌‌

     immediately‌‌began‌‌requesting‌‌permits‌‌for‌‌the‌‌excavation‌‌work‌‌which‌‌it‌‌needed‌‌to‌‌

     complete‌‌within‌‌the‌‌City‌‌limits.‌‌ ‌

 k. However,‌ ‌instead‌ ‌of‌ ‌resolving‌‌the‌‌matter,‌‌the‌‌City‌‌of‌‌Erie‌‌began‌‌demanding‌‌that‌‌

     National‌ ‌Fuel‌ ‌redesign‌ ‌its‌ ‌engineering‌ ‌and‌ ‌construction‌ ‌plans‌ ‌to‌ ‌relocate‌ ‌work‌‌

     away‌ ‌from‌ ‌trees,‌ ‌and‌ ‌into‌ ‌the‌ ‌Cartway,‌ ‌and‌ ‌then‌ ‌resubmit‌ ‌revised‌ ‌permit‌‌

     applications‌‌for‌‌review.‌‌ ‌

 l. The‌‌City‌‌of‌‌Erie’s‌‌refusal‌‌to‌‌grant‌‌the‌‌excavation‌‌permits‌‌quickly‌‌forced‌‌National‌‌

     Fuel’s‌‌counsel‌‌to‌‌petition‌‌the‌‌City‌‌Solicitor’s‌‌office‌‌to‌‌intervene,‌‌and‌‌request‌‌that‌‌

     the‌‌permits‌‌be‌‌issued‌‌in‌‌compliance‌‌with‌‌settled‌‌Pennsylvania‌‌law.‌‌ ‌




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               m. Finally,‌ ‌on‌ ‌July‌ ‌14,‌ ‌2020,‌ ‌Assistant‌ ‌City‌ ‌Solicitor‌ ‌Catherine‌ ‌Doyle‌ ‌agreed‌ ‌to‌‌

                   approve‌‌a‌‌single‌‌project‌‌Permit,‌‌on‌‌the‌‌condition‌‌that‌‌National‌‌Fuel‌‌meet‌‌with‌‌the‌‌

                   City‌‌to‌‌discuss‌‌“National‌‌Fuel’s‌‌comprehensive‌‌plan‌‌of‌‌its‌‌next‌‌projects‌‌within‌‌the‌‌

                   City‌‌of‌‌Erie.”‌‌In‌‌closing,‌‌Assistant‌‌Solicitor‌‌Doyle‌‌reiterated‌‌that‌‌“the‌‌City‌‌is‌‌not‌‌

                   waiving‌‌any‌‌objection‌‌to‌‌future‌‌inadequate‌‌permits.”‌‌ ‌

               n. On‌ ‌July‌ ‌29,‌ ‌2020,‌ ‌National‌ ‌Fuel‌ ‌representatives‌ ‌did‌ ‌meet‌ ‌with‌ ‌the‌‌City‌‌of‌‌Erie,‌‌

                   which‌ ‌once‌ ‌again‌ ‌demanded‌ ‌that‌ ‌National‌ ‌Fuel‌ ‌cede‌ ‌authority‌ ‌to‌ ‌control‌ ‌the‌‌

                   location‌‌and‌‌placement‌‌of‌‌all‌‌National‌‌Fuel‌‌Facilities‌‌within‌‌the‌‌City‌‌of‌‌Erie.‌‌ ‌

               o. A‌ ‌few‌ ‌days‌ ‌later,‌ ‌on‌ ‌August‌ ‌3,‌ ‌2020,‌ ‌Director‌ ‌Mulvihill‌ ‌visited‌ ‌the‌ ‌site‌ ‌of‌ ‌a‌‌

                   National‌‌Fuel‌‌construction‌‌project‌‌and‌‌not‌‌only‌‌demanded‌‌that‌‌the‌‌City‌‌have‌‌final‌‌

                   control‌ ‌over‌ ‌National‌ ‌Fuel‌ ‌project‌ ‌locations,‌ ‌but‌ ‌also‌ ‌that‌ ‌the‌ ‌City‌ ‌would‌ ‌be‌‌

                   requiring‌‌even‌‌more‌‌detailed‌‌permit‌‌applications‌‌from‌‌National‌‌Fuel.‌‌ ‌

         98.       Among‌ ‌other‌ ‌things,‌ ‌the‌ ‌foregoing‌ ‌illustrates‌ ‌that‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌placed‌‌

significant,‌ ‌undue,‌ ‌and‌ ‌increasingly‌ ‌escalating‌ ‌pressure‌ ‌on‌ ‌National‌ ‌Fuel,‌ ‌by‌‌

withholding/threatening‌‌to‌‌withhold‌‌Permits‌‌for‌‌National‌‌Fuel’s‌‌utility‌‌upgrades‌‌and‌‌repair‌‌work‌‌

located‌‌in‌‌Public‌‌ROWs.‌ ‌ ‌

         99.       As‌‌noted‌‌above,‌‌this‌‌undue‌‌pressure‌‌from‌‌the‌‌City‌‌has‌‌come‌‌notwithstanding‌‌the‌‌

fact‌ ‌that‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌‌has‌‌absolutely‌‌no‌‌legal‌‌authority‌‌to‌‌oversee‌‌or‌‌regulate‌‌the‌‌manner‌‌in‌‌

which‌‌National‌‌Fuel‌‌designs,‌‌places,‌‌or‌‌installs‌‌its‌‌Facilities‌‌in‌‌Public‌‌ROWs.‌ ‌

         100.      National‌ ‌Fuel’s‌ ‌efforts‌ ‌to‌ ‌amicably‌ ‌resolve‌ ‌these‌ ‌matters,‌ ‌through‌ ‌dialogue,‌‌

discussion,‌‌and‌‌concrete‌‌actions‌‌(including‌‌National‌‌Fuel‌‌preparing‌‌and‌‌proposing‌‌to‌‌voluntarily‌‌




                                                            30‌ ‌
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comply‌‌with‌‌its‌‌own‌‌Tree‌‌Protection‌‌Plan‌‌–‌‌which‌‌was‌‌prepared‌‌in‌‌collaboration‌‌with‌‌a‌‌certified‌‌

arborist‌‌and‌‌tailored‌‌to‌‌the‌‌trees‌‌located‌‌in‌‌the‌‌City‌‌of‌‌Erie)‌‌have‌‌been‌‌totally‌‌rejected.‌ ‌

         101.      The‌ ‌foregoing‌ ‌begs‌ ‌the‌ ‌question‌ ‌“why?”‌ ‌Upon‌ ‌information‌ ‌and‌ ‌belief,‌ ‌the‌‌

imposition‌ ‌of‌ ‌the‌ ‌TPP‌ ‌as‌ ‌a‌ ‌condition‌ ‌for‌ ‌the‌ ‌issuance‌ ‌of‌ ‌a‌ ‌Permit‌ ‌under‌‌the‌‌Street‌‌Excavation‌‌

Ordinance‌ ‌(in‌ ‌2020‌ ‌–‌ ‌some‌ ‌nine‌ ‌years‌ ‌after‌ ‌the‌ ‌TPP‌ ‌was‌ ‌first‌ ‌published‌ ‌as‌ ‌part‌ ‌of‌ ‌the‌ ‌2011‌‌

Rules)‌‌and‌‌the‌‌City’s‌‌refusal‌‌to‌‌amicably‌‌resolve‌‌the‌‌legal‌‌challenges‌‌to‌‌same‌‌posed‌‌by‌‌the‌‌City‌‌

of‌‌Erie‌‌was‌‌done‌‌with‌‌the‌‌intent‌‌to‌‌force‌‌excavation‌‌work‌‌from‌‌entities‌‌like‌‌National‌‌Fuel‌‌to‌‌the‌‌

Cartway,‌ ‌where‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌‌can‌‌then‌‌assess‌‌the‌‌maximum‌‌Degradation‌‌Fees‌‌of‌‌$50/square‌‌

yard‌‌(versus‌‌$28/square‌‌yard‌‌in‌‌the‌‌Utility‌‌Strip).‌‌ ‌

         102.      Particularly‌ ‌illustrative‌ ‌of‌ ‌the‌ ‌foregoing‌ ‌is‌ ‌the‌ ‌fact‌ ‌that‌ ‌while‌ ‌National‌ ‌Fuel‌‌has‌‌

attempted‌‌to‌‌redesign‌‌its‌‌plans‌‌for‌‌scheduled‌‌utility‌‌upgrades‌‌and‌‌repair‌‌work‌‌by‌‌performing‌‌such‌‌

work‌ ‌in‌ ‌Private‌ ‌ROWs‌ ‌(which‌ ‌are‌ ‌beyond‌ ‌the‌ ‌scope‌ ‌of‌ ‌the‌ ‌TPP),‌ ‌the‌ ‌City‌ ‌nevertheless‌ ‌has‌‌

expressed‌‌a‌‌strong‌‌preference‌‌that‌‌such‌‌work‌‌be‌‌done‌‌in‌‌the‌‌Cartway.‌ ‌ ‌

                                     COUNT‌‌I‌‌-‌‌INJUNCTIVE‌‌RELIEF‌‌ ‌

         103.      The‌‌averments‌‌in‌‌the‌‌foregoing‌‌paragraphs‌‌are‌‌incorporated‌‌by‌‌reference,‌‌as‌‌if‌‌set‌‌

forth‌‌in‌‌full‌‌below.‌‌ ‌

         104.      In‌ ‌evaluating‌ ‌a‌ ‌motion‌ ‌for‌ ‌preliminary‌ ‌injunctive‌ ‌relief,‌ ‌a‌ ‌court‌ ‌must‌ ‌consider‌‌

whether:‌ ‌“(1)‌‌the‌‌plaintiff‌‌is‌‌likely‌‌to‌‌succeed‌‌on‌‌the‌‌merits;‌‌(2)‌‌denial‌‌will‌‌result‌‌in‌‌irreparable‌‌

harm‌ ‌to‌ ‌the‌ ‌plaintiff;‌ ‌(3)‌ ‌granting‌ ‌the‌ ‌injunction‌ ‌will‌ ‌not‌ ‌result‌ ‌in‌ ‌irreparable‌ ‌harm‌ ‌to‌ ‌the‌‌

defendant;‌ ‌and‌ ‌(4)‌ ‌granting‌ ‌the‌ ‌injunction‌ ‌is‌ ‌in‌ ‌the‌‌public‌‌interest.”‌‌‌NutraSweet‌‌Co.‌‌v.‌‌Vit-Mar‌‌

Enterprises,‌ ‌Inc‌.,‌ ‌176‌ ‌F.3d‌ ‌151,‌ ‌153‌ ‌(3d‌‌Cir.‌‌1999)‌‌(quoting‌‌‌Maldonado‌‌v.‌‌Houstoun‌,‌‌157‌‌F.3d‌‌

179,‌‌184‌‌(3d‌‌Cir.‌‌1998))‌.‌‌ ‌




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         105.      The‌ ‌City‌ ‌of‌ ‌Erie’s:‌ ‌(a)‌ ‌Fee‌ ‌Structure‌ ‌imposed‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

Ordinance;‌ ‌and‌ ‌(b)‌ ‌efforts‌ ‌to‌ ‌regulate‌ ‌the‌ ‌placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities,‌ ‌including‌‌

without‌‌limitation‌‌through‌‌the‌‌TPP‌‌and‌‌its‌‌imposition‌‌as‌‌a‌‌condition‌‌for‌‌the‌‌issuance‌‌of‌‌Permits‌‌

under‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌are‌‌illegal‌‌as‌‌applied‌‌to‌‌National‌‌Fuel.‌ ‌

         106.      The‌ ‌City‌ ‌of‌ ‌Erie’s:‌ ‌(a)‌ ‌Fee‌ ‌Structure‌ ‌imposed‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

Ordinance;‌ ‌and‌ ‌(b)‌ ‌efforts‌ ‌to‌ ‌regulate‌ ‌the‌ ‌placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities‌ ‌are‌ ‌illegal‌‌

because‌‌National‌‌Fuel‌‌is‌‌a‌‌Public‌‌Utility‌‌and‌‌the‌‌City‌‌is‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code‌‌from‌‌any‌‌

action‌‌which‌‌has‌‌the‌‌effect‌‌of‌‌regulating‌‌Public‌‌Utilities‌‌or‌‌frustrating‌‌the‌‌purposes‌‌of‌‌the‌‌Utility‌‌

Code.‌‌ ‌

         107.      In‌ ‌addition,‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance’s‌ ‌Fee‌ ‌Structure‌ ‌is‌ ‌unlawful‌ ‌on‌ ‌its‌‌

face‌ ‌because‌ ‌the‌ ‌Fees‌ ‌imposed‌ ‌are‌ ‌arbitrary,‌ ‌excessive,‌ ‌unreasonable,‌ ‌and‌ ‌wholly‌ ‌unrelated‌ ‌to‌‌

any‌‌actual‌‌cost‌‌borne‌‌by‌‌the‌‌City‌‌of‌‌Erie‌‌in‌‌relation‌‌to‌‌its‌‌administration‌‌of‌‌the‌‌Street‌‌Excavation‌‌

Ordinance.‌‌ ‌

         108.      Thus,‌ ‌the‌ ‌first‌ ‌element‌ ‌of‌ ‌the‌ ‌test‌ ‌for‌ ‌injunctive‌ ‌relief‌ ‌is‌ ‌satisfied,‌ ‌because‌‌

National‌‌Fuel’s‌‌right‌‌to‌‌relief‌‌against‌‌the‌‌City‌‌of‌‌Erie‌‌is‌‌clear.‌ ‌

         109.      The‌‌Pennsylvania‌‌Supreme‌‌Court‌‌has‌‌repeatedly‌‌found‌‌that‌‌the‌‌second‌‌element‌‌of‌‌

“immediate‌ ‌and‌ ‌irreparable‌ ‌harm”‌ ‌is‌ ‌met‌ ‌when‌ ‌a‌ ‌plaintiff‌ ‌demonstrates‌ ‌that‌ ‌complained-of‌‌

conduct‌ ‌is‌ ‌in‌ ‌violation‌ ‌of‌ ‌a‌ ‌Pennsylvania‌ ‌statute.‌ ‌See‌ ‌SEIU‌ ‌Healthcare‌ ‌Pa.‌ ‌v.‌‌Commonwealth‌,‌‌

104‌ ‌A.3d‌ ‌495,‌ ‌508‌ ‌(Pa.‌ ‌2014)(“where‌ ‌the‌ ‌offending‌ ‌conduct‌ ‌sought‌‌to‌‌be‌‌restrained‌‌through‌‌a‌‌

preliminary‌ ‌injunction‌ ‌violates‌ ‌a‌ ‌statutory‌ ‌mandate,‌ ‌irreparable‌ ‌injury‌ ‌will‌ ‌have‌ ‌been‌‌

established.”);‌ ‌Commonwealth‌‌v.‌‌Coward‌,‌‌414‌‌A.2d‌‌91,‌‌98-99‌‌(Pa.‌‌1980)‌‌(holding‌‌that‌‌where‌‌a‌‌

statute‌ ‌prescribes‌ ‌certain‌ ‌activity,‌ ‌the‌ ‌court‌ ‌need‌ ‌only‌ ‌make‌ ‌a‌ ‌finding‌ ‌that‌ ‌the‌ ‌illegal‌ ‌activity‌‌




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occurred‌ ‌to‌ ‌conclude‌ ‌that‌ ‌there‌ ‌was‌ ‌irreparable‌ ‌injury‌ ‌for‌ ‌purposes‌ ‌of‌ ‌issuing‌ ‌a‌ ‌preliminary‌‌

injunction).‌‌ ‌

         110.      This‌ ‌general‌ ‌principle‌ ‌of‌ ‌law‌ ‌has‌ ‌been‌ ‌specifically‌ ‌used‌ ‌to‌ ‌enjoin‌ ‌alleged‌

violations‌ ‌of‌‌Pennsylvania’s‌‌public‌‌utility‌‌laws.‌‌‌See‌‌Pa.‌‌Pub.‌‌Util.‌‌Com.‌‌v.‌‌Israel‌,‌‌52‌‌A.2d‌‌317,‌‌

322‌‌(Pa.‌‌1947)(“When‌‌the‌‌provisions‌‌of‌‌the‌‌Public‌‌Utility‌‌Commission‌‌Law‌‌are‌‌being‌‌violated…‌‌

it‌‌is‌‌our‌‌duty‌‌to‌‌issue‌‌a‌‌preliminary‌‌injunction.”)‌ ‌

         111.      The‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌enjoined‌ ‌the‌ ‌illegal‌ ‌regulation‌ ‌of‌ ‌Public‌‌

Utilities‌‌-‌‌even‌‌when‌‌the‌‌sole‌‌claim‌‌of‌‌harm‌‌was‌‌the‌‌unlawful‌‌distribution‌‌of‌‌funds.‌‌‌See‌‌Pa.‌‌Pub.‌‌

Util.‌‌Com‌‌v.‌‌Process‌‌Gas‌‌Consumers‌‌Grp.‌,‌‌467‌‌A.2d‌‌805,‌‌809‌‌(Pa.‌‌1983)‌‌(“Although‌‌the‌‌realities‌‌

of‌ ‌the‌ ‌controversy‌ ‌here‌ ‌go‌ ‌to‌ ‌the‌ ‌disposition‌ ‌of‌ ‌money,‌ ‌we‌ ‌believe‌ ‌that‌ ‌there‌ ‌is‌ ‌a‌ ‌sufficient‌‌

showing‌ ‌of‌ ‌irreparable‌ ‌harm”‌ ‌because‌ ‌there‌ ‌was‌ ‌no‌ ‌simple‌ ‌means‌ ‌of‌ ‌correcting‌ ‌illegal‌ ‌costs‌‌

which‌‌are‌‌ultimately‌‌borne‌‌by‌‌ratepayers).‌ ‌

         112.      The‌ ‌Pennsylvania‌ ‌Supreme‌ ‌Court‌ ‌has‌ ‌also‌ ‌concluded‌ ‌that‌ ‌preventing‌ ‌Public‌‌

Utilities‌ ‌from‌ ‌completing‌ ‌the‌ ‌work‌ ‌which‌ ‌they‌ ‌identify‌ ‌as‌ ‌necessary‌ ‌is‌ ‌irreparably‌ ‌harmful‌‌

because‌ ‌it‌ ‌could‌ ‌“curtail‌ ‌services‌‌to‌‌its‌‌customers.”‌‌‌Duquesne‌‌Light‌‌Co.‌‌v.‌‌Upper‌‌St.‌‌Clair‌‌Tp.‌,‌‌

105‌ ‌A.2d‌ ‌287,‌‌295‌‌(1954)(enjoining‌‌enforcement‌‌of‌‌a‌‌zoning‌‌ordinance‌‌against‌‌a‌‌public‌‌utility,‌‌

which‌‌was‌‌being‌‌applied‌‌to‌‌curtail‌‌new‌‌construction‌‌of‌‌power‌‌lines‌‌needed‌‌to‌‌bring‌‌electricity‌‌to‌‌

ratepayers).‌‌ ‌

         113.      At‌‌the‌‌most‌‌fundamental‌‌level,‌‌this‌‌second‌‌element‌‌of‌‌irreparable‌‌harm‌‌is‌‌satisfied‌‌

because‌ ‌National‌ ‌Fuel’s‌ ‌rights‌ ‌under‌‌various‌‌sources‌‌of‌‌Pennsylvania‌‌law,‌‌including‌‌the‌‌Utility‌‌

Code‌ ‌and‌ ‌the‌ ‌BCL,‌ ‌continue‌ ‌to‌ ‌be‌ ‌violated‌ ‌by‌ ‌both‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance’s‌ ‌Fee‌‌

Structure‌‌and‌‌the‌‌TPP.‌ ‌




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         114.       ‌Among‌ ‌other‌ ‌ways,‌ ‌the‌ ‌Fee‌ ‌Structure‌ ‌and‌ ‌the‌ ‌TPP‌ ‌violate‌ ‌National‌ ‌Fuel’s‌‌

statutory‌‌and‌‌other‌‌legal‌‌rights‌‌as‌‌follows:‌ ‌

              a. With‌ ‌respect‌ ‌to‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance’s‌ ‌Fee‌ ‌Structure,‌ ‌it‌ ‌is‌ ‌both:‌ ‌(a)‌‌

                  illegal‌ ‌as‌ ‌applied‌ ‌(‌i.e.‌,‌ ‌preempted‌ ‌by‌ ‌the‌ ‌Utility‌ ‌Code‌ ‌since‌ ‌National‌ ‌Fuel‌ ‌is‌ ‌a‌‌

                  Public‌ ‌Utility‌ ‌and‌ ‌the‌ ‌Fees‌ ‌imposed‌ ‌by‌ ‌the‌ ‌Fee‌ ‌Structure‌ ‌stand‌ ‌to‌ ‌increase‌ ‌the‌‌

                  rates‌ ‌under‌ ‌which‌ ‌National‌ ‌Fuel‌ ‌provides‌ ‌service‌ ‌to‌ ‌its‌ ‌customers);‌ ‌and‌ ‌(b)‌‌

                  unlawful‌ ‌on‌ ‌its‌ ‌face‌ ‌(as‌ ‌the‌ ‌Fees‌ ‌are‌ ‌arbitrary,‌ ‌excessive,‌ ‌and‌ ‌unreasonable‌ ‌and‌‌

                  therefore‌ ‌violate‌ ‌established‌ ‌principles‌ ‌of‌ ‌Pennsylvania‌ ‌municipal‌ ‌law‌ ‌and‌‌

                  provisions‌‌of‌‌the‌‌United‌‌States‌‌Constitution,‌‌as‌‌noted‌‌below);‌‌and‌‌ ‌

              b. With‌‌respect‌‌to‌‌the‌‌City’s‌‌TPP‌‌(including‌‌as‌‌applied‌‌as‌‌a‌‌requirement‌‌to‌‌obtain‌‌a‌‌

                  Permit‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance),‌ ‌it‌ ‌is‌ ‌preempted,‌ ‌and‌ ‌therefore‌‌

                  unlawful,‌ ‌as‌ ‌applied‌ ‌to‌ ‌National‌ ‌Fuel‌ ‌insofar‌ ‌as‌ ‌it‌‌has‌‌the‌‌effect‌‌of‌‌dictating‌‌the‌‌

                  location‌‌and‌‌placement‌‌of‌‌National‌‌Fuel’s‌‌Facilities‌‌in‌‌contravention‌‌of‌‌the‌‌Utility‌‌

                  Code.‌‌ ‌

         115.     The‌ ‌irreparable‌ ‌harm‌ ‌in‌ ‌the‌ ‌instant‌ ‌case‌ ‌–‌ ‌i.e.‌,‌ ‌violation‌ ‌of‌ ‌National‌ ‌Fuel’s‌‌

statutory‌‌rights‌‌–‌‌is‌‌not‌‌merely‌‌academic.‌‌ ‌

         116.     The‌‌City‌‌of‌‌Erie‌‌has‌‌engaged‌‌in‌‌unlawful,‌‌sustained,‌‌and‌‌continuous‌‌interference,‌‌

obstruction,‌ ‌and‌ ‌frustration‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌statutory‌ ‌mandate‌ ‌to‌ ‌provide‌‌safe,‌‌efficient,‌‌and‌‌

reliable‌ ‌service‌ ‌at‌ ‌fair‌ ‌and‌ ‌reasonable‌ ‌rates‌ ‌pursuant‌ ‌to‌ ‌the‌ ‌provisions‌ ‌of‌ ‌the‌ ‌Utility‌ ‌Code,‌‌

including‌ ‌by‌ ‌interfering,‌ ‌obstructing,‌ ‌impacting,‌ ‌and/or‌ ‌frustrating,‌ ‌among‌ ‌other‌ ‌things,‌ ‌the‌‌

following:‌ ‌




                                                            34‌ ‌
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               a. National‌ ‌Fuel’s‌ ‌obligation‌ ‌to‌ ‌provide‌ ‌gas‌ ‌service‌ ‌to‌ ‌new‌ ‌residential‌ ‌customers‌‌

                     within‌‌set‌‌time‌‌frames.‌S‌ ee‌,‌‌52‌‌Pa.‌‌Code‌‌§‌‌56.287.‌ ‌

               b. National‌‌Fuel’s‌‌obligation‌‌to‌‌extend‌‌its‌‌facilities‌‌so‌‌as‌‌to‌‌serve‌‌new‌‌customers‌‌and‌‌

                     development.‌‌See‌,‌‌Tariff,‌‌Rule‌‌No.‌‌3.‌‌ ‌

               c. National‌ ‌Fuel’s‌ ‌obligations‌ ‌under‌ ‌various‌ ‌provisions‌ ‌of‌ ‌Chapter‌ ‌59‌ ‌of‌ ‌the‌ ‌PUC‌‌

                     Regulations,‌ ‌including‌ ‌without‌ ‌limitation‌ ‌the‌ ‌explicit‌ ‌requirement‌ ‌that‌ ‌when‌‌

                     installing‌ ‌a‌ ‌service‌ ‌line,‌ ‌“t‌he‌ ‌service‌ ‌line‌ ‌must‌ ‌be‌ ‌installed‌ ‌in‌ ‌a‌ ‌straight‌ ‌line‌‌

                     perpendicular‌ ‌to‌ ‌the‌ ‌[gas]‌ ‌main.”‌ ‌52‌ ‌Pa.‌ ‌Code‌ ‌§‌ ‌59.18(f)(3).‌ ‌The‌ ‌City‌ ‌has‌‌

                     repeatedly‌ ‌asked‌ ‌National‌ ‌Fuel‌ ‌to‌ ‌run‌ ‌service‌ ‌lines‌ ‌at‌ ‌an‌ ‌“off-angle”‌ ‌so‌ ‌as‌ ‌to‌‌

                     comply‌ ‌with‌ ‌the‌ ‌City’s‌ ‌TPP.‌ ‌National‌ ‌Fuel,‌ ‌citing‌‌its‌‌regulatory‌‌obligations,‌‌has‌‌

                     refused‌‌to‌‌do‌‌so.‌‌

               d. The‌ ‌cost‌ ‌paid‌ ‌by‌ ‌both‌ ‌National‌ ‌Fuel‌ ‌and‌‌applicants‌‌for‌‌new‌‌service‌‌in‌‌instances‌‌

                     where‌ ‌the‌ ‌furnishing‌ ‌of‌ ‌new‌ ‌service‌ ‌requires‌ ‌the‌ ‌extension‌ ‌of‌ ‌National‌ ‌Fuel’s‌‌
                                                                                                                      10
                     Facilities‌‌(‌e.g.‌,‌‌construction‌‌of‌‌a‌‌new‌‌home).‌S‌ ee‌,‌‌Tariff,‌‌Rule‌‌No.‌‌3.‌ ‌ ‌

               e. National‌‌Fuel’s‌‌obligation‌‌to‌‌provide‌‌service‌‌which‌‌is‌‌reasonably‌‌continuous‌‌and‌‌

                     without‌‌unreasonable‌‌interruptions‌‌or‌‌delays.‌‌‌See‌,‌‌Tariff,‌‌Rule‌‌No.‌‌9‌‌and‌‌Section‌‌

                     1501‌‌of‌‌the‌‌Utility‌‌Code‌‌(66‌‌Pa.C.S.‌‌§‌‌1501).‌ ‌

               f. National‌ ‌Fuel’s‌ ‌obligation‌ ‌to‌ ‌“make‌ ‌all‌ ‌such‌ ‌repairs,‌ ‌changes,‌ ‌alterations,‌‌

                     substitutions,‌ ‌extensions,‌‌and‌‌improvements‌‌in‌‌or‌‌to‌‌such‌‌service‌‌and‌‌[F]acilities‌‌

                     as‌‌shall‌‌be‌‌necessary‌‌or‌‌proper‌‌for‌‌the‌‌accommodation,‌‌convenience,‌‌and‌‌safety‌‌of‌‌

                     its‌ ‌patrons,‌ ‌employees,‌ ‌and‌ ‌the‌ ‌public.‌ ‌Such‌ ‌service‌ ‌also‌ ‌shall‌ ‌be‌ ‌reasonably‌‌


10
  ‌Customers‌ ‌requiring‌ ‌extension‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities‌ ‌in‌ ‌connection‌ ‌with‌ ‌receiving‌ ‌service‌ ‌are‌ ‌directly‌‌
impacted‌‌insofar‌‌as‌‌the‌‌PUC-approved‌‌Tariff‌‌apportions‌‌responsibility‌‌for‌‌the‌‌initial‌‌cost‌‌of‌‌extending‌‌such‌‌Facilities‌‌
between‌‌National‌‌Fuel‌‌and‌‌the‌‌customer‌‌requesting‌‌same.‌ ‌


                                                                   35‌ ‌
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                      continuous‌‌and‌‌without‌‌unreasonable‌‌interruptions‌‌or‌‌delay.”‌‌‌See‌,‌‌Section‌‌1501‌‌of‌‌

                      the‌‌Utility‌‌Code‌‌(66‌‌Pa.C.S.‌‌§‌‌1501).‌ ‌

                g. National‌ ‌Fuel’s‌ ‌obligation‌ ‌to‌ ‌provide‌ ‌service‌ ‌at‌ ‌rates‌ ‌which‌ ‌are‌ ‌“just‌ ‌and‌‌
                                                                                                                                11
                      reasonable.”‌S‌ ee‌,‌‌Section‌‌1301‌‌of‌‌the‌‌Utility‌‌Code‌‌(66‌‌Pa.C.S.‌‌§‌‌1301).‌ ‌

           117.       The‌‌third‌‌element,‌‌lack‌‌of‌‌irreparable‌‌harm‌‌to‌‌the‌‌City‌‌of‌‌Erie,‌‌is‌‌also‌‌satisfied.‌‌ ‌

           118.       The‌ ‌City‌ ‌has‌ ‌had‌ ‌trees‌ ‌lining‌ ‌its‌‌streets‌‌for‌‌centuries,‌‌and‌‌yet‌‌has‌‌not‌‌demanded‌‌

full‌‌authority‌‌to‌‌confirm‌‌the‌‌location‌‌of‌‌National‌‌Fuel’s‌‌Facilities‌‌until‌‌little‌‌over‌‌a‌‌year‌‌ago‌‌(by‌‌

virtue‌ ‌of‌ ‌the‌ ‌TPP‌ ‌and‌ ‌it‌ ‌being‌ ‌imposed‌ ‌as‌ ‌a‌ ‌Permit‌ ‌requirement‌ ‌per‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

Ordinance).‌‌ ‌

           119.       National‌ ‌Fuel‌ ‌has‌ ‌a‌ ‌proven‌ ‌track‌ ‌record‌ ‌of‌ ‌performing‌ ‌its‌ ‌maintenance‌ ‌and‌‌

construction‌ ‌work‌ ‌while‌ ‌respecting‌ ‌and‌ ‌preserving‌ ‌the‌ ‌trees‌ ‌which‌ ‌line‌ ‌Erie’s‌ ‌streets,‌ ‌and‌ ‌an‌‌

injunction‌‌will‌‌not‌‌cause‌‌any‌‌undue‌‌harm‌‌to‌‌this‌‌important‌‌vegetation.‌‌ ‌

           120.       Enjoining‌ ‌the‌ ‌City‌ ‌from‌ ‌raising‌ ‌funds‌ ‌through‌ ‌imposition‌ ‌of‌‌excessive‌‌fees‌‌(per‌‌

the‌‌Fee‌‌Structure‌‌of‌‌the‌‌Street‌‌Excavation‌‌Ordinance)‌‌will‌‌not‌‌irreparably‌‌harm‌‌the‌‌City,‌‌which‌‌

enjoys‌ ‌the‌ ‌legal‌ ‌authority‌ ‌to‌ ‌raise‌ ‌funds‌ ‌through‌ ‌legal‌ ‌means,‌ ‌including‌ ‌borrowing,‌ ‌issuing‌‌

municipal‌‌bonds,‌‌and‌‌collecting‌‌taxes.‌‌ ‌

           121.       Finally,‌ ‌the‌ ‌fourth‌ ‌element,‌‌the‌‌public‌‌interest,‌‌is‌‌met‌‌because‌‌the‌‌general‌‌public‌‌

needs‌‌and‌‌relies‌‌on‌‌the‌‌utility‌‌services‌‌provided‌‌by‌‌National‌‌Fuel,‌‌and‌‌any‌‌disruption‌‌caused‌‌by‌‌

the‌‌City‌‌of‌‌Erie’s‌‌interference‌‌with‌‌National‌‌Fuel’s‌‌maintenance‌‌and‌‌construction‌‌work‌‌will‌‌have‌‌

a‌‌real‌‌impact‌‌on‌‌National‌‌Fuel’s‌‌ratepayers.‌‌ ‌




11
  ‌Notably,‌‌the‌‌PUC‌‌–‌‌on‌‌its‌‌own‌‌motion‌‌or‌‌upon‌‌complaint‌‌–‌‌may‌‌‌at‌‌any‌‌time‌‌investigate‌‌and‌‌modify‌‌any‌‌Public‌‌
Utility’s‌ ‌rates,‌ ‌meaning‌ ‌the‌ ‌unlawful‌ ‌Fees‌ ‌and‌ ‌costs‌ ‌of‌ ‌complying‌ ‌with‌ ‌the‌ ‌unlawful‌ ‌actions‌ ‌of‌ ‌the‌ ‌City‌‌of‌‌Erie‌‌
(described‌‌herein)‌‌could‌‌be‌‌factored‌‌into‌‌National‌‌Fuel’s‌‌rates‌‌at‌‌any‌‌time.‌S‌ ee‌,‌‌66‌‌Pa.C.S.‌‌§§‌‌1308-1309.‌ ‌


                                                                      36‌ ‌
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         122.      Further,‌‌it‌‌is‌‌always‌‌in‌‌the‌‌public‌‌interest‌‌for‌‌the‌‌government‌‌to‌‌be‌‌constrained‌‌to‌‌

those‌ ‌limits‌ ‌which‌ ‌the‌ ‌law‌ ‌creates,‌ ‌and‌ ‌to‌ ‌rein‌‌in‌‌excesses‌‌caused‌‌by‌‌municipalities‌‌when‌‌they‌‌

regulate‌‌conduct‌‌beyond‌‌their‌‌scope‌‌of‌‌legitimate‌‌authority.‌ ‌ ‌

         WHEREFORE,‌ ‌Plaintiff‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌respectfully‌‌

requests‌ ‌that‌ ‌this‌‌Honorable‌‌Court‌‌enjoin‌‌the‌‌City‌‌of‌‌Erie‌‌from:‌‌(1)‌‌imposing‌‌unreasonable‌‌and‌‌

excessive‌‌fees‌‌against‌‌National‌‌Fuel,‌‌including‌‌without‌‌limitation‌‌by‌‌suspending‌‌and‌‌invalidating‌‌

the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure;‌‌and‌‌(2)‌‌attempting‌‌to‌‌regulate‌‌the‌‌placement‌‌of‌‌

National‌‌Fuel’s‌‌Facilities,‌‌by‌‌requiring‌‌compliance‌‌with‌‌the‌‌TPP‌‌in‌‌connection‌‌with‌‌the‌‌issuance‌‌

of‌‌a‌‌Permit‌‌under‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌or‌‌other‌‌municipal‌‌action,‌‌and‌‌any‌‌other‌‌relief‌‌

available‌‌by‌‌law.‌‌ ‌

 ‌

                                COUNT‌‌II‌‌-‌‌DECLARATORY‌‌JUDGMENT‌ ‌

         123.       ‌The‌‌averments‌‌in‌‌the‌‌foregoing‌‌paragraphs‌‌are‌‌incorporated‌‌by‌‌reference,‌‌as‌‌if‌‌set‌‌

forth‌‌in‌‌full‌‌below.‌‌ ‌

         124.      The‌‌Declaratory‌‌Judgment‌‌Act‌‌provides‌‌in‌‌relevant‌‌part‌‌that‌‌“[i]n‌‌a‌‌case‌‌of‌‌actual‌‌

controversy‌ ‌within‌ ‌its‌ ‌jurisdiction‌ ‌.‌ ‌.‌ ‌.‌ ‌any‌ ‌Court‌ ‌of‌ ‌the‌ ‌United‌ ‌States,‌ ‌upon‌ ‌the‌ ‌filing‌ ‌of‌ ‌an‌‌

appropriate‌ ‌pleading,‌ ‌may‌ ‌declare‌ ‌the‌ ‌rights‌ ‌and‌ ‌other‌ ‌legal‌ ‌relations‌ ‌of‌ ‌any‌ ‌interested‌ ‌party‌‌

seeking‌ ‌such‌ ‌declaration,‌ ‌whether‌ ‌or‌ ‌not‌ ‌further‌ ‌relief‌ ‌is‌ ‌or‌ ‌could‌ ‌be‌ ‌sought.”‌ ‌28‌ ‌U.S.C.‌ ‌§‌‌

2201(a)‌.‌‌Fed.‌‌R.‌‌Civ.‌‌P.‌‌57‌.‌‌ ‌

         125.      “The‌ ‌question‌ ‌in‌ ‌each‌ ‌case‌ ‌is‌ ‌whether‌ ‌the‌ ‌facts‌ ‌alleged‌ ‌show‌ ‌that‌ ‌there‌ ‌is‌ ‌a‌‌

substantial‌‌controversy,‌‌between‌‌parties‌‌having‌‌adverse‌‌legal‌‌interests,‌‌‘of‌‌sufficient‌‌immediacy‌‌




                                                               37‌ ‌
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and‌ ‌reality‌ ‌to‌ ‌justify‌ ‌judicial‌ ‌resolution.’”‌ ‌Peachlum‌ ‌v.‌ ‌York,‌ ‌Pa.‌,‌ ‌333‌ ‌F.3d‌ ‌429,‌ ‌433‌ ‌(3d‌ ‌Cir.‌‌

2003)‌.‌ ‌

          126.      The‌‌Third‌‌Circuit‌‌has‌‌set‌‌out‌‌the‌‌following‌‌general‌‌guidelines‌‌for‌‌the‌‌exercise‌‌of‌‌

discretion‌ ‌under‌ ‌the‌ ‌Declaratory‌ ‌Judgment‌ ‌Act:‌ ‌“(1)‌ ‌the‌ ‌likelihood‌ ‌that‌ ‌the‌ ‌declaration‌ ‌will‌‌

resolve‌ ‌the‌ ‌uncertainty‌‌of‌‌obligation‌‌which‌‌gave‌‌rise‌‌to‌‌the‌‌controversy;‌‌(2)‌‌the‌‌convenience‌‌of‌‌

the‌ ‌parties;‌ ‌(3)‌ ‌the‌ ‌public‌ ‌interest‌ ‌in‌ ‌a‌ ‌settlement‌ ‌of‌ ‌the‌ ‌uncertainty‌ ‌of‌ ‌obligation;‌ ‌and‌ ‌(4)‌ ‌the‌

availability‌ ‌and‌ ‌relative‌ ‌convenience‌ ‌of‌ ‌other‌ ‌remedies.”‌ ‌Terra‌ ‌Nova‌ ‌Ins.‌ ‌Co.‌ ‌v.‌ ‌900‌‌Bar.‌‌Inc.‌,‌‌

887‌‌F.2d‌‌1213,‌‌1224‌‌(3d‌‌Cir.‌‌1989)‌.‌‌ ‌

          127.      In‌‌Gruntal‌‌&‌‌Co.,‌‌Inc.‌‌v.‌‌Steinberg‌,‌‌the‌‌district‌‌court‌‌explained:‌ ‌

         The‌ ‌real‌ ‌value‌ ‌of‌ ‌the‌ ‌judicial‌‌pronouncement‌‌—‌‌what‌‌makes‌‌it‌‌a‌‌proper‌‌judicial‌‌
         resolution‌‌of‌‌a‌‌“case‌‌or‌‌controversy”‌‌rather‌‌than‌‌an‌‌advisory‌‌opinion‌‌—‌‌is‌‌in‌‌the‌‌
         settling‌ ‌of‌ ‌some‌ ‌dispute‌ ‌which‌‌affects‌‌the‌‌behavior‌‌of‌‌the‌‌defendant‌‌towards‌‌the‌‌
         plaintiff‌ ‌.‌ ‌.‌ ‌.‌ ‌.‌ ‌If‌ ‌the‌ ‌declaratory‌ ‌judgment‌ ‌is‌ ‌sought‌ ‌to‌ ‌protect‌ ‌against‌ ‌a‌ ‌feared,‌‌
         future‌ ‌event,‌ ‌the‌ ‌plaintiff‌ ‌must‌ ‌demonstrate‌ ‌that‌ ‌the‌ ‌probability‌ ‌of‌ ‌that‌ ‌future‌‌
         event‌ ‌occurring‌ ‌is‌ ‌real‌ ‌and‌ ‌substantial,‌ ‌of‌ ‌sufficient‌ ‌immediacy‌ ‌and‌ ‌reality‌ ‌to‌‌
         warrant‌‌the‌‌issuance‌‌of‌‌a‌‌declaratory‌‌judgment.‌ ‌
          ‌
837‌‌F.‌‌Supp.‌‌85,‌‌89‌‌(D.N.J.‌‌1993)‌.‌‌ ‌

          128.      In‌ ‌this‌ ‌case,‌ ‌there‌ ‌are‌ ‌two‌ ‌(2)‌ ‌ongoing‌ ‌issues‌ ‌for‌ ‌which‌ ‌judicial‌ ‌review‌ ‌and‌‌

declaratory‌‌judgment‌‌is‌‌appropriate‌‌and‌‌necessary:‌‌ ‌

               a. With‌‌respect‌‌to‌‌the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure,‌‌to‌‌declare‌‌that‌‌it‌‌

                    is‌‌both:‌‌(a)‌‌illegal‌‌as‌‌applied‌‌to‌‌National‌‌Fuel‌‌(‌i.e.‌,‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code‌‌

                    since‌ ‌National‌ ‌Fuel‌‌is‌‌a‌‌Public‌‌Utility);‌‌and‌‌(b)‌‌unlawful‌‌on‌‌its‌‌face‌‌(as‌‌the‌‌Fees‌‌

                    are‌ ‌arbitrary,‌ ‌excessive,‌ ‌and‌ ‌unreasonable‌ ‌and‌ ‌therefore‌ ‌violate‌ ‌established‌‌

                    Pennsylvania‌‌municipal‌‌law);‌‌and‌ ‌




                                                                 38‌ ‌
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             b. With‌‌respect‌‌to‌‌the‌‌City’s‌‌TPP‌‌(including‌‌as‌‌applied‌‌as‌‌a‌‌requirement‌‌to‌‌obtain‌‌a‌‌

                   Permit‌ ‌under‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance),‌ ‌to‌ ‌declare‌ ‌that‌ ‌it‌ ‌is‌ ‌preempted,‌‌

                   and‌ ‌therefore‌ ‌unlawful,‌‌as‌‌applied‌‌to‌‌National‌‌Fuel‌‌insofar‌‌as‌‌it‌‌has‌‌the‌‌effect‌‌of‌‌

                   dictating‌‌the‌‌location‌‌and‌‌placement‌‌of‌‌National‌‌Fuel’s‌‌Facilities.‌ ‌ ‌

         129.      Here,‌‌each‌‌element‌‌of‌‌the‌‌test‌‌for‌‌imposing‌‌a‌‌declaratory‌‌judgment‌‌is‌‌met.‌‌ ‌

         130.      The‌ ‌first‌ ‌element,‌ ‌that‌ ‌a‌ ‌judgment‌ ‌would‌ ‌remove‌ ‌the‌ ‌uncertainty‌ ‌between‌ ‌the‌‌

parties,‌ ‌is‌ ‌met‌ ‌because‌ ‌such‌ ‌a‌ ‌judgment‌ ‌would‌ ‌confirm‌ ‌that:‌ ‌(a)‌ ‌the‌ ‌Street‌ ‌Excavation‌‌

Ordinance’s‌ ‌Fee‌ ‌Structure‌ ‌is‌ ‌unlawful‌ ‌(both‌ ‌on‌ ‌its‌ ‌face‌ ‌and‌ ‌as‌ ‌applied‌ ‌to‌ ‌National‌ ‌Fuel‌‌

unreasonable;‌ ‌and‌ ‌(b)‌ ‌the‌ ‌City‌ ‌has‌ ‌no‌ ‌authority‌ ‌to‌ ‌regulate‌ ‌the‌ ‌placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌‌

Facilities‌‌–‌‌whether‌‌via‌‌the‌‌TPP‌‌or‌‌otherwise.‌‌ ‌

         131.      The‌ ‌second‌ ‌element,‌ ‌the‌ ‌convenience‌ ‌of‌ ‌the‌ ‌parties,‌ ‌is‌‌met‌‌because‌‌these‌‌issues‌‌

have‌ ‌been‌ ‌unresolved‌ ‌despite‌ ‌almost‌‌two‌‌(2)‌‌years‌‌of‌‌repeated‌‌discussions‌‌between‌‌the‌‌parties,‌‌

with‌‌National‌‌Fuel‌‌being‌‌forced‌‌to‌‌alter‌‌its‌‌utility‌‌work‌‌plans‌‌and‌‌designs‌‌by‌‌virtue‌‌of‌‌having‌‌to‌‌

perform‌‌both‌‌scheduled‌‌and‌‌emergency‌‌utility‌‌work‌‌within‌‌the‌‌City‌‌of‌‌Erie‌‌in‌‌connection‌‌with‌‌its‌‌

operations.‌ ‌ ‌

         132.      The‌ ‌third‌ ‌element,‌ ‌public‌ ‌interest‌ ‌in‌ ‌resolution,‌ ‌is‌ ‌clearly‌ ‌met‌ ‌because,‌ ‌among‌‌

other‌ ‌reasons,‌ ‌(a)‌ ‌those‌ ‌receiving‌ ‌natural‌ ‌gas‌ ‌service‌ ‌in‌ ‌National‌ ‌Fuel’s‌ ‌Pennsylvania‌ ‌Service‌‌

Territory‌ ‌stands‌ ‌to‌ ‌bear‌ ‌the‌‌costs‌‌incurred‌‌as‌‌a‌‌result‌‌of‌‌the‌‌City’s‌‌unlawful‌‌conduct‌‌insofar‌‌as‌‌

such‌‌costs‌‌can‌‌be‌‌included‌‌in‌‌the‌‌rates‌‌set‌‌and‌‌approved‌‌by‌‌the‌‌PUC;‌‌and‌‌(b)‌‌it‌‌is‌‌always‌‌in‌‌the‌‌

public‌‌interest‌‌for‌‌the‌‌limits‌‌of‌‌municipal‌‌authority‌‌to‌‌be‌‌clearly‌‌defined,‌‌and‌‌for‌‌the‌‌public‌‌to‌‌be‌‌

assured‌‌of‌‌reliable‌‌utility‌‌services.‌‌ ‌




                                                           39‌ ‌
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         133.      Finally,‌‌the‌‌fourth‌‌element‌‌is‌‌met‌‌because‌‌there‌‌is‌‌no‌‌clear‌‌means‌‌for‌‌ensuring‌‌that‌‌

this‌ ‌problem‌ ‌does‌ ‌not‌ ‌continue‌ ‌to‌ ‌arise‌ ‌between‌ ‌National‌‌Fuel‌‌and‌‌the‌‌City‌‌of‌‌Erie,‌‌other‌‌than‌‌

judicial‌‌intervention.‌‌ ‌

         WHEREFORE,‌ ‌Plaintiff‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌respectfully‌‌

requests‌‌that‌‌this‌‌Honorable‌‌Court‌‌enter‌‌declaratory‌‌judgment,‌‌declaring‌‌that:‌‌(1)‌‌with‌‌respect‌‌to‌‌

the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure,‌‌(a)‌‌as‌‌applied‌‌to‌‌National‌‌Fuel,‌‌is‌‌preempted‌‌by‌‌

the‌ ‌Utility‌ ‌Code;‌‌and‌‌(b)‌‌on‌‌its‌‌face‌‌is‌‌invalid‌‌as‌‌the‌‌Fees‌‌imposed‌‌are‌‌arbitrary,‌‌excessive,‌‌and‌‌

unreasonable;‌ ‌and‌ ‌(2)‌‌with‌‌respect‌‌to‌‌the‌‌general‌‌practices,‌‌procedures,‌‌and‌‌policies‌‌of‌‌the‌‌City‌‌

to‌ ‌attempt‌ ‌to‌ ‌dictate‌ ‌the‌ ‌placement‌ ‌of‌ ‌National‌ ‌Fuel’s‌ ‌Facilities,‌ ‌whether‌ ‌directly‌ ‌or‌ ‌via‌‌

application‌‌of‌‌the‌‌TPP,‌‌as‌‌applied‌‌to‌‌National‌‌Fuel,‌‌are‌‌preempted‌‌by‌‌the‌‌Utility‌‌Code.‌‌ ‌

 ‌
 ‌
                     COUNT‌‌III‌‌-‌‌VIOLATION‌‌OF‌‌THE‌‌FIFTH‌‌AMENDMENT‌ ‌
                          VIOLATION‌‌OF‌‌THE‌‌TAKINGS‌‌CLAUSE‌ ‌ ‌
 ‌
         134.      The‌‌averments‌‌in‌‌the‌‌preceding‌‌paragraphs‌‌are‌‌incorporated‌‌by‌‌reference,‌‌as‌‌if‌‌set‌‌

forth‌‌in‌‌full‌‌herein.‌‌ ‌

         135.      Ordinarily,‌‌fees‌‌imposed‌‌by‌‌the‌‌government‌‌do‌‌not‌‌constitute‌‌takings‌‌in‌‌violation‌‌

of‌ ‌the‌ ‌Fifth‌ ‌Amendment.‌‌“It‌‌is‌‌beyond‌‌dispute‌‌that‌‌‘[t]axes‌‌and‌‌user‌‌fees‌‌.‌‌.‌‌.‌‌are‌‌not‌‌takings.’”‌‌

Koontz‌‌v.‌‌St.‌‌Johns‌‌River‌‌Water‌‌Mgmt.‌‌Dist.‌,‌‌570‌‌U.S.‌‌595,‌‌597‌‌(2013)‌.‌‌ ‌

         136.      The‌ ‌exception‌ ‌to‌ ‌this‌‌general‌‌principle‌‌is‌‌when‌‌the‌‌fee‌‌imposed‌‌is‌‌unreasonable:‌‌

“a‌ ‌reasonable‌ ‌user‌ ‌fee‌ ‌is‌ ‌not‌ ‌a‌ ‌taking‌ ‌if‌ ‌it‌ ‌is‌ ‌imposed‌ ‌for‌ ‌the‌ ‌reimbursement‌ ‌of‌ ‌the‌ ‌cost‌ ‌of‌‌

government‌‌services.”‌U
                       ‌ nited‌‌States‌‌v.‌‌Sperry‌‌Corp.‌,‌‌493‌‌U.S.‌‌52,‌‌63‌‌(1989).‌‌ ‌




                                                              40‌ ‌
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         137.      Thus,‌‌“user‌‌fees‌‌are‌‌not‌‌takings‌‌under‌‌the‌‌Fifth‌‌Amendment‌‌unless‌‌the‌‌fees‌‌are‌‌so‌‌

excessive‌ ‌that‌ ‌they‌ ‌do‌ ‌not‌ ‌reflect‌ ‌a‌ ‌‘fair‌ ‌approximation‌‌of‌‌the‌‌cost‌‌of‌‌benefits‌‌supplied’‌‌by‌‌the‌‌

government.”‌‌‌In‌‌re‌‌Exide‌‌Techs.‌,‌‌611‌‌B.R.‌‌21,‌‌32‌‌(Bankr.‌‌D.‌‌Del.‌‌2020),‌‌quoting‌‌‌Massachusetts‌‌

v.‌‌United‌‌States‌,‌‌435‌‌U.S.‌‌444,‌‌463‌‌n.19‌‌(1978).‌ ‌

         138.      When‌ ‌the‌ ‌government‌ ‌has‌ ‌engaged‌ ‌in‌ ‌a‌ ‌taking‌ ‌through‌ ‌the‌ ‌imposition‌ ‌of‌‌

unreasonable‌‌fees,‌‌the‌‌injured‌‌party‌‌may‌‌immediately‌‌seek‌‌recourse‌‌by‌‌filing‌‌an‌‌action‌‌pursuant‌‌

to‌ ‌42‌ ‌U.S.C.‌ ‌§‌ ‌1983.‌ ‌See‌ ‌Knick‌ ‌v.‌ ‌Twp.‌ ‌of‌ ‌Scott‌,‌ ‌139‌ ‌S.‌ ‌Ct.‌ ‌2162,‌‌2168‌‌(2019)(Holding‌‌that‌‌a‌‌

“property‌ ‌owner‌ ‌has‌ ‌suffered‌ ‌a‌ ‌violation‌ ‌of‌ ‌his‌ ‌Fifth‌ ‌Amendment‌ ‌rights‌‌when‌‌the‌‌government‌‌

takes‌‌his‌‌property‌‌without‌‌just‌‌compensation,‌‌and‌‌therefore‌‌may‌‌bring‌‌his‌‌claim‌‌in‌‌federal‌‌court‌‌

under‌‌§‌‌1983‌‌at‌‌that‌‌time.”)‌ ‌

         139.      Pursuant‌ ‌to‌ ‌the‌ ‌Street‌ ‌Excavation‌ ‌Ordinance,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌has‌ ‌created‌ ‌and‌‌

implemented‌ ‌a‌ ‌Fee‌ ‌Structure‌ ‌(consisting‌ ‌of‌ ‌Degradation,‌ ‌Inspection,‌ ‌and‌ ‌Permit‌ ‌Fees)‌ ‌which‌‌

imposes‌‌unreasonable‌‌and‌‌excessive‌‌fees‌‌on‌‌National‌‌Fuel.‌‌ ‌

         140.      The‌ ‌City‌ ‌of‌ ‌Erie’s‌ ‌Fee‌ ‌Structure‌ ‌is‌ ‌completely‌ ‌unrelated‌ ‌to‌ ‌the‌ ‌“fair‌‌

approximation‌ ‌of‌ ‌the‌ ‌benefits‌ ‌supplied”‌ ‌–‌ ‌a‌ ‌requirement‌ ‌for‌ ‌valid‌ ‌municipal‌ ‌fees‌ ‌pursuant‌ ‌to‌‌

Pennsylvania‌ ‌law.‌ ‌In‌ ‌this‌ ‌regard,‌ ‌it‌ ‌is‌‌significant‌‌to‌‌note‌‌that‌‌the‌‌Fees‌‌collected‌‌pursuant‌‌to‌‌the‌‌

Street‌‌Excavation‌‌Ordinance‌‌are‌‌applied‌‌to‌‌the‌‌City’s‌‌General‌‌Fund,‌‌where‌‌they‌‌can‌‌be‌‌used‌‌for‌‌

any‌‌‌purpose‌‌which‌‌can‌‌be‌‌paid‌‌from‌‌the‌‌same.‌ ‌

         141.      Moreover,‌ ‌as‌ ‌noted‌ ‌at‌ ‌length‌ ‌above,‌ ‌National‌ ‌Fuel’s‌ ‌excavation‌ ‌work‌ ‌does‌ ‌not‌‌

“degrade”‌ ‌the‌‌areas‌‌of‌‌the‌‌Cartway‌‌which‌‌it‌‌excavates,‌‌obviating‌‌any‌‌need‌‌or‌‌justification‌‌for‌‌a‌‌

Degradation‌‌Fee.‌‌ ‌




                                                             41‌ ‌
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         142.      Particularly‌ ‌telling,‌ ‌as‌ ‌well,‌ ‌is‌ ‌the‌ ‌fact‌ ‌that‌ ‌the‌ ‌Degradation‌ ‌Fees,‌ ‌while‌‌

purportedly‌‌designed‌‌–‌‌per‌‌the‌‌express‌‌language‌‌of‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌–‌‌to‌‌account‌‌

for‌ ‌“degradation”‌ ‌incurred‌ ‌in‌ ‌connection‌ ‌with‌ ‌excavation‌ ‌done‌ ‌in‌ ‌the‌ ‌Cartway‌ ‌(‌i.e.‌,‌ ‌road)‌ ‌is‌‌

nevertheless‌‌assessed‌‌for‌‌work‌‌done‌‌in‌‌both‌‌the‌‌Cartway‌‌and‌‌Utility‌‌Strip‌‌(i‌.e.‌,‌‌the‌‌sidewalk‌‌and‌‌

the‌‌grassy‌‌area‌‌between‌‌the‌‌road‌‌and‌‌the‌‌sidewalk).‌‌ ‌

         143.      As‌‌a‌‌result,‌‌via‌‌the‌‌Street‌‌Excavation‌‌Ordinance’s‌‌Fee‌‌Structure,‌‌the‌‌City‌‌of‌‌Erie‌‌

has‌‌unlawfully‌‌and‌‌unjustly‌‌taken‌‌approximately‌‌$1,300,000‌‌from‌‌2014‌‌through‌‌2020.‌‌ ‌

         144.      The‌‌City‌‌of‌‌Erie‌‌continues‌‌to‌‌impose‌‌Fees‌‌on‌‌National‌‌Fuel‌‌pursuant‌‌to‌‌the‌‌Street‌‌

Excavation‌‌Ordinance.‌‌ ‌

         WHEREFORE,‌ ‌Plaintiff‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌respectfully‌‌

requests‌‌that‌‌this‌‌Honorable‌‌Court‌‌enter‌‌judgment‌‌in‌‌its‌‌favor‌‌and‌‌against‌‌the‌‌City‌‌of‌‌Erie‌‌in‌‌an‌‌

amount‌‌in‌‌excess‌‌of‌‌$75,000.00,‌‌that‌‌it‌‌enjoin‌‌the‌‌City‌‌of‌‌Erie‌‌from‌‌imposing‌‌unreasonable‌‌and‌‌

excessive‌‌fees‌‌against‌‌National‌‌Fuel‌‌in‌‌the‌‌future,‌‌that‌‌it‌‌award‌‌reasonable‌‌attorneys‌‌fees‌‌and‌‌that‌‌

it‌‌order‌‌any‌‌other‌‌applicable‌‌relief.‌‌ ‌

           ‌

                COUNT‌‌IV‌‌-‌‌VIOLATION‌‌OF‌‌THE‌‌FOURTEENTH‌‌AMENDMENT‌‌ ‌
                                   DUE‌‌PROCESS‌‌CLAUSE‌ ‌
          ‌
         145.      The‌‌averments‌‌in‌‌the‌‌preceding‌‌paragraphs‌‌are‌‌incorporated‌‌by‌‌reference,‌‌as‌‌if‌‌set‌‌

forth‌‌in‌‌full‌‌herein.‌‌ ‌

         146.      The‌‌‌Fourteenth‌‌Amendment‌‌states‌‌in‌‌pertinent‌‌part‌‌that‌‌no‌‌state‌‌may‌‌“deprive‌‌any‌‌

person‌‌of‌‌life,‌‌liberty,‌‌or‌‌property,‌‌without‌‌due‌‌process‌‌of‌‌law.”‌‌U.S.‌‌Const.‌‌amend.‌‌XIV,‌‌§‌‌1.‌‌ ‌

         147.      “Under‌‌the‌‌‌Fourteenth‌‌Amendment‌,‌‌a‌‌state‌‌may‌‌not‌‌authorize‌‌the‌‌deprivation‌‌of‌‌a‌‌

protected‌ ‌liberty‌ ‌or‌ ‌property‌ ‌interest‌ ‌without‌ ‌providing‌ ‌a‌ ‌procedure‌ ‌in‌ ‌connection‌ ‌with‌ ‌that‌‌



                                                          42‌ ‌
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deprivation‌‌that‌‌meets‌‌the‌‌requirements‌‌of‌‌due‌‌process.”‌‌‌Sample‌‌v.‌‌Diecks‌,‌‌885‌‌F.2d‌‌1099,‌‌1114‌‌

(3d‌‌Cir.‌‌1989)‌.‌‌ ‌

         148.      In‌ ‌order‌ ‌to‌ ‌state‌ ‌a‌ ‌cognizable‌ ‌claim‌ ‌under‌ ‌42‌‌U.S.C.‌‌§‌‌1983‌‌for‌‌violation‌‌of‌‌the‌‌

right‌‌to‌‌procedural‌‌due‌‌process,‌‌a‌‌Complaint‌‌“must‌‌allege‌‌that‌‌(1)‌‌[the‌‌plaintiff]‌‌was‌‌deprived‌‌of‌‌

an‌‌individual‌‌interest‌‌that‌‌is‌‌encompassed‌‌within‌‌the‌‌‌Fourteenth‌‌Amendment's‌‌protection‌‌of‌‌‘life,‌‌

liberty,‌ ‌or‌ ‌property,’‌ ‌and‌ ‌(2)‌ ‌the‌ ‌procedures‌ ‌available‌ ‌to‌ ‌[the‌ ‌plaintiff]‌ ‌did‌ ‌not‌ ‌provide‌ ‌‘due‌‌

process‌‌of‌‌law.’”‌H
                    ‌ ill‌‌v.‌‌Borough‌‌of‌‌Kutztown‌,‌‌455‌‌F.3d‌‌225,‌‌233-34‌‌(3d‌‌Cir.‌‌2006)‌.‌ ‌

         149.      “The‌ ‌essential‌ ‌requirements‌ ‌of‌ ‌due‌ ‌process‌ ‌.‌ ‌.‌‌.‌‌are‌‌notice‌‌and‌‌an‌‌opportunity‌‌to‌‌

respond.”‌ ‌Cleveland‌ ‌Bd.‌ ‌of‌ ‌Educ.‌ ‌v.‌ ‌Loudermill,‌ ‌105‌ ‌S.Ct.‌ ‌1487,‌ ‌1495‌ ‌(1985)‌(“An‌ ‌essential‌‌

principle‌ ‌of‌ ‌due‌ ‌process‌ ‌is‌ ‌that‌ ‌a‌ ‌deprivation‌ ‌of‌ ‌.‌ ‌.‌ ‌.‌ ‌property‌ ‌‘be‌ ‌preceded‌ ‌by‌ ‌notice‌ ‌and‌‌

opportunity‌ ‌for‌ ‌hearing‌ ‌appropriate‌ ‌to‌ ‌the‌ ‌nature‌ ‌of‌ ‌the‌ ‌case.’”)‌ ‌(quoting‌ ‌Mullane‌ ‌v.‌ ‌Central‌‌

Hanover‌‌Bank‌‌&‌‌Trust‌‌Co.,‌‌‌70‌‌S.Ct.‌‌652,‌‌656‌‌(1950))‌.‌ ‌

         150.      Importantly,‌‌‌“[t]he‌‌hearing‌‌required‌‌by‌‌the‌‌due‌‌process‌‌clause‌‌is‌‌not‌‌a‌‌moot‌‌court‌‌

exercise.‌‌The‌‌hearing‌‌tribunal‌‌must‌‌have‌‌the‌‌authority‌‌to‌‌afford‌‌relief.”‌‌‌Clark‌‌v.‌‌Cohen‌,‌‌794F.‌‌2d‌‌

79,‌‌86‌‌(3d‌‌Cir.‌‌1986).‌‌ ‌

         151.      The‌‌United‌‌States‌‌Supreme‌‌Court‌‌has‌‌recognized‌‌that‌‌state‌‌law‌‌can‌‌confer‌‌rights‌‌

which‌ ‌require‌ ‌Fourteenth‌ ‌Amendment‌ ‌protection.‌ ‌Sandin‌ ‌v.‌ ‌Conner‌,‌ ‌515‌ ‌U.S.‌ ‌472,‌ ‌483-84‌‌

(1995)(“we‌‌recognize‌‌that‌‌‌States‌‌may‌‌under‌‌certain‌‌circumstances‌‌‌create‌‌liberty‌‌interests‌‌which‌‌

are‌‌protected‌‌by‌‌the‌D
                        ‌ ue‌‌‌Process‌‌‌Clause”).‌ ‌

         152.      National‌‌Fuel‌‌has‌‌an‌‌independent‌‌and‌‌vested‌‌property‌‌interest‌‌in‌‌access‌‌and‌‌use‌‌of‌‌

public‌ ‌rights-of-way,‌ ‌pursuant‌ ‌to‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌(15‌ ‌Pa.C.S.‌ ‌§‌ ‌1511(e)),‌ ‌which‌‌

states‌ ‌that‌ ‌a‌ ‌Public‌ ‌Utility‌ ‌“shall‌ ‌have‌ ‌the‌ ‌right‌ ‌to‌ ‌enter‌ ‌upon‌ ‌and‌ ‌occupy‌ ‌streets,‌ ‌highways,‌‌




                                                             43‌ ‌
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waters‌‌and‌‌other‌‌public‌‌ways‌‌and‌‌places‌‌for...‌‌the‌‌placement,‌‌maintenance‌‌and‌‌removal‌‌of‌‌aerial,‌‌

surface‌‌and‌‌subsurface‌‌Public‌‌Utility‌‌facilities‌‌thereon‌‌or‌‌therein.”‌ ‌ ‌

         153.      Moreover,‌‌National‌‌Fuel‌‌has‌‌the‌‌right‌‌to‌‌be‌‌free‌‌from‌‌regulation‌‌of‌‌the‌‌placement‌‌

of‌‌its‌‌Facilities‌‌by‌‌municipal‌‌actors‌‌like‌‌the‌‌City‌‌of‌‌Erie‌‌by‌‌virtue‌‌of‌‌its‌‌status‌‌as‌‌a‌‌Public‌‌Utility.‌‌

See‌,‌‌PPL‌‌Elec.‌‌Utils.‌‌Corp.‌‌v.‌‌City‌‌of‌‌Lancaster‌,‌‌214‌‌A.3d‌‌639,‌‌656‌‌(Pa.‌‌2019).‌‌ ‌

         154.      The‌ ‌City‌ ‌of‌ ‌Erie‌ ‌is‌ ‌preempted‌ ‌from‌ ‌profiting‌ ‌from‌ ‌National‌ ‌Fuel’s‌‌construction‌‌

and‌‌maintenance‌‌work‌‌in‌‌Public‌‌ROWs,‌‌including‌‌by‌‌virtue‌‌of:‌‌(a)‌‌the‌‌Utility‌‌Code‌‌which‌‌vests‌‌

complete‌‌authority‌‌to‌‌regulate‌‌Public‌‌Utilities‌‌with‌‌the‌‌PUC;‌‌(b)‌‌by‌‌Section‌‌1511(e)‌‌of‌‌the‌‌BCL;‌‌

and‌‌(c)‌‌established‌‌principles‌‌of‌‌Pennsylvania‌‌municipal‌‌law.‌ ‌

         155.      The‌‌City‌‌of‌‌Erie,‌‌acting‌‌under‌‌color‌‌of‌‌state‌‌law,‌‌violated‌‌National‌‌Fuel’s‌‌right‌‌to‌‌

be‌‌free‌‌from‌‌municipal‌‌interference‌‌in‌‌the‌‌location‌‌of‌‌its‌‌Facilities.‌ ‌

         156.      Specifically,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌has‌ ‌enforced‌ ‌the‌ ‌TPP,‌ ‌authored‌ ‌by‌ ‌the‌ ‌un-elected‌‌

Urban‌ ‌Forest‌ ‌Committee,‌ ‌as‌ ‌if‌ ‌it‌ ‌was‌ ‌a‌ ‌duly-adopted‌ ‌municipal‌ ‌ordinance,‌ ‌and‌ ‌attempted‌ ‌to‌‌

dictate‌‌and‌‌control‌‌the‌‌location‌‌of‌‌National‌‌Fuel’s‌‌Facilities.‌‌ ‌

         157.      National‌ ‌Fuel‌ ‌was‌ ‌neither‌ ‌afforded‌ ‌the‌ ‌opportunity‌ ‌to‌ ‌provide‌ ‌comment‌ ‌on‌ ‌the‌‌

TPP‌ ‌nor‌‌was‌‌it‌‌even‌‌provided‌‌notice‌‌of‌‌the‌‌proposed‌‌adoption‌‌of‌‌the‌‌same‌‌(both‌‌when‌‌the‌‌TPP‌‌

was‌ ‌first‌ ‌published‌ ‌in‌ ‌2011‌ ‌and‌ ‌again‌ ‌when‌ ‌the‌ ‌City‌ ‌incorporated‌ ‌it‌ ‌as‌ ‌a‌‌condition‌‌for‌‌issuing‌‌

Permits‌‌under‌‌the‌‌Street‌‌Excavation‌‌Ordinance).‌‌ ‌

         158.      Moreover,‌ ‌the‌ ‌City‌‌of‌‌Erie‌‌has‌‌not‌‌established‌‌a‌‌process‌‌by‌‌which‌‌National‌‌Fuel‌‌

may‌ ‌seek‌ ‌an‌ ‌exemption,‌ ‌as‌ ‌a‌ ‌Public‌ ‌Utility,‌ ‌from‌ ‌the‌ ‌TPP‌ ‌(including‌ ‌as‌ ‌imposed‌ ‌now‌ ‌as‌ ‌a‌‌

condition‌‌of‌‌the‌‌issuance‌‌of‌‌a‌‌Permit‌‌pursuant‌‌to‌‌the‌‌City’s‌‌Street‌‌Excavation‌‌Ordinance).‌‌ ‌




                                                            44‌ ‌
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         159.       Just‌‌as‌‌bad,‌‌the‌‌City‌‌of‌‌Erie‌‌has‌‌not‌‌identified‌‌or‌‌established‌‌any‌‌person‌‌or‌‌office‌‌

with‌‌the‌‌authority‌‌to‌‌exempt‌‌National‌‌Fuel‌‌from‌‌the‌‌TPP;‌‌thus,‌‌National‌‌Fuel‌‌has‌‌been‌‌denied‌‌the‌‌

opportunity‌‌to‌‌be‌‌heard‌‌by‌‌the‌‌“decision-maker”‌‌on‌‌this‌‌issue.‌‌ ‌

         160.       As‌ ‌a‌ ‌consequence,‌ ‌National‌ ‌Fuel‌ ‌has‌ ‌been‌ ‌substantially‌ ‌deprived‌ ‌of‌ ‌its‌‌

statutorily-granted‌ ‌property‌ ‌interest‌ ‌to‌ ‌occupy‌‌the‌‌Public‌‌ROWs‌‌within‌‌the‌‌City‌‌of‌‌Erie,‌‌due‌‌to‌‌

the‌ ‌City’s‌ ‌unlawful‌ ‌enforcement‌ ‌of‌‌the‌‌TPP/Street‌‌Excavation‌‌Ordinance‌‌and‌‌imposition‌‌of‌‌the‌‌

Fees‌‌imposed‌‌by‌‌the‌‌Street‌‌Excavation‌‌Ordinance,‌‌without‌‌due‌‌process‌‌of‌‌law.‌ ‌ ‌

         161.       Additionally,‌ ‌National‌ ‌Fuel‌ ‌has‌ ‌been‌ ‌deprived‌ ‌of‌ ‌its‌ ‌right‌ ‌to‌ ‌determine‌ ‌the‌‌

location‌‌of‌‌its‌‌Facilities,‌‌without‌‌recourse‌‌to‌‌any‌‌process‌‌established‌‌by‌‌the‌‌City‌‌of‌‌Erie‌‌to‌‌obtain‌‌

an‌‌exemption‌‌from‌‌the‌‌City’s‌‌TPP,‌‌again,‌‌without‌‌due‌‌process‌‌of‌‌law.‌‌ ‌

         162.       To‌‌be‌‌clear:‌‌both‌‌in‌‌the‌‌adoption‌‌of‌‌the‌‌TPP/the‌‌Street‌‌Excavation‌‌Ordinance‌‌and‌‌

through‌ ‌the‌ ‌enforcement‌ ‌of‌ ‌same,‌‌National‌‌Fuel‌‌has‌‌been‌‌denied‌‌its‌‌right‌‌to‌‌receive‌‌procedural‌‌

due‌‌process‌‌before‌‌the‌‌City‌‌of‌‌Erie,‌‌which‌‌has‌‌summarily‌‌abrogated‌‌its‌‌statutory‌‌rights‌‌conferred‌‌

on‌ ‌it‌ ‌by‌ ‌the‌ ‌Pennsylvania‌ ‌General‌ ‌Assembly‌ ‌under‌ ‌both‌ ‌Section‌ ‌1511(e)‌ ‌of‌ ‌the‌ ‌BCL‌ ‌and‌ ‌the‌

Utility‌‌Code.‌ ‌

         WHEREFORE,‌ ‌Plaintiff‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌respectfully‌‌

requests‌‌that‌‌this‌‌Honorable‌‌Court‌‌enter‌‌judgment‌‌in‌‌its‌‌favor‌‌and‌‌against‌‌the‌‌City‌‌of‌‌Erie‌‌in‌‌an‌‌

amount‌‌in‌‌excess‌‌of‌‌$75,000.00,‌‌that‌‌it‌‌enjoin‌‌the‌‌City‌‌of‌‌Erie‌‌from‌ ‌imposing‌‌restrictions‌‌on‌‌the‌‌

location‌‌of‌‌utility‌‌Facilities‌‌in‌‌the‌‌future,‌‌that‌‌it‌‌award‌‌reasonable‌‌attorneys‌‌fees‌‌and‌‌that‌‌it‌‌order‌‌

any‌‌other‌‌applicable‌‌relief.‌‌ ‌

           ‌

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                     COUNT‌‌V‌‌-‌‌VIOLATION‌‌OF‌‌THE‌‌FIRST‌‌AMENDMENT‌‌ ‌
                                                RETALIATION‌‌ ‌
                                                          ‌
          163.      The‌‌averments‌‌in‌‌the‌‌preceding‌‌paragraphs‌‌are‌‌incorporated‌‌by‌‌reference,‌‌as‌‌if‌‌set‌‌

forth‌‌in‌‌full‌‌herein.‌‌ ‌

          164.      The‌ ‌First‌ ‌Amendment‌ ‌to‌ ‌the‌ ‌United‌ ‌States‌ ‌Constitution‌ ‌guarantees‌ ‌the‌ ‌right‌ ‌to‌‌

free‌‌speech,‌‌among‌‌other‌‌fundamental‌‌freedoms.‌‌See‌‌‌U.S.‌‌Const.‌‌Amend.‌‌I.‌ ‌

          165.      “The‌‌‌First‌‌Amendment‌‌right‌‌to‌‌free‌‌speech‌‌includes‌‌not‌‌only‌‌the‌‌affirmative‌‌right‌‌

to‌‌speak,‌‌but‌‌also‌‌the‌‌right‌‌to‌‌be‌‌free‌‌from‌‌retaliation‌‌by‌‌a‌‌public‌‌official‌‌for‌‌the‌‌exercise‌‌of‌‌that‌‌

right‌ ‌.‌ ‌.‌ ‌.‌ ‌Retaliation,‌ ‌though‌ ‌it‌ ‌is‌ ‌not‌ ‌expressly‌ ‌referred‌ ‌to‌ ‌in‌ ‌the‌ ‌Constitution,‌ ‌is‌ ‌nonetheless‌‌

actionable‌ ‌because‌ ‌retaliatory‌ ‌actions‌ ‌may‌ ‌tend‌ ‌to‌ ‌chill‌ ‌individuals'‌ ‌exercise‌ ‌of‌ ‌constitutional‌‌

rights.”‌B
         ‌ artley‌‌v.‌‌Taylor‌,‌‌25‌‌F.‌‌Supp.‌‌3d‌‌521,‌‌529-30‌‌(M.D.‌‌Pa.‌‌2014)(internal‌‌citations‌‌omitted).‌ ‌

          166.      “Because‌‌government‌‌retaliation‌‌tends‌‌to‌‌chill‌‌an‌‌individual’s‌‌exercise‌‌of‌‌his‌‌‌First‌‌

Amendment‌ ‌rights,‌ ‌public‌ ‌officials‌ ‌may‌ ‌not,‌ ‌as‌ ‌a‌ ‌general‌ ‌rule,‌ ‌respond‌ ‌to‌ ‌an‌ ‌individual's‌‌

protected‌‌activity‌‌with‌‌conduct‌‌or‌‌speech‌‌even‌‌though‌‌that‌‌conduct‌‌or‌‌speech‌‌would‌‌otherwise‌‌be‌‌

a‌‌lawful‌‌exercise‌‌of‌‌public‌‌authority.”‌‌‌Balt.‌‌Sun‌‌Co.‌‌v.‌‌Ehrlich‌,‌‌437‌‌F.3d‌‌410,‌‌415-416‌‌(4th‌‌Cir.‌

2006)‌,‌‌citing‌‌Bd.‌‌of‌‌County‌‌Comm'rs‌‌v.‌‌Umbehr‌,‌‌518‌‌U.S.‌‌668,‌‌674‌‌(1996)‌.‌‌ ‌

          167.      “To‌‌set‌‌forth‌‌a‌‌prima‌‌facie‌‌case‌‌of‌‌retaliation‌‌in‌‌violation‌‌of‌‌the‌‌First‌‌Amendment,‌‌

plaintiff‌ ‌must‌ ‌allege‌ ‌that:‌ ‌(1)‌ ‌she‌ ‌engaged‌ ‌in‌‌protected‌‌conduct;‌‌(2)‌‌defendants‌‌responded‌‌with‌‌

retaliation;‌ ‌and‌ ‌(3)‌ ‌the‌ ‌protected‌ ‌conduct‌ ‌was‌ ‌the‌ ‌cause‌ ‌of‌ ‌the‌ ‌retaliation.”‌ ‌Montanye‌ ‌v.‌‌

Wissachickon‌‌Sch.‌‌Dist.‌,‌‌2003‌‌U.S.‌‌Dist.‌‌LEXIS‌‌15570,‌‌at‌‌*21‌‌(E.D.‌‌Pa.‌‌Aug.‌‌11,‌‌2003).‌‌ ‌

          168.      In‌ ‌determining‌ ‌whether‌ ‌particular‌ ‌conduct‌ ‌“possesses‌ ‌sufficient‌ ‌communicative‌‌

elements”‌‌to‌‌bring‌‌the‌‌‌First‌‌Amendment‌‌into‌‌play,‌‌the‌‌United‌‌States‌‌Supreme‌‌Court‌‌has‌‌inquired‌‌

whether‌‌“an‌‌intent‌‌to‌‌convey‌‌a‌‌particularized‌‌message‌‌was‌‌present,‌‌and‌‌[whether]‌‌the‌‌likelihood‌‌



                                                                46‌ ‌
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was‌‌great‌‌that‌‌the‌‌message‌‌would‌‌be‌‌understood‌‌by‌‌those‌‌who‌‌viewed‌‌it.”‌‌‌Texas‌‌v.‌‌Johnson,‌‌491‌‌

U.S.‌‌397,‌‌404‌‌(1989)‌.‌‌ ‌

         169.     Here,‌ ‌National‌ ‌Fuel‌ ‌has‌ ‌repeatedly‌ ‌communicated‌ ‌to‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie,‌ ‌both‌ ‌in‌‌

writing‌ ‌and‌ ‌in‌ ‌person,‌ ‌that‌ ‌pursuant‌ ‌to‌ ‌established‌ ‌Pennsylvania‌ ‌law,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌has‌ ‌no‌‌

authority‌‌to‌‌dictate,‌‌determine,‌‌or‌‌control‌‌the‌‌location‌‌and‌‌placement‌‌of‌‌National‌‌Fuel’s‌‌Facilities‌‌

–‌‌including‌‌under‌‌and‌‌pursuant‌‌to‌‌the‌‌TPP‌‌or‌‌other‌‌municipal‌‌action.‌ ‌ ‌

         170.     In‌ ‌response‌ ‌to‌ ‌National‌ ‌Fuel’s‌ ‌communication‌ ‌of‌‌the‌‌foregoing,‌‌the‌‌City‌‌of‌‌Erie‌‌

initiated‌‌a‌‌series‌‌of‌‌increasingly‌‌aggressive‌‌retaliatory‌‌measures,‌‌including,‌‌among‌‌other‌‌things,‌‌

the‌‌following:‌ ‌

              c. First,‌ ‌the‌ ‌City‌ ‌of‌‌Erie‌‌ended‌‌its‌‌process‌‌of‌‌collegially‌‌granting‌‌National‌‌Fuel‌‌the‌‌

                  Permits‌ ‌required‌ ‌pursuant‌ ‌to‌‌the‌‌Street‌‌Excavation‌‌Ordinance‌‌during‌‌or‌‌after‌‌the‌‌

                  pendency‌‌of‌‌the‌‌work,‌‌by‌‌requiring‌‌that‌‌all‌‌work‌‌be‌‌permitted‌‌prior‌‌to‌‌initiation.‌‌ ‌

              d. When‌ ‌this‌ ‌retaliatory‌ ‌action‌ ‌failed‌ ‌to‌ ‌have‌ ‌its‌ ‌desired‌ ‌effect‌ ‌(‌i.e.‌,‌ ‌National‌ ‌Fuel‌‌

                  ceding‌ ‌its‌ ‌authority‌ ‌to‌ ‌determine‌ ‌the‌ ‌location‌ ‌of‌ ‌its‌ ‌Facilities),‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌‌

                  increased‌‌its‌‌pressure‌‌on‌‌National‌‌Fuel‌‌by‌‌imposing‌‌additional‌‌requirements‌‌to‌‌the‌‌

                  Permit‌‌application‌‌process.‌‌ ‌

              e. In‌ ‌particular,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌began‌ ‌demanding‌ ‌that‌ ‌National‌ ‌Fuel‌ ‌redesign‌ ‌its‌‌

                  engineering‌ ‌and‌ ‌construction‌ ‌plans‌ ‌to‌ ‌relocate‌ ‌utility‌ ‌work‌ ‌away‌ ‌from‌‌any‌‌trees‌‌

                  growing‌ ‌along‌ ‌City‌ ‌streets,‌ ‌and‌ ‌then‌ ‌resubmit‌ ‌revised‌ ‌permit‌ ‌applications‌ ‌for‌‌

                  review‌ ‌by‌ ‌explicitly‌ ‌imposing‌ ‌compliance‌ ‌with‌ ‌the‌ ‌TPP‌ ‌as‌ ‌a‌ ‌condition‌ ‌of‌ ‌the‌‌

                  issuance‌‌of‌‌a‌‌Permit‌‌under‌‌the‌‌Street‌‌Excavation‌‌Ordinance.‌‌ ‌




                                                             47‌ ‌
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             f. National‌ ‌Fuel‌ ‌attempted‌ ‌to‌ ‌comply‌ ‌with‌ ‌these‌ ‌additional‌ ‌requirements,‌ ‌while‌‌

                 continuing‌‌to‌‌insist‌‌that‌‌under‌‌Pennsylvania‌‌law,‌‌the‌‌City‌‌of‌‌Erie‌‌lacked‌‌authority‌‌

                 to‌ ‌deny‌ ‌National‌ ‌Fuel‌ ‌access‌ ‌to‌ ‌public‌ ‌rights‌ ‌of‌ ‌way,‌ ‌for‌ ‌the‌ ‌purpose‌ ‌of‌‌

                 constructing‌‌and‌‌maintaining‌‌its‌‌Facilities.‌‌ ‌

             g. In‌ ‌response,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌once‌ ‌again‌ ‌escalated‌ ‌its‌ ‌retaliation‌ ‌by,‌ ‌on‌ ‌various‌‌

                 occasions,‌‌flatly‌‌refusing‌‌to‌‌issue‌‌Permits‌‌to‌‌National‌‌Fuel.‌‌ ‌

             h. On‌ ‌July‌ ‌14,‌ ‌2020,‌ ‌City‌ ‌of‌ ‌Erie‌ ‌Assistant‌ ‌Solicitor‌ ‌Doyle‌ ‌advised‌ ‌National‌ ‌Fuel‌‌

                 that‌ ‌the‌ ‌permit‌ ‌would‌ ‌only‌ ‌be‌ ‌issued‌ ‌if‌ ‌National‌ ‌Fuel‌ ‌agreed‌‌to‌‌meet‌‌to‌‌discuss‌‌

                 “National‌‌Fuel’s‌‌comprehensive‌‌plan‌‌of‌‌its‌‌next‌‌projects‌‌within‌‌the‌‌City‌‌of‌‌Erie,”‌‌

                 a‌‌clear‌‌indication‌‌that‌‌the‌‌City‌‌of‌‌Erie‌‌intended‌‌to‌‌put‌‌pressure‌‌on‌‌National‌‌Fuel‌‌to‌‌

                 adjust‌‌its‌‌upcoming‌‌projects‌‌to‌‌fit‌‌the‌‌City‌‌of‌‌Erie’s‌‌wishes.‌‌ ‌

             i. In‌ ‌closing,‌ ‌Assistant‌ ‌Solicitor‌ ‌Doyle‌ ‌reiterated‌ ‌that‌ ‌“the‌‌City‌‌is‌‌not‌‌waiving‌‌any‌‌

                 objection‌‌to‌‌future‌‌inadequate‌‌permits,”‌‌a‌‌clear‌‌threat‌‌that‌‌if‌‌National‌‌Fuel‌‌refused‌‌

                 to‌‌capitulate‌‌to‌‌the‌‌City‌‌of‌‌Erie’s‌‌demands,‌‌it‌‌would‌‌once‌‌again‌‌refuse‌‌to‌‌issue‌‌the‌‌

                 Permits‌‌necessary‌‌for‌‌National‌‌Fuel‌‌to‌‌work‌‌in‌‌the‌‌Public‌‌ROW.‌‌ ‌

             j. Since‌ ‌then,‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie‌ ‌has‌ ‌issued‌ ‌“Stop‌ ‌Work”‌ ‌orders‌ ‌for‌ ‌various‌‌projects‌‌

                 within‌ ‌the‌ ‌City‌ ‌of‌ ‌Erie,‌ ‌in‌ ‌apparent‌ ‌retaliation‌ ‌for‌ ‌National‌ ‌Fuel’s‌ ‌ongoing‌‌

                 assertion‌‌that‌‌it‌‌is‌‌not‌‌bound‌‌by‌‌the‌‌TPP.‌‌ ‌

        171.     This‌ ‌retaliation‌ ‌has‌ ‌delayed,‌ ‌disrupted,‌ ‌and‌ ‌resulted‌ ‌in‌ ‌additional‌ ‌operational‌‌

costs/‌‌expenses‌‌related‌‌to‌‌the‌‌necessary‌‌construction‌‌and‌‌maintenance‌‌work‌‌which‌‌National‌‌Fuel‌‌

must‌‌undertake‌‌to‌‌ensure‌‌that‌‌natural‌‌gas‌‌is‌‌safely‌‌and‌‌effectively‌‌provided‌‌to‌‌its‌‌ratepayers‌‌and‌‌

has‌‌resulted‌‌in‌‌increased‌‌operational‌‌costs‌‌and‌‌burdens.‌‌ ‌




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         WHEREFORE,‌ ‌Plaintiff‌ ‌National‌ ‌Fuel‌ ‌Gas‌ ‌Distribution‌ ‌Corporation‌ ‌respectfully‌‌

requests‌‌that‌‌this‌‌Honorable‌‌Court‌‌enter‌‌judgment‌‌in‌‌its‌‌favor‌‌and‌‌against‌‌the‌‌City‌‌of‌‌Erie‌‌in‌‌an‌‌

amount‌ ‌in‌ ‌excess‌ ‌of‌ ‌$75,000.00,‌ ‌that‌ ‌it‌ ‌award‌ ‌reasonable‌ ‌attorneys‌ ‌fees‌ ‌and‌ ‌that‌ ‌it‌ ‌order‌ ‌any‌‌

other‌‌applicable‌‌relief.‌‌ ‌

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                                                           ‌Respectfully‌‌submitted,‌ ‌

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                                                           MIZNER‌‌LAW‌‌FIRM‌ ‌
 ‌
                                                           By:‌‌/s/‌‌John‌‌F.‌‌Mizner‌‌ ‌
                                                             ‌
                                                           John‌‌F.‌‌Mizner‌ ‌
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 ‌
                                                           Attorneys‌‌for‌‌the‌‌Plaintiff‌ ‌




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